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         ORDERED in the Southern District of Florida on October 16, 2023.



                                                                  Peter D. Russin, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________



                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUDERDALE DIVISION
                                             www.flsb.uscourts.gov

         In re:                                                      Chapter 11

         FEDNAT HOLDING COMPANY, et al,1                             Case No. 22-19451-PDR

                  Debtors.                                           (Jointly Administered)

                                                /

                        FINDINGS OF FACT, CONCLUSIONS OF LAW,
                      AND ORDER (I) APPROVING THE FIRST AMENDED
                 COMBINED DISCLOSURE STATEMENT AND CHAPTER 11 PLAN
                ON A FINAL BASIS AND (II) CONFIRMING THE MODIFIED FIRST
             AMENDED COMBINED DISCLOSURE STATEMENT AND CHAPTER 11 PLAN

                  WHEREAS FedNat Holding Company, FedNat Underwriters, Inc., ClaimCor, LLC,

         Century Risk Insurance Services, Inc., and Insure-Link, Inc. (each a “Debtor” and collectively,

         the “Debtors”),2 having:



         1
           The Debtors in these chapter 11 cases are FedNat Holding Company; FedNat Underwriters, Inc. (“FNU”);
         ClaimCor, LLC (“Claimcor”); Century Risk Insurance Services, Inc. (“CRIS”); and Insure-Link, Inc. (“Insure-
         Link”). The Debtors’ headquarters are located at 14050 N.W. 14th Street, Suite 180, Sunrise, Florida.
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                 a.       commenced the above-captioned chapter 11 cases (the “Chapter 11
                          Cases”) by filing voluntary petitions for relief under chapter 11 of title 11
                          of the United States Code (the “Bankruptcy Code”) in the United States
                          Bankruptcy Court for the Southern District of Florida (the “Court”) on
                          December 11, 2022 (the “Petition Date”);

                 b.       filed, on December 11, 2022, the Declaration of Katie S. Goodman, Chief
                          Restructuring Officer of FedNat Holding Company, in Support of Debtors’
                          Chapter 11 Petitions and First Day Motions [ECF No. 14];

                 c.       continued to operate their businesses and manage their properties as
                          debtors-in-possession pursuant to sections 1107(a) and 1108 of the
                          Bankruptcy Code;

                 d.       filed, on July 9, 2023, the Combined Disclosure Statement and Chapter 11
                          Plan of Liquidation of FedNat Holding Company and Its Debtor Affiliates
                          [ECF No. 422];

                 e.       filed on July 9, 2023, the Joint Motion of the Debtors and the Official
                          Committee of Unsecured Creditors for Entry of Order (I) Approving the
                          Filing of a Combined Disclosure Statement and Chapter 11 Plan of
                          Liquidation, (II) Approving on an Interim Basis the First Amended
                          Combined Disclosure Statement and Chapter 11 Plan of Liquidation of
                          FedNat Holding Company and Its Debtor Affiliates; (III) Scheduling the
                          Combined Hearing and Deadline for Filing Objections; (IV) Establishing
                          Procedures for Solicitation and Tabulation of Votes to Accept or Reject
                          the First Amended Combined Disclosure Statement and Plan;
                          (V) Establishing Voting Record Date; and (VI) Approving the Notice
                          Provisions [ECF No. 423] (the “Approval Motion”) and a certificate of
                          service of the Approval Motion on July 14, 2023 [ECF No. 443];

                 f.       filed on July 14, 2023, a notice of hearing with respect to the Approval
                          Motion [ECF No. 441] and filed a certificate of service of such notice of
                          hearing on July 20, 2023 [ECF No. 464];

                 g.       filed on July 25, 2023, an amended notice of hearing with respect to the
                          Approval Motion [ECF No. 480] and filed a certificate of service of such
                          amended notice on July 31, 2023 [ECF No. 492];

                 h.       filed on August 1, 2023, a joint reply [ECF No. 499] to the objection filed
                          the United States Trustee [ECF No. 445] to the Approval Motion;


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  Unless otherwise noted, capitalized terms not defined in this Findings of Fact, Conclusions of Law, and Order
(I) Approving the First Amended Disclosure Statement on a Final Basis and (II) Confirming the First Amended
Combined Disclosure Statement and Chapter 11 Plan (this “Confirmation Order”) shall have the meanings ascribed
to them in the Combined Disclosure Statement and Plan (as defined herein). The rules of interpretation set forth in
Article I.B of the Combined Disclosure Statement and Plan shall apply to this Confirmation Order.



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 i.    filed on August 8, 2023 a supplemental reply [ECF No. 524] to the
       objection filed the United States Trustee [ECF No. 445] to the Approval
       Motion;

 j.    filed on August 9, 2023, a joint motion to continue the hearing on the
       Approval Motion [ECF No. 530] and filed a certificate of service of such
       motion on August 11, 2023 [ECF No. 534];

 k.    filed on August 10, 2023, a notice of continued hearing on the Approval
       Motion [ECF No. 533];

 l.    filed on August 25, 2023 a Notice of Filing of Revised Proposed Order
       (i) Approving the Filing of a Combined Disclosure Statement and Chapter
       11 Plan of Liquidation, (II) Approving on an Interim Basis the First
       Amended Combined Disclosure Statement and Chapter 11 Plan of
       Liquidation of FedNat Holding Company and Its Debtor Affiliates;
       (III) Scheduling the Combined Hearing and Deadline for Filing
       Objections; (IV) Establishing Procedures for Solicitation and Tabulation
       of Votes to Accept or Reject the First Amended Combined Disclosure
       Statement and Plan; (V) Establishing Voting Record Date; and (VI)
       Approving the Notice Provisions [ECF No. 566] and filed a certificate of
       service of such notice on August 29, 2023 [ECF No. 571];

 m.    filed, on August 25, 2023, the Notice of Filing of (i) First Amended
       Combined Disclosure Statement and Chapter 11 Plan; (ii) Revised
       Exhibits to the Joint Motion of the Debtors and the Official Committee of
       Unsecured Creditors for Entry of an Order Approving the Filing of a
       Combined Disclosure Statement and Chapter 11 Plan of Liquidation [ECF
       No. 567] and filed a certificate of service of such notice on August 29,
       2023 [ECF No. 571];

 n.    filed, on September 1, 2023, the solicitation version of the First Amended
       Combined Disclosure Statement and Chapter 11 Plan of Liquidation of
       FedNat Holding Company and Its Debtor Affiliates [ECF No. 591] (as
       modified by the Plan Modifications (hereinafter defined), the “Combined
       Disclosure Statement and Plan”) proposed jointly by the Debtors and the
       Official Committee of Unsecured Creditors (the “Committee,” and
       together with the Debtors, the “Plan Proponents”) [ECF No. 591];

 o.    caused solicitation packages to be distributed to Holders of Claims entitled
       to vote on the Combined Disclosure Statement and Plan, in accordance
       with the Conditional Approval Order (as defined herein) [ECF No. 590],
       as evidenced by the filed certificate of service filed on September 13, 2023
       [ECF No. 665];

 p.    caused to be distributed to all applicable Holders of Claims and Interests
       entitled to vote on the Combined Disclosure Statement and Plan



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       (1) Combined Hearing Notice (as defined below) substantially in the form
       of Exhibit B to the Approval Motion, and (2) a form of Ballot substantially
       in the form of Exhibit D-1 to D-3 of the Approval Motion (the “Ballots”)
       as set forth on the certificate of service filed on September 13, 2023 [ECF
       No. 665];

 q.    served on all known creditors and equity security holders, the Notice of
       (I) Approval of Interim Basis of First Amended Combined Disclosure
       Statement and Plan As Containing Adequate Information for Solicitation
       Purposes (II) Deadline for Casting Votes to Accept or Reject the First
       Amended Combined Disclosure Statement and Plan, and (III) the
       Combined Hearing to Consider (A) Final Approval of the Combined
       Disclosure Statement and Plan and (B) Confirmation of the First Amended
       Combined Disclosure Statement and Plan substantially in the form
       attached as Exhibit B to the Approval Motion (the “Combined Hearing
       Notice”) which notified parties of the time and date of the Confirmation
       Hearing, instructions on how to vote and how to obtain Ballots, and
       provided the full text of the release, injunction and exculpation provisions
       set forth in the Combined Disclosure Statement and Plan as set forth on
       the certificate of service filed on September 13, 2023 [ECF No. 665];

 r.    served upon all Holders of Claims and Interests not entitled to vote on the
       Combined Disclosure Statement and Plan the Notice of Non-Voting Status
       and Notice of (I) Approval on an Interim Basis of the First Amended
       Combined Disclosure Statement and Plan As Containing Adequate
       Information for Solicitation Purposes (II) the Combined Hearing to
       Consider (A) Final Approval of the Combined Disclosure Statement and
       Plan and (B) Confirmation of the First Amended Combined Disclosure
       and Plan and (III) Deadline to File Objections to Confirmation of
       Combined Disclosure Statement and Plan, and (IV) Deadline to Return
       Elections, substantially in the form of Exhibit C to the Approval Motion
       (the “Non-Voting Status Notice”) and which notice informed recipients of
       their status of Holders of Claims and Interest in non-voting classes, and
       provided the full text of the release, injunction and exculpation provisions
       as set forth in the Combined Disclosure Statement and Plan as set forth on
       the certificate of service filed September 13, 2023 [ECF No. 665];

 s.    filed on September 12, 2023, the Plan Supplement for the First Amended
       Combined Disclosure Statement and Chapter 11 Plan of Liquidation of
       FedNat Holding Company and its Debtor Affiliates [ECF No. 661] (the
       “Plan Supplement”) as set forth on the certificate of service filed on
       September 13, 2023 [ECF No. 667];

 t.    filed, on October 6, 2023, the Declaration of Katie S. Goodman In Support
       of Confirmation of the Plan Proponents’ Joint Plan of Liquidation under
       Chapter 11 of the Bankruptcy Code [ECF No. 754] (the “Confirmation
       Declaration”);


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       u.      filed on October 6, 2023 the Declaration of Adam J. Fialkowski on Behalf
               of Stretto, Inc. Regarding Voting and Tabulation of Ballots Accepting and
               Rejecting the First Amended Combined Disclosure Statement and Chapter
               11 Plan of Liquidation of FedNat Holding Company [ECF No.752],

       v.      filed, on October 6 2023, the Memorandum of Law in Support of
               Confirmation of the Plan Proponents’ Joint Plan of Liquidation Under
               Chapter 11 of the Bankruptcy Code [ECF No. 755] (the “Confirmation
               Brief”); together with Exhibits to the Confirmation Brief [ECF 756];

            w. filed on October 6, 2023, the Certificate of Acceptance of Plan and
               Tabulation of Ballots Certificate of Proponent of Plan on Acceptance of
               Plan, Report on Amount to be Deposited, Certificate of Amount Deposited
               and Payment of Fees [ECF 753]; and

       x.      filed, on October 9, 2023, a proposed order confirming the Combined
               Disclosure Statement and Plan [ECF 769].

This Court having:

       a.      entered, on September 1, 2023, the Order (I) Approving the Filing of a
               Combined Disclosure Statement and Chapter 11 Plan of Liquidation (II)
               Approving on Interim Basis the First Amended Combined Disclosure
               Statement and Chapter 11 Plan of Liquidation of FedNat Holding
               Company and Its Debtor Affiliates As Containing Adequate Information
               for Solicitation Purposes; (III) Scheduling the Combined Hearing and
               Deadline for Filing Objections; (IV) Establishing Procedures for
               Solicitation and Tabulation of Votes to Accept or Reject the First
               Amended Combined Disclosure Statement and Plan, and Approving the
               Form of Ballots and Solicitation Package; (V) Establishing Voting Record
               Date; and (VI) Approving the Notice Provisions [ECF No. 590] (the
               “Initial Conditional Approval Order”);

       b.      entered, on September 8, 2023, the Amended Order (I) Approving the
               Filing of a Combined Disclosure Statement and Chapter 11 Plan of
               Liquidation; (II) Approving on Interim Basis the First Amended Combined
               Disclosure Statement and Chapter 11 Plan of FedNat Holding Company
               and Its Debtor Affiliates As Containing Adequate Information for
               Solicitation Purposes; (III) Scheduling the Combined Hearing and
               Deadline for Filing Objections; (IV) Establishing Procedures for
               Solicitation and Tabulation of Votes to Accept or Reject the First
               Amended Combined Disclosure Statement and Plan, and Approving the
               Form of Ballots and Solicitation Package; (V) Establishing Voting Record
               Date; and (VI) Approving the Notice Provisions [ECF No. 630] (the
               “Conditional Approval Order”);




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                c.      set, inter alia, (1) September 27, 2023 at 4:00 (prevailing Eastern Time),
                        as the deadline to file objections to the Combined Disclosure Statement
                        and Plan; (2) October 2, 2023 at 4:00 (prevailing Eastern Time), as the
                        voting deadline for Holders of Claims and Interest entitled to vote on the
                        Combined Disclosure Statement and Plan to deliver Ballots pursuant to the
                        terms of the Conditional Approval Order; and (3) October 10, 2023 at
                        10:00 a.m. (prevailing Eastern Time), as the hearing to consider both the
                        final approval and confirmation of the Combined Disclosure Statement
                        and Plan (the “Combined Hearing”);3

                d.      entered on October 3, 2023, the Order Granting in Part and Denying in
                        Part Motion of Present and Former Directors and Officers of Debtors
                        Pursuant to Federal Rule of Bankruptcy Procedure 3018(a) to Allow
                        Claims for Plan Voting Purposes and Joinders Thereto [ECF 738] (the
                        “Voting Purposes Order”);

                e.      entered on October 3, 2023, the Order Regarding Plan Releases,
                        Discharges, Injunctions, and Exculpations as to Non-Voting Present and
                        Former Directors and Officers of Debtors [ECF 739] (the “D&O Release
                        Opt Out Order”).

                f.      reviewed the Combined Disclosure Statement and Plan, the Plan
                        Supplement, proposed modifications to the First Amended Combined
                        Disclosure Statement and Plan made at the Combined Hearing (the “Plan
                        Modifications”), the Confirmation Brief and Exhibits, the Confirmation
                        Declaration, the Voting Tabulation Declaration, and all pleadings,
                        exhibits, statements, responses, and comments regarding final approval
                        and confirmation of the Combined Disclosure Statement and Plan,
                        including all objections, statements, and reservations of rights, if any, filed
                        by parties-in-interest on the docket of the Chapter 11 Cases;

                g.      held the Combined Hearing;

                h.      heard the statements, arguments, and objections, if any, made in respect of
                        final approval and confirmation of the Combined Disclosure Statement
                        and Plan;

                i.      considered all oral representations, testimony, documents, filings, and
                        other evidence admitted in connection with final approval and
                        confirmation of the Combined Disclosure Statement and Plan as modified
                        by the Plan Modifications (the “Modified Combined Disclosure Statement
                        and Plan”); and



3
 On August 11, 2023, the Court entered an order continuing the Combined Hearing to August 29, 2023 [ECF No.
535].



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                j.     overruled any and all objections, with prejudice, to final approval and
                       confirmation of the Modified Combined Disclosure Statement and Plan,
                       and all statements and reservations of rights not consensually resolved,
                       adjourned to a subsequent hearing, or withdrawn unless otherwise
                       indicated herein.

       NOW, THEREFORE, the Court having found that notice of the Combined Hearing and

the opportunity for any party-in-interest to object to final approval and confirmation of the

Modified Combined Disclosure Statement and Plan have been adequate and appropriate as to all

parties affected or to be affected by the Modified Combined Disclosure Statement and Plan and

the transactions contemplated thereby, and the legal and factual bases set forth in the documents

filed in support of final approval and confirmation of the Modified Combined Disclosure

Statement and Plan, all evidence proffered or adduced by counsel at the Combined Hearing and

the entire record of these Chapter 11 Cases establish just cause for the relief granted herein; and

after due deliberation thereon and good cause appearing therefor, the Court hereby makes and

issues the following findings of fact and conclusions of law:

                     FINDINGS OF FACT AND CONCLUSIONS OF LAW

A.     Findings and Conclusions

       1.       The findings and conclusions set forth herein and in the record of the Combined

Hearing constitute the Court’s findings of fact and conclusions of law pursuant to Rule 52 of the

Federal Rules of Civil Procedure, as made applicable by Bankruptcy Rules 7052 and 9014. To

the extent any of the following findings of fact constitute conclusions of law, they are adopted as

such. To the extent any of the following conclusions of law constitute findings of fact, they are

adopted as such.

B.     Jurisdiction; Venue; Core Proceeding (28 U.S.C. § 1334(a))

       2.       The Court has jurisdiction over the Chapter 11 Cases pursuant to 28 U.S.C.

§ 1334.     The Court has exclusive jurisdiction to enter a Final Order determining that the


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Modified Combined Disclosure Statement and Plan, comply with all of the applicable provisions

of the Bankruptcy Code and should be confirmed and approved. Venue is proper before the

Court pursuant to 28 U.S.C. § 1408. Final approval and confirmation of the Modified Combined

Disclosure Statement and Plan are core proceedings within the meaning of 28 U.S.C. §

157(b)(2).

C.     Eligibility for Relief

       3.     The Debtors are proper entities eligible for relief under section 109 of the

Bankruptcy Code.

D.     Chapter 11 Petitions

       4.     On the Petition Date, each Debtor commenced a voluntary case under chapter 11

of the Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and

managed their properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in

these Chapter 11 Cases. On January 9, 2023, the Office of the United States Trustee for the

Southern District of Florida appointed an Official Committee of Unsecured Creditors (the

“Creditors’ Committee”) [ECF No. 92]. In accordance with the Order Granting Motion for Joint

Administration [ECF No. 32], the Chapter 11 Cases are being jointly administered pursuant to

Bankruptcy Rule 1015(b).

E.     Judicial Notice

       5.     The Court takes judicial notice of the docket of the Chapter 11 Cases maintained

by the Clerk of the Court, including all pleadings and other documents filed, all orders entered,

all hearing transcripts, and all evidence and arguments made, proffered, or adduced at the

hearings held before the Court during the pendency of the Chapter 11 Cases.




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F.       Amended Interim Conditional Approval Order

         6.      On September 8, 2023, the Court entered the Conditional Approval Order,4

which, among other things, fixed (i) September 27, 2023 at 4:00 p.m. (prevailing Eastern Time),

as the deadline for objecting to the Combined Disclosure Statement and Plan (the “Objection

Deadline”); and (ii) October 2, 2023 at 4:00 p.m. (prevailing Eastern Time) to cast votes to

accept or reject the Combined Disclosure Statement and Plan with respect to holders of claims

entitled to vote thereon (the “Voting Deadline”).

G.       Approval of Disclosure Statement As Containing Adequate Information

         7.      The Modified Combined Disclosure Statement and Plan is approved on a final

basis.    The Modified Combined Disclosure Statement and Plan, together with the Plan

Supplement, contain (a) sufficient information of a kind necessary to satisfy the disclosure

requirements of all applicable nonbankruptcy laws, rules, and regulations, including the

Securities Act, and (b) “adequate information” (as such term is defined in section 1125(a) of the

Bankruptcy Code and used in section 1126(b)(2) of the Bankruptcy Code) with respect to the

Debtor. The filing of the Modified Combined Disclosure Statement and Plan and Plan

Supplement with the clerk of the Court satisfied Bankruptcy Rule 3016(b), and the filing of the

Modified Combined Disclosure Statement and Plan, as modified, for the Combined Hearing with

the clerk prior to the entry of this Confirmation Order provides a single integrated Modified

Combined Disclosure Statement and Chapter 11 Plan of Liquidation of FedNat Holding

Company and its Debtor Affiliates as proposed by the Plan Proponents.




4
  As noted above, the Court entered the Initial Conditional Approval Order on September 1, 2023. The Court
entered the Conditional Approval Order on September 8, 2023, to correct certain dates in paragraph 17 of the Initial
Conditional Approval Order, to add deadlines for the filing of pre-confirmation of proofs of claim, and for
Professionals to file applications for Accrued Professional Compensation.



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         8.     As evidenced by the certificates of service filed in these Chapter 11 Cases and the

Voting Tabulation Declaration, the Debtors provided due, adequate, and sufficient notice of

commencement of these Chapter 11 Cases, the Modified Combined Disclosure Statement and

Plan (including the opportunity to opt out of the third-party release contained therein (the “Third-

Party Release”)), the Combined Hearing, the Plan Supplement, and all other materials distributed

by the Debtors in connection with the Confirmation in compliance with the Bankruptcy Code,

the Bankruptcy Rules, including Bankruptcy Rules 2002, 3017, and 2019, the Bankruptcy Local

Rules, and the procedures set forth in the Conditional Approval Order. The foregoing notice was

adequate and sufficient under the facts and circumstances of these Chapter 11 Cases in

compliance with the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and

the Conditional Approval Order. No other or further notice is or shall be required.

H.       Solicitation

         9.     The Modified Combined Disclosure Statement and Plan, the Plan Supplement, the

Ballots, the Combined Hearing Notice, the Non-Voting Status Notice, the joint solicitation cover

letter, and the other materials distributed by the Debtors in connection with the solicitation of

votes on, and Confirmation of the Modified Combined Disclosure Statement and Plan

(collectively, the “Solicitation Materials”) were transmitted and served in good faith and in

compliance with the Bankruptcy Rules, including Bankruptcy Rules 3017 and 3018, and Local

Rules 3017-1 and 3018-2. The Solicitation Materials were transmitted to Holders of Claims as

of August 3, 2023 (the “Voting Record Date”) in accordance with the Conditional Approval

Order.    Notice of the Combined Hearing was appropriate and satisfactory based upon the

circumstances of the Chapter 11 Cases. The transmittal and service of the Solicitation Materials

complied with the Conditional Approval Order, were appropriate and satisfactory based upon the

circumstances of the Chapter 11 Cases, were conducted in good faith, and were in compliance


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with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any

other applicable rules, laws, and regulations.       Because such transmittal and service were

adequate and sufficient based upon the facts and circumstances of the Chapter 11 Cases and

pursuant to section 1128 of the Bankruptcy Code, Bankruptcy Rules 2002 and 3020. Local Rules

2002-1 and 3020-1, and other applicable law and rules, no other or further notice is necessary or

shall be required and due, proper, timely and adequate notice of the Combined Hearing and

Solicitation Materials has been provided in accordance with the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and applicable non-bankruptcy law.

       10.      The period during which the Plan Proponents solicited acceptances to the

Modified Combined Disclosure Statement and Plan was a reasonable and adequate period of

time and the manner of such solicitation was an appropriate process for creditors to have made

an informed decision to vote to accept or reject the Modified Combined Disclosure Statement

and Plan.

I.     Voting Certifications

                (i)    Classes of Claims Entitled to Vote

       11.      On October 6, 2023, the Voting Tabulation Declaration was filed with the Court,

certifying the method and results of the Ballots tabulated as set forth in the chart below for the

Classes of Claims and Interests entitled to vote on the Modified Combined Disclosure Statement

and Plan (the “Voting Classes”); and the Debtors being the holders of the FNU Stock Interests,

the ClaimCor Stock Interest, the CRIS Stock Interests, and the Insure-Link Stock Interests

having accepted the Plan as Plan Proponents.


            Voting Classes                                      Voting Result

            Debtor FNHC



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         Class 3 (Senior Notes Claims)                           Accepts
         Class 4 (FNHC General Unsecured Claims)                 Accepts

         Debtor FNU
         Class 3 (FNU General Unsecured Claims)                  Accepts
         Class 4 (FNU Stock Interests)                           Accepts

         Debtor ClaimCor
         Class 3 (ClaimCor General Unsecured Claims)             Accepts
         Class 4 (ClaimCor Stock Interests)                      Accepts

         Debtor CRIS
         Class 3 (CRIS General Unsecured Claims)                 Accepts
         Class 4 (CRIS Stock Interests)                          Accepts

         Debtor Insure-Link
         Class 3 (Insure-Link General Unsecured Claims)          Accepts
         Class 4 (Insure-Link Stock Interests)                   Accepts


       12.     As evidenced by the Voting Tabulation Declaration, votes to accept or reject, or

modify a prior vote with respect to, the Modified Combined Disclosure Statement and Plan have

been solicited and tabulated fairly, in good faith, and in a manner consistent with the Conditional

Approval Order. The procedures used to tabulate Ballots were fair and conducted in accordance

with the Conditional Approval Order, the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, and all other applicable rules, laws, and regulations.

               (ii)    Unimpaired Non-Voting Classes Deemed to Accept

       13.     As set forth in the Modified Combined Disclosure Statement and Plan, only

Holders of Claims and Interests in the Voting Classes were eligible to vote on the Modified

Combined Disclosure Statement and Plan. Under section 1126(f) of the Bankruptcy Code, the

Holders of Claims for the Classes set forth below are Unimpaired and are presumed to have



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accepted the Modified Combined Disclosure Statement and Plan (collectively, the “Unimpaired

Non-Voting Classes”).


                             Deemed to Accept Non-Voting Classes

              Debtor FNHC
              Class 1 (FNHC Secured Claims)                     Deemed to Accept
              Class 2 (FNHC Priority Claims)                    Deemed to Accept

              Debtor FNU
              Class 1 (FNU Secured Claims)                      Deemed to Accept
              Class 2 (FNU Priority Claims)                     Deemed to Accept

              Debtor ClaimCor
              Class 1 (ClaimCor Secured Claims)                 Deemed to Accept
              Class 2 (ClaimCor Priority Claims)                Deemed to Accept

              Debtor CRIS
              Class 1 (CRIS Secured Claims)                     Deemed to Accept
              Class 2 (CRIS Priority Claims)                    Deemed to Accept

              Debtor Insure-Link
              Class 1 (Insure-Link Secured Claims)              Deemed to Accept
              Class 2 (Insure-Link Priority Claims)             Deemed to Accept


                (iii)   Impaired Non-Voting Classes Deemed to Reject

        14.     Interests in the Classes set forth below are Impaired, deemed to reject the

Modified Combined Disclosure Statement and Plan pursuant to section 1126(g) of the

Bankruptcy Code (collectively, the “Impaired Non-Voting Classes”) and were not entitled to

vote on the Modified Combined Disclosure Statement and Plan. Consequently, the Holders of

such Interests are deemed to have rejected the Modified Combined Disclosure Statement and

Plan.



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                       Impaired Non-Voting Classes Deemed to Reject

         Debtor FNHC
         Class 5 (FNHC Preferred Stock Interests)           Deemed to Reject
         Class 6 (FNHC Common Stock Interests)              Deemed to Reject


J.     Plan Supplement

       15.     The Plan Supplement (including as subsequently modified, supplemented, or

otherwise amended pursuant to a filing with the Court), complies with the terms of the Modified

Combined Disclosure Statement and Plan, and the Plan Proponents provided good and proper

notice of its filing in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, the Conditional Approval Order, and all other applicable laws, rules, and regulations. All

documents included in the Plan Supplement are integral to, part of, and incorporated by reference

into the Modified Combined Disclosure Statement and Plan.           Subject to the terms of the

Modified Combined Disclosure Statement and Plan, the Plan Proponents are authorized to alter,

amend, update, modify, or supplement the Plan Supplement on or before the Effective Date. The

transmittal and notice of the Plan Supplement (and all documents identified therein) were

appropriate and satisfactory based upon the circumstances of the Chapter 11 Cases and were

conducted in good faith. No other or further notice with respect to the Plan Supplement (and all

documents identified therein) is necessary or shall be required.

K.     Modifications to the Combined Disclosure Statement and Plan

       In accordance with Bankruptcy Rule 3019, the Plan Modifications do not (a) constitute

material modifications of the Modified Combined Disclosure Statement and Plan under section

1127 of the Bankruptcy Code, (b) cause the Modified Combined Disclosure Statement and Plan

to fail to meet the requirements of sections 1122 or 1123 of the Bankruptcy Code, (c) materially



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or adversely affect or change the treatment of any Claims or Interests, (d) require re-solicitation

of any Holders of Claims or Interests, or (e) require that any such Holders be afforded an

opportunity to change previously cast acceptances or rejections of the Modified Combined

Disclosure Statement and Plan. Under the circumstances, the form and manner of notice of the

Plan Modifications were adequate, and no other or further notice of the Plan Modifications is

necessary or required. In accordance with section 1127 of the Bankruptcy Code and Bankruptcy

Rule 3019, all Holders of Claims or Interests that voted to accept the Combined Disclosure

Statement and Plan or that are conclusively presumed to have accepted the Combined Disclosure

Statement and Plan, as applicable, are deemed to have accepted the Modified Combined

Disclosure Statement and Plan, as modified by the Plan Modifications. No Holder of a Claim or

Interest that has voted to accept the Combined Disclosure Statement and Plan shall be permitted

to change its acceptance to a rejection as a consequence of the Plan Modifications.

L.     Objections

       16.     To the extent that any objections (whether formal or informal), reservations of

rights, statements, or joinders with respect to the Modified Combined Disclosure Statement and

Plan have not been adjourned, resolved, withdrawn, waived, or settled prior to entry of this

Confirmation Order or otherwise resolved herein, they are hereby overruled on the merits based

on the record before the Court.

M.     Burden of Proof

       17.     The Plan Proponents have met their burden of proving the applicable elements of

sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance of the evidence, which

is the applicable evidentiary standard for Confirmation of the Modified Combined Disclosure

Statement and Plan. In addition, and to the extent applicable, the Modified Combined Disclosure

Statement and Plan is confirmable under the clear and convincing evidentiary standard. Each


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witness who testified or submitted a declaration on behalf of the Debtors, the Committee, or any

other party, in support of confirmation of the Modified Combined Disclosure Statement and

Plan, in connection with the Combined Hearing was credible, reliable, and qualified to testify as

to the topics addressed in their testimony.

N.     Bankruptcy Rule 3016

       18.      The Modified Combined Disclosure Statement and Plan and all modifications

thereto are dated and identify the Debtors and Committee as the proponents of the Modified

Combined Disclosure Statement and Plan, thereby satisfying Bankruptcy Rule 3016(a). The

filing of the Modified Combined Disclosure Statement and Plan satisfied Bankruptcy Rule

3016(b).     The release, injunction, and exculpation provisions of the Modified Combined

Disclosure Statement and Plan are set forth in bold therein, thereby complying with Bankruptcy

Rule 3016(c).

O.     Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(1))

       19.      The Modified Combined Disclosure Statement and Plan complies with the

applicable provisions of the Bankruptcy Code, thereby satisfying section 1129(a)(1) of the

Bankruptcy Code. More particularly:

                (i)    Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1))

       20.      The classification of Claims and Interests under the Modified Combined

Disclosure Statement and Plan is proper under the Bankruptcy Code. As required by section

1123(a)(1) of the Bankruptcy Code, other than Administrative Claims (including Accrued

Professional Compensation Claims and Professional fee Claims and all fees and charges assessed

against the Estates under chapter 123 of the Judicial Code) and Priority Tax Claims, which need

not be classified, Article V of the Modified Combined Disclosure Statement and Plan designates:

six (6) classes of Claims and Interests for Debtor FNH, and four (4) classes of Claims and


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Interests for each of Debtors FNU, ClaimCor, CRIS and Insure-Link. As required by section

1122(a) of the Bankruptcy Code, the Claims and Interests placed in each Class are substantially

similar to the other Claims and Interests, as the case may be, in each such Class. Valid business,

factual, and legal reasons exist for separately classifying the various Classes of Claims and

Interests created under the Modified Combined Disclosure Statement and Plan, the

classifications were not implemented for improper purposes, and such Classes do not unfairly

discriminate between or among Holders of Claims and Interests. Thus, the Modified Combined

Disclosure Statement and Plan satisfies sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                (ii)   Specified Unimpaired Classes (11 U.S.C. § 1123(a)(2))

        21.     Article V of the Modified Combined Disclosure Statement and Plan specifies that

Claims set forth in the chart below are Unimpaired under the Modified Combined Disclosure

Statement and Plan, thereby satisfying the requirements of section 1123(a)(2) of the Bankruptcy

Code.


                                      Unimpaired Claims

                         Debtor FNHC
                         Class 1 (FNHC Secured Claims)
                         Class 2 (FNHC Priority Claims)

                         Debtor FNU
                         Class 1 (FNU Secured Claims)
                         Class 2 (FNU Priority Claims)

                         Debtor ClaimCor
                         Class 1 (ClaimCor Secured Claims)
                         Class 2 (ClaimCor Priority Claims)

                         Debtor CRIS
                         Class 1 (CRIS Secured Claims)



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                        Class 2 (CRIS Priority Claims)

                        Debtor Insure-Link
                        Class 1 (Insure-Link Secured Claims)
                        Class 2 (Insure-Link Priority Claims)


              (iii)   Specified Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3))

      22.     Article V of the Modified Combined Disclosure Statement and Plan specifies the

treatment of Impaired Claims under the Modified Combined Disclosure Statement and Plan, in

the chart set forth below, thereby satisfying the requirements of section 1123(a)(3) of the

Bankruptcy Code.




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                                       Impaired Claims

                       Debtor FNHC
                       Class 3 (Senior Notes Claims)
                       Class 4 (FNHC General Unsecured Claims)
                       Class 5 (FNHC Preferred Stock Interests)
                       Class 6 (FNHC Common Stock Interests)

                       Debtor FNU
                       Class 3 (FNU General Unsecured Claims)
                       Class 4 (FNU Stock Interests)

                       Debtor ClaimCor
                       Class 3 (ClaimCor General Unsecured Claims)
                       Class 4 (ClaimCor Stock Interests)

                       Debtor CRIS
                       Class 3 (CRIS General Unsecured Claims)
                       Class 4 (CRIS Stock Interests)

                       Debtor Insure-Link
                       Class 3 (Insure-Link General Unsecured Claims)
                       Class 4 (Insure-Link Stock Interests)


                (iv)   No Discrimination (11 U.S.C. § 1123(a)(4))

        23.     Article V of the Modified Combined Disclosure Statement and Plan provides the

same treatment for each Claim or Interest within a particular Class except to the extent that a

Holder of a particular Claim or Interest has agreed to a less favorable treatment of such Claim or

Interest.   Accordingly, the Modified Combined Disclosure Statement and Plan satisfies the

requirements of section 1123(a)(4) of the Bankruptcy Code.




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               (v)     Adequate Means for Plan Implementation (11 U.S.C. § 1123(a)(5))

       24.     The Modified Combined Disclosure Statement and Plan and the various

documents and agreements included in the Plan Supplement and/or entered into in connection

with the Modified Combined Disclosure Statement and Plan, including Article VII of the

Modified Combined Disclosure Statement and Plan, provide for adequate and proper means for

the Modified Combined Disclosure Statement and Plan’s execution and implementation. In

addition, the Modified Combined Disclosure Statement and Plan and Plan Supplement provide

for the establishment of the appointment of the Plan Administrator on the Effective Date, for the

purpose of, inter alia, (a) investigating, prosecuting, settling, abandoning or compromising any

causes of action; (b) making Distributions pursuant to the Modified Combined Disclosure

Statement and Plan; (c) objecting to Claims; and (d) liquidating FedNat’s Assets. Accordingly,

the requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

               (vi)    Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6))

       25.     The Modified Combined Disclosure Statement and Plan is a liquidating plan and

does not provide for the issuance of non-voting equity securities. Accordingly, the Modified

Combined Disclosure Statement and Plan satisfies the requirements of section 1123(a)(6) of the

Bankruptcy Code.

               (vii)   Designation of Directors and Officers (11 U.S.C. § 1123(a)(7))

       26.     Article VII.C of the Modified Combined Disclosure Statement and Plan provides

that each existing member of the board of directors of the Debtors will be deemed to have

resigned or been relieved as of immediately prior to the Effective Date automatically and without

further action. On the Effective Date, the Plan Administrator shall succeed to such powers as

would have been applicable to the Debtors’ officers, directors and shareholders and Liquidating

FedNat shall be authorized to be (and upon the conclusion of the Wind Down, shall be) dissolved


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by the Plan Administrator. All property of the Debtors’ Estates not Distributed to the Holders of

Claims or Interests on the Effective Date shall vest in Liquidating FedNat and shall be managed

and Distributed by the Plan Administrator in accordance with the provisions of the Modified

Combined Disclosure Statement and Plan. Further, the Plan Proponents have disclosed in the

Plan Supplement that Mr. Thomas A. Pitta has been proposed to serve as the Plan Administrator.

The Modified Combined Disclosure Statement and Plan satisfies the requirements of section

1123(a)(7) of the Bankruptcy Code.

P.     Discretionary Contents of the Plan (11 U.S.C. § 1123(b))

       27.     The Modified Combined Disclosure Statement and Plan contains various

provisions that may be construed as discretionary but not necessary for Confirmation under the

Bankruptcy Code. Each such discretionary provision complies with section 1123(b) of the

Bankruptcy Code and is not inconsistent with the applicable provisions of the Bankruptcy Code.

Thus, the Modified Combined Disclosure Statement and Plan complies with section 1123(b).

               (i)    Impairment/Unimpairment of Any Class of Claims or Interests
                      (11 U.S.C. § 1123(b)(1))

       28.     The Modified Combined Disclosure Statement and Plan is consistent with

section 1123(b)(1) of the Bankruptcy Code. Article V of the Modified Combined Disclosure

Statement and Plan impairs or leaves unimpaired each Class of Claims and Interests.

               (ii)   Assumption and Rejection of Executory Contracts and Unexpired
                      Leases (11 U.S.C. § 1123(b)(2))

       29.     Article X of the Modified Combined Disclosure Statement and Plan provides that:

(a) all Executory Contracts and Unexpired Leases listed in the Plan Supplement as Executory

Contracts or Unexpired Leases to be assumed or are to be assumed pursuant to the terms of the

Modified Combined Disclosure Statement and Plan, shall be deemed assumed by the applicable

Debtor as of immediately prior to the Effective Date, and the entry of this Confirmation Order


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shall constitute approval of any such assumptions pursuant to sections 365(a) and 1123 of the

Bankruptcy Code, and (b) the Modified Combined Disclosure Statement and Plan shall

constitute a motion to reject all Executory Contracts and Unexpired Leases not listed as assumed

Executory Contracts or Unexpired Leases in the Plan Supplement and which were not previously

rejected or assumed by separate court order, and neither the Debtors nor Liquidating FedNat

shall have no further liability thereunder except with respect to Claims created by such rejection

as set forth in Article X.B. of the Modified Combined Disclosure Statement and Plan. The entry

of this Confirmation Order by the Bankruptcy Court shall constitute approval of any such

rejections pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

               (iii)   Settlement, Releases, Exculpation, Injunction, and Preservation of
                       Claims and Causes of Action (11 U.S.C. § 1123(b)(3))

       30.     The Modified Combined Disclosure Statement and Plan is consistent with section

1123(b)(3) of the Bankruptcy Code. In accordance with section 363 of the Bankruptcy Code and

Bankruptcy Rule 9019, and in consideration of the distributions, settlements, and other benefits

provided under the Modified Combined Disclosure Statement and Plan, including the releases set

forth in Article XII thereof, except as stated otherwise in the Modified Combined Disclosure

Statement and Plan or this Confirmation Order, the provisions of the Combined Disclosure

Statement and Plan and this Confirmation Order shall constitute a good faith compromise and

settlement of all Claims, any Interests pursuant to Section XII.A of the Modified Combined

Disclosure Statement and Plan, and such compromises and settlements are fair, equitable, and

reasonable and in the best interests of the Debtors and their Estates.

       31.     Subject to the exceptions established by the D&O Release Opt Out Order and

other controlling provisions of this Confirmation Order protecting the rights of the D&Os who

were deemed to have elected out of, not granted, and not been bound by the releases, discharges,



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injunctions, and exculpation provisions proposed in the Combined Disclosure Statement and

Plan, but are now included as Exculpated Parties in the exculpation provisions in the Modified

Combined Disclosure Statement and Plan, the releases of the Released Parties denoted in Section

I.A. 124 of the Modified Combined Disclosure Statement and Plan consisting of: (a) the Debtors;

(b) the Senior Notes Indenture Trustee; (c) the Committee; (d) the Hale Related Parties; and

(e) with respect to each such Person or Entity in the foregoing clauses (a) and (d), such Entity’s

managers, managing members, principals, partners, members, employees, agents, financial and

other advisors, attorneys, accountants, investment bankers, consultants, representatives, and

other Representatives, are an integral component of the settlements and compromises embodied

in the Modified Combined Disclosure Statement and Plan. The Released Parties: (a) made

substantial and valuable contributions to the Debtors and the Estates, including through extensive

negotiations with various stakeholders, in order to effectuate and consummate the Insure-Link

Sale, and FNU Sale; (b) invested significant time and effort to enable the successful sale of the

Debtors’ assets and preserve the value of the Debtors’ Estates in a challenging operating

environment; (c) engaged in and facilitated settlement negotiations and decisions on behalf of the

Debtors which resulted in the Hale Settlement; and (d) played an active role in the formulation

of the Plan and undertook significant time and expense reviewing the terms of the Plan and

negotiating with the Plan Proponents in order to achieve language that was acceptable to most

stakeholders.    The releases of the Released Parties contained in the Modified Combined

Disclosure Statement and Plan have the consent of the Debtors and the Releasing Parties and are

in the best interests of the Estates.

                (iv)    Debtor Releases

        32.     Subject to the exceptions established by the D&O Release Opt Out Order and

other controlling provisions of this Confirmation Order protecting the rights of the D&Os who


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were deemed to have elected out of, not granted, and not been bound by the releases, discharges,

injunctions, and exculpation provisions proposed in the Combined Disclosure Statement and

Plan, but are now included as Exculpated Parties in the exculpation provisions in the Modified

Combined Disclosure Statement and Plan, the releases of the Debtor Released Claims by the

Debtors described in Article XII.B of the Modified Combined Disclosure Statement and Plan

(the “Debtor Releases”) represent a valid exercise of the Debtors’ business judgment under

Bankruptcy Rule 9019. The Debtor Releases are fair and equitable and in accordance with

section 1123(b) of the Bankruptcy Code.

         33.     The Debtor Releases are an integral part of the Modified Combined Disclosure

Statement and Plan and are in the best interests of the Debtors’ Estates as a component of the

settlement implemented under the Modified Combined Disclosure Statement and Plan. The

probability of success in litigation with respect to the released Debtor Released Claims, when

weighed against the costs, supports the Debtor Releases. The Modified Combined Disclosure

Statement and Plan, including the Debtor Releases, was negotiated by sophisticated parties

represented by able counsel and advisors, including the Debtors and the Committee. The Debtor

Releases are therefore the result of a hard fought and arm’s-length negotiation conducted in good

faith.

         34.     The Debtor Releases of the Debtor Released Claims appropriately offers

protection to parties that contributed to the success of the Debtors’ Chapter 11 Cases, including,

inter alia, the Insure-Link Sale, FNU Sale, and Hale Settlement. Each of the Released Parties

made significant concessions in and contributions to these Chapter 11 Cases, and have provided

other valuable consideration to the Debtors to accomplish the results achieved in these Chapter

11 Cases, confronting novel challenges and facing unique risks, as they worked to negotiate a




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resolution with various stakeholders to support the Plan, the sale of the various businesses and

beginning to liquidate the Debtors on an expedited basis. Such services were necessary for the

Debtors to conduct their Chapter 11 Cases and be in the position to propose the Plan for creditor

approval and confirmation. In addition, this set of Released Parties worked under truly

extraordinarily tight timeframes to fulfill all of the other obligations of the Debtors under the

Bankruptcy Code, Bankruptcy Rules, Local Rules of this Court and various orders entered by the

Court.

         35.     The limited scope of the Debtor Releases applicable to the Debtor Released

Claims and only for the benefit of the Released Parties, is appropriately tailored to the facts and

circumstances of the Chapter 11 Cases. The Debtor Releases are appropriate in light of, among

other things, the value provided by the Released Parties to the Debtors’ Estates and the critical

importance of the Debtor Releases to the Modified Combined Disclosure Statement and Plan.

                 (v)   Third-Party Release

         36.     Subject to the exceptions established by the D&O Release Opt Out Order and

other controlling provisions of this Confirmation Order protecting the rights of the D&Os who

were deemed to have elected out of, not granted, and not been bound by the releases, discharges,

injunctions, and exculpation provisions proposed in the Combined Disclosure Statement and

Plan, but are now included as Exculpated Parties in the exculpation provisions in the Modified

Combined Disclosure Statement and Plan, the Third-Party Release set forth in Section XII.C of

the Modified Combined Disclosure Statement and Plan is an essential provision of the Modified

Combined Disclosure Statement and Plan and is: (a) in exchange for the good and valuable

consideration provided by the Released Parties; (b) a good faith settlement and compromise of

the Third Party Released Claims released thereby; (c) materially beneficial to, and in the best

interests of, the Debtors, their Estates, and their stakeholders; (d) critical to the overall success of


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the Modified Combined Disclosure Statement and Plan; (e) fair, equitable, and reasonable;

(f) given and made after due notice and opportunity for hearing; and (g) consistent with

sections 105, 524, 1123, 1129, and 1141 and other applicable provisions of the Bankruptcy

Code.

        37.     The Third-Party Release is an integral part of the Modified Combined Disclosure

Statement and Plan. Like the Debtor Releases, the Third-Party Release facilitated participation

of critical parties-in-interest in both the plan process and the chapter 11 process generally. The

Third-Party Release was critical to incentivizing parties-in-interest to support the Modified

Combined Disclosure Statement and Plan by providing critical concessions and funding, and to

preventing costly and time-consuming litigation regarding various parties’ respective rights and

interests. The Third-Party Release was instrumental in developing a plan that maximized value

for all of the Debtors’ stakeholders. The Third-Party Release is designed to provide finality for

the Debtors, the Committee, Liquidating FedNat, the Plan Administrator, and the Released

Parties. As such, the Third-Party Release appropriately offers certain protections to parties who

constructively participated in the Debtors’ Chapter 11 Cases.

        38.     The Third-Party Release is consensual. The Modified Combined Disclosure

Statement and Plan provide appropriate and specific disclosure with respect to the Third Party

Released Claims that are subject to the Third-Party Release and no additional disclosure is

necessary. As evidenced by the Voting Tabulation Declaration, the Plan Proponents provided

actual notice to all known parties-in-interest, including all known Holders of Claims and

Interests, and no further or other notice is necessary. Additionally, the release provisions of the

Modified Combined Disclosure Statement and Plan were conspicuous, emphasized with boldface

type in the Modified Combined Disclosure Statement and Plan, and included in the Ballots, and




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applicable notices. The parties who opt-ed out of the Third-Party Release set forth on Exhibit 3

to this Order are not bound by the Third-Party Release.5

        39.      The Third Party Release is limited to the Third Party Released Claims and only

for the benefit of the Released Parties, and is subject to the exceptions established by the D&O

Release Opt Out Order and other controlling provisions of this Confirmation Order protecting

the rights of the D&Os who were deemed to have elected out of, not granted, and not been bound

by the releases, discharges, injunctions, and exculpation provisions proposed in the Combined

Disclosure Statement and Plan, but are now included as Exculpated Parties in the exculpation

provisions in the Modified Combined Disclosure Statement and Plan. The limited scope of the

Third-Party Release is appropriately tailored to the facts and circumstances of these Chapter 11

Cases, as it explicitly does not provide a release for (i) any Causes of Action of any Releasing

Party arising from any act or omission of a Released Party that constitutes fraud, gross

negligence, or willful misconduct, (ii) any post-Effective Date obligations of any party under the

Modified Combined Disclosure Statement and Plan or any document, instrument, or agreement

executed in connection with the Modified Combined Disclosure Statement and Plan; (iii) any

Causes of Action against any insurer arising out of or relating to matters for which the Debtors

would otherwise be liable or suffer an insurable loss, including without limitation, any Causes of

Action against any D&O Insurance Carrier; (iv) any claims of the Debtors, FNIC, or the DFS

Receiver against any D&O; (v) any Insurance Causes of Action; (vi) any claims or Causes of

5
  The D&O Release Opt Out Order confirms that the D&Os were deemed to have elected out of, not granted, and
not been bound by the releases, discharges, injunctions, and exculpation provisions proposed in the Combined
Disclosure Statement and Plan. While Ballots opting out of the releases, discharges, injunctions, and exculpation
provisions in the Combined Disclosure Statement Plan were submitted by D&Os David Patterson, Bruce Simberg,
Jenifer Kimbrough, Thomas Rogers, David Michelson, Roberta Young, Erick A. Fernandez, Brian S. Gardner,
James Gordon Jennings, III, Douglas Raucy, and Michael H. Braun, only those temporarily allowed for voting
purposes in the Voting Purposes Order are reflected in Exhibit 3. After Ballots were submitted, the Plan
Modifications added the D&Os to the Exculpated Parties and confirmed the D&Os were deemed to have elected out
of, not granted, and not been bound by the releases, discharges, and injunctions in the Modified Combined
Disclosure Statement and Plan.



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Action that the Receiver may hold concerning the Tax Allocation Agreement, the Tax Refund

Dispute, or the Tax Refund(s); or (vii) any Retained Causes of Action and any claims, rights,

damages, or remedies with respect to any such Retained Causes of Action.

       40.     In light of, among other things, the consensual nature of the Third-Party Release,

the critical role of the Third-Party Release in obtaining the requisite support of the Debtors’

stakeholders needed to confirm the Modified Combined Disclosure Statement and Plan, and the

significant value provided by the Released Parties to the Debtors’ Estates, the Third-Party

Release is appropriate.

               (vi)    Exculpation

       41.     The exculpation provisions set forth in Article XII.D of the Modified Combined

Disclosure Statement and Plan are essential to the Modified Combined Disclosure Statement and

Plan, appropriate under applicable law, and constitute a proper exercise of the Debtors’ business

judgment. The exculpation provisions were proposed in good faith, were formulated following

extensive, good faith, arm’s-length negotiations with key constituents, and are appropriately

limited in scope to achieve the overall purpose of the Modified Combined Disclosure Statement

and Plan. Each Exculpated Party made significant contributions to the Chapter 11 Cases,

including with respect to the negotiation and implementation of the Insure-Link Sale and FNU

Sale and Settlement Agreement. The Exculpated Parties have, and upon Consummation of the

Modified Combined Disclosure Statement and Plan shall be deemed to have, participated in good

faith and in compliance with the applicable laws with regard to the solicitation of votes and

distribution of consideration pursuant to the Modified Combined Disclosure Statement and Plan

and, therefore, are not, and on account of such distributions shall not be, liable at any time for the

violation of any applicable law, rule, or regulation governing the solicitation of acceptances or

rejections of the Modified Combined Disclosure Statement and Plan or such distributions made


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pursuant to the Modified Combined Disclosure Statement and Plan. The exculpation provisions

are limited and do not (i) exculpate or release any Exculpated Party from anything other than as

provided in Section XII.D of the Modified Combined Disclosure Statement and Plan; (ii) prevent

or limited the ability of the Debtors or the Plan Administrator to object to a Claim of an

Exculpated Party on any basis other than matters exculpated or released in that section,

(iii) exculpate or release any Exculpated Party, Person, or Entity from any Insurance Causes of

Action; (iv) exculpate or release any Exculpated Party, Person, or Entity from any claims or

Causes of Action that the Receiver may hold concerning the Tax Allocation Agreement, the Tax

Refund Dispute, or the Tax Refund(s); (v) exculpate or release any Exculpated Party from any

Retained Causes of Action any claims, rights, damages, or remedies with respect to any such

Retained Causes of Action; or (vi) prevent or limit the ability of the Debtors or the Plan

Administrator to object to, or defend against, on any basis, or any Administrative Claim of an

Exculpated Party for substantial contribution.

       42.     The record in the Chapter 11 Cases fully supports the exculpation provisions,

which are appropriately tailored to protect the Exculpated Parties from inappropriate litigation

arising from their participation in the Chapter 11 Cases and are consistent with the Bankruptcy

Code and applicable law. Therefore, the exculpation provisions shall be, and hereby are,

approved and authorized in their entirety.

               (vii)   Injunction

       43.     The injunction provisions set forth in Article XII.E of the Modified Combined

Disclosure Statement and Plan are essential to the Combined Disclosure Statement and Plan and

are necessary to implement, preserve, and enforce the release, and exculpation provisions of the

Modified Combined Disclosure Statement and Plan. The injunction provisions are appropriately

tailored to achieve those purposes, and are subject to the exceptions established by the D&O


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Release Opt Out Order and other controlling provisions of this Confirmation Order protecting

the rights of the D&Os who were deemed to have elected out of, not granted, and not been bound

by the releases, discharges, injunctions, and exculpation provisions proposed in the Combined

Disclosure Statement and Plan, but are now included as Exculpated Parties in the exculpation

provisions in the Modified Combined Disclosure Statement and Plan.

               (viii) Preservation of Claims and Causes of Action

       44.     The provisions set forth in Article XII.H of the Modified Combined Disclosure

Statement and Plan regarding the vesting and preservation of Retained Causes of Action in the

Modified Combined Disclosure Statement and Plan are appropriate and are in the best interests

of the Debtors, their respective Estates, and Holders of Claims and Interests. Each Debtor,

Liquidating FedNat, and the Plan Administrator, on behalf of Liquidating FedNat, as applicable,

shall retain and may enforce all rights to commence and pursue, as appropriate, any and all

Retained Causes of Action, whether arising before or after the Petition Date, including any

actions specifically enumerated in the Schedule of Retained Causes of Action, to commence,

prosecute, or settle such Retained Causes of Action shall be preserved notwithstanding the

occurrence of the Effective Date or any other provision of the Modified Combined Disclosure

Statement and Plan to the contrary.

               (ix)   Other Appropriate Provisions (11 U.S.C. § 1123(b)(6))

       45.     The Modified Combined Disclosure Statement and Plan’s other provisions are

appropriate and consistent with the applicable provisions of the Bankruptcy Code, including

provisions for (a) distributions to Holders of Claims and treatment of Interests, (b) allowance of

certain Claims, (c) preservation of insurance, (d) the approval of Plan Administrator Agreement,

and (e) retention of Court jurisdiction, thereby satisfying the requirements of section 1123(b)(6)

of the Bankruptcy Code.


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Q.     Cure of Defaults (11 U.S.C. § 1123(d))

       46.     The Debtors are not in default of any of the executory contracts listed on Exhibit

A to the Plan Supplement.

R.     Compliance of the Debtors and Others with the Applicable Provisions of the
       Bankruptcy Code (11 U.S.C. § 1129(a)(2))

       47.     The Plan Proponents have complied with all applicable provisions of the

Bankruptcy Code as required by section 1129(a)(2) of the Bankruptcy Code, including sections

1122, 1123, 1124, 1125, 1126, and 1128, and Bankruptcy Rules 3017, 3018, and 3019.

       48.     The Plan Proponents solicited votes to accept or reject the Modified Combined

Disclosure Statement and Plan and after the Court conditionally approved the adequacy of the

Combined Disclosure Statement and Plan, pursuant to section 1125(a) of the Bankruptcy Code

and the Conditional Approval Order.

       49.     Each of the Plan Proponents solicited and tabulated votes on the Modified

Combined Disclosure Statement and Plan and have participated in the activities described in

section 1125 of the Bankruptcy Code fairly, in good faith within the meaning of section 1125(e),

and in a manner consistent with the applicable provisions of the Conditional Approval Order, the

Modified Combined Disclosure Statement and Plan, the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, and all other applicable rules, laws, and regulations in connection with

all of their respective activities relating to support and consummation of the Modified Combined

Disclosure Statement and Plan, and are entitled to the protections afforded by section 1125(e) of

the Bankruptcy Code, the exculpation provisions set forth in Article XII.D of the Modified

Combined Disclosure Statement and Plan, and all other protections and rights provided in the

Modified Combined Disclosure Statement and Plan.




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       50.      So long as the distribution of recoveries under the Modified Combined Disclosure

Statement and Plan are made pursuant to, and in compliance with, the Modified Combined

Disclosure Statement and Plan, the Plan Proponents, will have participated in such distribution of

recoveries in good faith and in compliance with the applicable provisions of the Bankruptcy

Code and, therefore, are not, and will not be, on account of such distributions, liable at any time

for the violation of any applicable law, rule, or regulation governing the solicitation of

acceptances or rejections of the Combined Disclosure Statement and Plan or distributions made

thereunder.

S.     Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3))

       51.      The Plan Proponents have proposed the Modified Combined Disclosure

Statement and Plan (including the Plan Supplement and all other documents necessary or

appropriate to effectuate the Modified Combined Disclosure Statement and Plan) in good faith

and not by any means forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy

Code. In determining that the Modified Combined Disclosure Statement and Plan has been

proposed in good faith, the Court has examined the totality of the circumstances surrounding the

filing of the Chapter 11 Cases, the Modified Combined Disclosure Statement and Plan itself, the

process leading to its formulation, the process leading to Confirmation, the support of Holders of

Claims in the Voting Classes for the Modified Combined Disclosure Statement and Plan, and the

transactions to be implemented pursuant thereto. The Plan Proponents’ good faith is evident

from the facts and record of the Chapter 11 Cases, the Modified Combined Disclosure Statement

and Plan, the hearing to conditionally approve the Modified Combined Disclosure Statement and

Plan, and the record of the Combined Hearing and other proceedings held in the Chapter 11

Cases. The Modified Combined Disclosure Statement and Plan was proposed with the legitimate

and honest purpose of maximizing the value of the Debtors’ Estates. Further, the Modified


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Combined Disclosure Statement and Plan’s classification, indemnification, settlement,

exculpation, release, and injunction provisions have been negotiated in good faith and at arm’s

length, are consistent with sections 105, 1122, 1123(b)(3)(A), 1123(b)(6), and 1129 of the

Bankruptcy Code, and each is integral to the Modified Combined Disclosure Statement and Plan,

supported by valuable consideration, and necessary to the successful confirmation and

consummation of the Modified Combined Disclosure Statement and Plan. Accordingly, the

requirements of section 1129(a)(3) of the Bankruptcy Code are satisfied.

T.     Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4))

       52.     Any payment made or to be made by the Debtors for services or for costs and

expenses of the Debtors’ professionals in connection with the Chapter 11 Cases, or in connection

with the Modified Combined Disclosure Statement and Plan and incident to the Chapter 11

Cases, has been approved by or is subject to the approval of the Court as reasonable, thereby

satisfying section 1129(a)(4) of the Bankruptcy Code.

U.     Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5))

       53.     The identity and proposed compensation of the Plan Administrator has been

disclosed in the Plan Supplement. Mr. Thomas Pitta is the initial Plan Administrator. Mr. Pitta

is qualified, and his appointment as Plan Administrator to implement and perform under the

terms of the Plan Administrator Agreement is consistent with the interests of the Holders of

Claims and Interests and with public policy. Accordingly, the Modified Combined Disclosure

Statement and Plan satisfies the requirements of section 1129(a)(5) of the Bankruptcy Code.

V.     No Rate Changes (11 U.S.C. § 1129(a)(6))

       54.     Section 1129(a)(6) of the Bankruptcy Code is satisfied because the Modified

Combined Disclosure Statement and Plan does not provide for any rate change over which a

governmental regulatory commission has jurisdiction.


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W.     Best Interests of Holders of Claims and Interests (11 U.S.C. § 1129(a)(7))

       55.     The    Modified     Combined      Disclosure    Statement     and   Plan    satisfies

section 1129(a)(7) of the Bankruptcy Code. The liquidation analysis attached as Exhibit C to the

Modified Combined Disclosure Statement and Plan and the other evidence related thereto in

support of Confirmation that was presented, proffered, or adduced at or prior to the Combined

Hearing: (a) are reasonable, persuasive, credible, and accurate as of the dates such analyses and

evidence were prepared, presented, or proffered; (b) utilize reasonable and appropriate

methodologies and assumptions; (c) have not been controverted by other evidence; and

(d) establish that each Holder of an Impaired Claim or Interest either has accepted the Modified

Combined Disclosure Statement and Plan or will receive or retain under the Modified Combined

Disclosure Statement and Plan, on account of such Claim or Interest, property of a value, as of

the Effective Date, that is not less than the amount that such Holder would receive or retain if the

Debtors were liquidated under chapter 7 of the Bankruptcy Code on such date.

X.     Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8))

       56.     Each of the members in the Unimpaired Non-Voting Classes are Unimpaired by

the Modified Combined Disclosure Statement and Plan under section 1124 of the Bankruptcy

Code and, accordingly, Holders of Claims in such Classes are conclusively presumed to have

accepted the Modified Combined Disclosure Statement and Plan pursuant to section 1126(f) of

the Bankruptcy Code. Each of the members of the Voting Classes are Impaired by the Modified

Combined Disclosure Statement and Plan and have voted to accept the plan. The Interests in the

Impaired Non-Voting Classes are presumed to have rejected the Modified Combined Disclosure

Statement and Plan were not entitled to vote thereon.         Notwithstanding the foregoing, the

Modified Combined Disclosure Statement and Plan is confirmable because it satisfies

sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.


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Y.     Treatment of Claims Entitled to Priority Under Section 507 of the Bankruptcy Code
       (11 U.S.C. § 1129(a)(9))

       57.     The treatment of Allowed Administrative Claims and Allowed Priority Tax

Claims, pursuant to Article IV of the Modified Combined Disclosure Statement and Plan

satisfies the requirements of section 1129(a)(9) of the Bankruptcy Code.

Z.     Acceptance by at Least One Impaired Class of Claims (11 U.S.C. § 1129(a)(10))

       58.     The Modified Combined Disclosure Statement and Plan satisfies the requirements

of section 1129(a)(10) of the Bankruptcy Code.        As evidenced by the Voting Tabulation

Declaration an Impaired Class of Claims of each Debtor voted to accept the Modified Combined

Disclosure Statement and Plan by the requisite numbers and amounts of Claims, as determined

without including any acceptance of the Modified Combined Disclosure Statement and Plan by

any insider (as that term is defined in section 101(31) of the Bankruptcy Code).

AA.    Feasibility (11 U.S.C. § 1129(a)(11))

       59.     The Modified Combined Disclosure Statement and Plan is a plan of liquidation.

The information contained in the Modified Combined Disclosure Statement and Plan, and the

evidence that was proffered or adduced at or prior to the Combined Hearing: (a) are reasonable,

persuasive, and credible; (b) have not been rebutted by other evidence; (c) utilize reasonable and

appropriate methodologies and assumptions; (d) establish that the Modified Combined

Disclosure Statement and Plan is feasible and that there is a reasonable prospect of Liquidating

FedNat being able consummate the transactions provided under the Modified Combined

Disclosure Statement and Plan, and that Confirmation of the Modified Combined Disclosure

Statement and Plan is not likely to be followed by further liquidation (other than the liquidation

contemplated under the Modified Combined Disclosure Statement and Plan) or the need for any

financial reorganization of the Debtors or any successor to the Debtors under the Modified



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Combined Disclosure Statement and Plan; and (e) establish that the Debtors will have sufficient

funds available to meet their obligations under the Modified Combined Disclosure Statement and

Plan.   Accordingly, the Modified Combined Disclosure Statement and Plan satisfies the

requirements of section 1129(a)(11) of the Bankruptcy Code.

BB.     Payment of Fees (11 U.S.C. § 1129(a)(12))

        60.     As set forth in Article XIV.A of the Modified Combined Disclosure Statement

and Plan, all fees and charges assessed against the Debtor under chapter 123 of the Judicial Code

that are due and payable prior to the Effective Date shall be paid by the Debtors. Amounts due

thereafter shall be paid by Liquidating FedNat until the earliest of that particular Debtor’s case

being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

Accordingly, the Modified Combined Disclosure Statement and Plan satisfies the requirements

of section 1129(a)(12) of the Bankruptcy Code.

CC.     Retiree Benefits (11 U.S.C. § 1129(a)(13))

        61.     The Debtors do not have any retiree benefits. Therefore, section 1129(a)(13) of

the Bankruptcy Code is not applicable to these Chapter 11 Cases.

DD.     Non-Applicability of Certain Sections (11 U.S.C. § 1129(a)(14), (15), and (16)

        62.     The Debtors do not owe any domestic support obligations, are not individuals,

and are not nonprofit corporations. Therefore, sections 1129(a)(14), 1129(a)(15), and

1129(a)(16) of the Bankruptcy Code do not apply to the Chapter 11 Cases.

EE.     “Cram Down” Requirements (11 U.S.C. § 1129(b))

        63.     Pursuant to section 1129(b)(1) of the Bankruptcy Code, the Modified Combined

Disclosure Statement and Plan may be confirmed despite the fact that the Impaired Non-Voting

Classes are each deemed to have rejected the Combined Disclosure Statement and Plan because




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the Modified Combined Disclosure Statement and Plan meets the “cramdown” requirements for

confirmation under section 1129(b) of the Bankruptcy Code.

       64.     To the extent the requirements of section 1129(a)(8) of the Bankruptcy Code may

not have been met with respect to the Impaired Non-Voting Classes, the Modified Combined

Disclosure Statement and Plan may be confirmed pursuant to section 1129(b) of the Bankruptcy

Code because the Debtors have demonstrated by a preponderance of the evidence that the

Modified Combined Disclosure Statement and Plan (a) satisfies all of the other requirements of

section 1129(a) of the Bankruptcy Code and (b) does not “discriminate unfairly” pursuant to

section 1129(b)(1) and is “fair and equitable” pursuant to section 1129(b)(2), with respect to

each of the Impaired Non-Voting Classes. Based upon the evidence proffered, adduced, and

presented by the Debtors prior to or at the Combined Hearing, the Modified Combined

Disclosure Statement and Plan does not discriminate unfairly and is fair and equitable with

respect to the aforementioned Classes, as required by sections 1129(b)(1) and 1129(b)(2) of the

Bankruptcy Code. The Modified Combined Disclosure Statement and Plan, therefore, satisfies

the requirements of section 1129(b) of the Bankruptcy Code and may be confirmed

notwithstanding any rejection or deemed rejection, as applicable, of the Modified Combined

Disclosure Statement and Plan by the Impaired Non-Voting Classes.

FF.    Only One Plan (11 U.S.C. § 1129(c))

       65.     The Modified Combined Disclosure Statement and Plan is the only plan filed in

the Chapter 11 Cases and, accordingly, satisfies section 1129(c) of the Bankruptcy Code.

GG.    Principal Purpose of the Plan (11 U.S.C. § 1129(d))

       66.     The principal purpose of the Modified Combined Disclosure Statement and Plan

is not the avoidance of taxes or the avoidance of the application of section 5 of the Securities Act

of 1933, thereby satisfying section 1129(d) of the Bankruptcy Code.


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HH.     Not Small Business Cases (11 U.S.C. § 1129(e))

        67.     These Chapter 11 Cases are not small business cases and, accordingly,

section 1129(e) of the Bankruptcy Code is inapplicable in the Chapter 11 Cases.

II.     Satisfaction of Confirmation Requirements

        68.     Based upon the foregoing and all other pleadings and evidence proffered or

adduced at or prior to the Combined Hearing, the Modified Combined Disclosure Statement and

Plan satisfies all the requirements for Confirmation set forth in section 1129 of the Bankruptcy

Code.

JJ.     Plan Implementation

        69.     The terms of the Modified Combined Disclosure Statement and Plan, including

the Plan Supplement, and all exhibits and schedules thereto, and all other agreements,

instruments, or other documents filed in connection with the Modified Combined Disclosure

Statement and Plan, and/or executed or to be executed in connection with the transactions

contemplated by the Modified Combined Disclosure Statement and Plan and all amendments and

modifications of any of the foregoing made pursuant to the provisions of the Modified Combined

Disclosure Statement and Plan governing such amendments and modifications (collectively, and

as each may be amended, supplemented, or modified, the “Plan Documents”), are incorporated

by reference, are approved in all respects, and are non-severable from, mutually dependent on

and constitute an integral part of this Confirmation Order.         The Debtors have exercised

reasonable business judgment in determining which agreements to enter into and have provided

sufficient and adequate notice of such documents and agreements. The terms and conditions of

such documents and agreements have been negotiated in good faith and at arm’s length, are fair

and reasonable, and are reaffirmed and approved.




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       70.     The terms of the Modified Combined Disclosure Statement and Plan, the Plan

Supplement and all exhibits thereto, and all other relevant and necessary documents shall be

effective and binding as of the Effective Date (unless different date(s) is/are specified in the

applicable foregoing documents, in which case the applicable terms shall be effective and

binding on such date(s)) on the Debtors and any Holder of a Claim or Interest (whether or not the

Claim or Interest is Impaired under the Modified Combined Disclosure Statement and Plan and

whether or not the Holder of such Claim or Interest has accepted the Modified Combined

Disclosure Statement and Plan), and any other party in interest.

KK.    Binding and Enforceable

       71.     The Modified Combined Disclosure Statement and Plan and the Plan Documents

have been negotiated in good faith and at arm’s length and, subject to the occurrence of the

Effective Date, shall bind any and all Holders of Claims and Interests and each such Holder’s

respective agents, successors, and assigns (whether or not the Claim and Interest is Impaired

under the Modified Combined Disclosure Statement and Plan, whether or not such Holder has

accepted or rejected the Modified Combined Disclosure Statement and Plan, and whether or not

such Holder is entitled to a distribution under the Modified Combined Disclosure Statement and

Plan), all Entities that are parties to or are subject to the settlements, compromises, releases and

injunctions described in the Modified Combined Disclosure Statement and Plan, each Entity

acquiring property under the Modified Combined Disclosure Statement and Plan or this

Confirmation Order, and any and all non-Debtor parties to Executory Contracts or Unexpired

Leases with the Debtors. The Modified Combined Disclosure Statement and Plan constitutes

legal, valid, binding, and authorized obligations of the respective parties thereto and shall be

enforceable in accordance with their terms. Pursuant to section 1142(a) of the Bankruptcy Code,

the provisions of this Confirmation Order, the Modified Combined Disclosure Statement and


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Plan, and Plan Documents shall apply and be enforceable notwithstanding any otherwise

applicable non-bankruptcy law.      The Plan Proponents are authorized to take any action

reasonably necessary or appropriate to consummate the Modified Combined Disclosure

Statement and Plan and the transactions described in, contemplated by, or necessary to effectuate

the Modified Combined Disclosure Statement and Plan.

LL.    Executory Contracts and Unexpired Leases

       72.     The Debtors have exercised reasonable business judgment in determining whether

to assume or reject each of their Executory Contracts and Unexpired Leases pursuant to

sections 365 and 1123(b)(2) of the Bankruptcy Code. Each assumption of an Executory Contract

or Unexpired Lease pursuant to Article X.A. of the Modified Combined Disclosure Statement

and Plan and designated pursuant to the Plan Supplement shall be legal, valid, and binding upon

the Debtors or Liquidating FedNat, as applicable, and their successors and assigns and each non-

Debtor party and its successors and assigns to such Executory Contract or Unexpired Lease, all

to the same extent as if such assumption were effectuated pursuant to an order of the Court under

section 365 of the Bankruptcy Code entered before entry of this Confirmation Order. Except as

set forth in separate orders entered by the Court relating to assumption of Executory Contracts or

Unexpired Leases, the Debtors have cured or provided adequate assurances that the Debtors or

Liquidating FedNat, as applicable, will cure defaults (if any) under or relating to each Executory

Contract and Unexpired Lease assumed under the Modified Combined Disclosure Statement and

Plan, except where objections related to cure amounts have been adjourned to a subsequent

hearing. The rejection of all Executory Contracts and Unexpired Leases not previously assumed

and not designated for assumption assumed pursuant to the Plan Supplement is a proper exercise

of the Debtors’ business judgment because, among other things, the Debtors’ Chapter 11 Cases

are liquidating cases, and the rejection of the Executory Contracts and Unexpired Leases is


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appropriate under the circumstances and in light of the purpose of and transactions contemplated

under the Modified Combined Disclosure Statement and Plan.

MM. Disclosure of Facts

       73.     The Plan Proponents have disclosed all material facts regarding the Modified

Combined Disclosure Statement and Plan, and the adoption, execution, and implementation of

the other matters provided for under the Modified Combined Disclosure Statement and Plan

involving corporate action to be taken by or required of the Debtors.

NN.    Likelihood of Satisfaction of Conditions Precedent to the Effective Date

       74.     Each of the conditions precedent to the Effective Date, as set forth in Article XI.B

of the Modified Combined Disclosure Statement and Plan, has been or is reasonably likely to be

satisfied or waived in accordance with Article XI.C of the Modified Combined Disclosure

Statement and Plan.

OO.    Good Faith

       75.     The Plan Proponents have proposed the Modified Combined Disclosure

Statement and Plan with the legitimate and honest purpose of maximizing the value of each of

the Debtors’ Estates for the benefit of their stakeholders. Accordingly, the Plan Proponents

(including all of their respective Representatives) have been, are, and will continue to act in good

faith if they proceed to: (a) consummate the Modified Combined Disclosure Statement and Plan

and the agreements, settlements, transactions, and transfers contemplated thereby; and (b) take

the actions authorized and directed or contemplated by this Confirmation Order. Therefore, the

Modified Combined Disclosure Statement and Plan has been proposed in good faith to achieve a

result consistent with the objectives and purposes of the Bankruptcy Code and the

aforementioned parties have acted in good faith within the meaning of sections 1125(e) and

1126(e) of the Bankruptcy Code.


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                                            ORDER

       BASED ON THE FOREGOING, IT IS HEREBY ORDERED THAT:

       76.     Disclosure Statement Containing Adequate Information.              The Modified

Combined Disclosure Statement and Plan, including the Plan Supplement, are approved on a

final basis pursuant to section 1125 of the Bankruptcy Code.

       77.     Confirmation. The Modified Combined Disclosure Statement and Plan attached

hereto as Exhibit 1, and each of its provisions are confirmed pursuant to section 1129 of the

Bankruptcy Code. The documents contained in or contemplated by the Modified Combined

Disclosure Statement and Plan, including the Plan Supplement and other Plan Documents, are

hereby authorized and approved. The terms of the Modified Combined Disclosure Statement

and Plan and the Plan Supplement are incorporated herein by reference and are an integral part of

this Confirmation Order. The Plan Administrator, on behalf of Liquidating FedNat, and the

Debtors, as applicable, is or are authorized to implement and consummate the Modified

Combined Disclosure Statement and Plan, the Plan Supplement, and the other Plan Documents,

including taking all actions necessary, advisable, or appropriate to finalize the Plan Documents

and to effectuate the Modified Combined Disclosure Statement and Plan and the transactions

contemplated thereby, without any further authorization or action by any person, body, or board

of directors. The terms of the Modified Combined Disclosure Statement and Plan (including all

consent rights provided therein), the Plan Supplement, all exhibits and attachments thereto, and

all other relevant and necessary documents shall be effective and binding as of the Effective Date

on all parties-in-interest, including Liquidating FedNat and all Holders of Claims and Interests.

Any amendments or modifications to the Modified Combined Disclosure Statement and Plan

described or set forth in this Confirmation Order are hereby approved, without further order of

this Court. All Holders of Claims and Interests that voted to accept or who were deemed to have


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accepted the Modified Combined Disclosure Statement and Plan are conclusively presumed to

have accepted the Modified Combined Disclosure Statement and Plan as it may have been

amended or modified by the foregoing. The failure to specifically describe, include, or refer to

any particular article, section, or provision of the Modified Combined Disclosure Statement and

Plan or the Plan Documents in this Confirmation Order shall not diminish or impair the

effectiveness or enforceability of such article, section, or provision nor constitute a waiver

thereof, it being the intent of this Court that the Modified Combined Disclosure Statement and

Plan is confirmed in its entirety and incorporated herein by reference.

       78.     Headings. Headings utilized herein are for convenience and reference only and

do not constitute a part of the Modified Combined Disclosure Statement and Plan or this

Confirmation Order for any other purpose.

       79.     Objections. All objections to Confirmation of the Modified Combined Disclosure

Statement and Plan or final approval under 11 U.S.C. § 1125 of the Modified Combined

Disclosure Statement and Plan, and other responses, comments, statements, or reservation of

rights, if any, in opposition to the Modified Combined Disclosure Statement and Plan or final

approval of the Modified Combined Disclosure Statement and Plan have been overruled in their

entirety to the extent such objections are not addressed by the Plan Modifications, and on the

merits to the extent not otherwise adjourned to a subsequent hearing, withdrawn, waived, or

otherwise resolved by the Debtors prior to entry of this Confirmation Order, unless otherwise

indicated herein. All withdrawn objections, if any, are deemed withdrawn with prejudice.

       80.     Plan Classification Controlling. The terms of the Modified Combined Disclosure

Statement and Plan shall govern the classification of Claims and Interests for purposes of the




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distributions to be made thereunder. All rights of the Debtors, Liquidating FedNat, and the Plan

Administrator to seek to reclassify Claims and/or Interests are expressly reserved.

       81.     No Action. Pursuant to section 1142(b) of the Bankruptcy Code and applicable

nonbankruptcy law, (a) no action of the respective directors, managers, members, stockholders,

or other equity holders of the Debtors, as applicable, shall be required to authorize the Debtors to

enter into, execute, deliver, file, adopt, amend, restate, consummate, or effectuate, as the case

may be, the Modified Combined Disclosure Statement and Plan and any contract, instrument, or

other document to be executed, delivered, adopted, or amended in connection with the

implementation of the Modified Combined Disclosure Statement and Plan, including any Plan

Document, and (b) to the extent the Debtors determine any Person or Entity is a necessary party

to execute and deliver or join in the execution or delivery of any instrument required to effect a

transfer of property dealt with by the Modified Combined Disclosure Statement and Plan, or

perform any other act in furtherance of the transactions contemplated by the Modified Combined

Disclosure Statement and Plan, and such Person or Entity is so informed by the Debtors, then

such Person or Entity is directed to take such steps as necessary to comply with the foregoing

and section 1142(b) of the Bankruptcy Code.

       82.     Governmental Approvals. Except as otherwise set forth herein, this Confirmation

Order constitutes all approvals and consents required, if any, by the laws, rules, or regulations of

any State or any other governmental authority with respect to the implementation and

consummation of the Modified Combined Disclosure Statement and Plan and the Plan

Documents and any other acts that may be necessary or appropriate for the implementation or

consummation of the Modified Combined Disclosure Statement and Plan or the Plan Documents




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to the fullest extent permitted by law and nothing herein to the contrary shall diminish the

authority of section 1142 of the Bankruptcy Code.

       83.     Plan Supplement. The documents (including any term sheets) contained in the

Plan Supplement, and any amendments, modifications, and supplements thereto, and all

documents and agreements introduced into evidence by the Debtors at the Combined Hearing

(including all exhibits and attachments thereto and documents referred to therein), and the

execution, delivery, and performance thereof by the Debtors and Liquidating FedNat, are

authorized when they are finalized, executed, and delivered.          Without further order or

authorization of this Court, subject to the consent and approval rights of applicable parties set

forth in the Modified Combined Disclosure Statement and Plan, the Debtors, Liquidating

FedNat, the Plan Administrator, and their respective successors are authorized and empowered to

make all modifications to all documents included as part of the Plan Supplement that are

consistent with the Modified Combined Disclosure Statement and Plan, unless such

modifications require relief under section 1127 of the Bankruptcy Code. Execution versions of

the documents comprising or contemplated by the Plan Supplement shall constitute legal, valid,

binding, and authorized obligations of the respective parties thereto, enforceable in accordance

with their terms.

       84.     Payment of Senior Notes Indenture Fees. On the Effective Date, and in

consideration of the compromise, settlement, and release of all claims and causes of action of

the Senior Notes as and against non-FNHC Debtors, the Plan Administrator shall pay in Cash all

reasonable and documented unpaid Senior Notes Indenture Trustee Fees incurred after the

Petition Date that are required to be paid under the Senior Indentures, without the need for the

Senior Notes Indenture Trustee to file fee applications with the Court, provided however, that the




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total fees incurred through the Effective Date shall not exceed $250,000 (the “Senior Notes Fee

Cap”). From and after the Effective Date, the Plan Administrator shall pay in Cash any and all

reasonable and documented Senior Notes Indenture Trustee Fees, including, without limitation,

all Senior Notes Indenture Trustee Fees incurred in connection with the cancellation and

discharge of the Senior Indentures. Nothing in this Confirmation Order or the Modified

Combined Disclosure Statement and Plan shall in any way affect or diminish the right of the

Senior Notes Indenture Trustees to exercise their Senior Notes Indenture Trustee Charging Liens

against distributions on account of the Senior Notes Claims with respect to any unpaid Senior

Notes Indenture Trustee Fees, as applicable. For the avoidance of doubt, the Senior Notes shall

maintain a claim solely against Debtor FNHC.

       85.     Plan Modifications.    Entry of this Confirmation Order shall mean that all

modifications or amendments to the Combined Disclosure Statement and Plan since the

solicitation thereof, are approved pursuant to section 1127(a) of the Bankruptcy Code and do not

require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

       86.     Effectuating Documents; Further Transactions. On and after the Effective Date,

the Plan Administrator, on behalf of Liquidating FedNat, is authorized to and may issue, execute,

deliver, file, or record such contracts, instruments, releases, and other agreements or documents

and take such actions as may be necessary or appropriate to effectuate, implement, and further

evidence the terms and conditions of the Modified Combined Disclosure Statement and Plan, and

the Plan Supplement, without the need for any approvals, authorization, or consents except for

those expressly required pursuant to the Modified Combined Disclosure Statement and Plan and

Plan Administrator Agreement.




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       87.      Treatment of Executory Contracts and Unexpired Leases.             The provisions

governing the treatment of Executory Contracts and Unexpired Leases set forth in Article X of

the Modified Combined Disclosure Statement and Plan are hereby approved in their entirety.

For the avoidance of doubt, as of and subject to the occurrence of the Effective Date and the

payment of any applicable cure claims, all Executory Contracts and Unexpired Leases

designated for assumption in the Plan Supplement and to which any of the Debtors are a party

and which have not expired by their own terms on or prior to the Effective Date, shall be deemed

assumed pursuant to sections 365(a) and 1123 of the Bankruptcy Code (the “Assumed Contracts

and Leases”).

       88.      Except as otherwise set forth in the Plan Supplement with respect to the Assumed

Contracts and Leases, all other Executory Contracts and Unexpired Leases will be deemed

rejected as of the Effective Date, unless such Executory Contract or Unexpired Lease (i) was

previously rejected pursuant to separate order of this Court; (ii) expired or terminated pursuant to

its own terms; or (iii) was previously terminated by the applicable Debtor and counterparty to

such contract or lease.

       89.      All Executory Contracts and Unexpired Leases of the Debtors rejected pursuant to

Section X.A of the Modified Combined Disclosure Statement and Plan (collectively,

the “Rejected Contracts”) are rejected by the applicable Debtors, and such rejections are hereby

approved by this Court pursuant to sections 365(a) and 1123 of the Bankruptcy Code, with such

rejections subject to the occurrence of the Effective Date. Rejection of any Rejected Contract

pursuant to the Modified Combined Disclosure Statement and Plan or otherwise will not

constitute a termination of any preexisting obligations owed to the Debtors or Liquating FedNat,

as applicable, under such Rejected Contract. All Proofs of Claim with respect to Claims arising




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from or in connection with the rejection of the Rejected Contracts pursuant to this Confirmation

Order, if any, other than Claims, if, any, held by a D&O related to an indemnification obligation

of a Debtor (the “Rejection Claims”), must be filed with this Court, and served upon the

applicable Debtor and the Plan Administrator within thirty (30) days after the Effective Date.

Other than Claims, if any, held by a D&O related to an indemnification obligation of a Debtor,

any and all Rejection Claims not filed within such time shall be disallowed, forever barred from

assertion, and shall not be enforceable against, as applicable, the Debtors, Liquidating FedNat,

the Plan Administrator, or the property of the foregoing parties. Any property remaining on the

premises subject to a rejected Unexpired Lease shall be deemed abandoned by the Debtors or

Liquidating FedNat, as applicable, as of the effective date of rejection, and the counterparty to

such Unexpired Lease shall be authorized to use or dispose of any property left on the premises

in its sole and absolute discretion without notice or liability to the Debtors or Liquidating

FedNat, as applicable, or any third party. For the further avoidance of doubt, the Claims, if any,

held by a D&O related to an indemnification obligation of a Debtor must be filed against the

applicable Debtor or Debtors with the Bankruptcy Court and served on the Plan Administrator no

later than thirty (30) days after any civil action or proceeding seeking to recover on Causes of

Action against the D&O has been properly served on the D&O.

       90.     Compromise and Settlement of Claims, Interests, and Controversies. Pursuant to

section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for, and as

a requirement to receive, the distributions and other benefits provided pursuant to the Modified

Combined Disclosure Statement and Plan, the provisions of the Modified Combined Disclosure

Statement and Plan shall constitute a good faith global and integrated compromise and settlement




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of all Claims, Interests, and controversies as set forth in Section XII.A of the Modified

Combined Disclosure Statement and Plan.

       91.     Release, Exculpation, Injunction, and Related Provisions.           The release,

exculpation, injunction, and related provisions set forth in Article XII of the Modified Combined

Disclosure Statement and Plan, subject to the D&O Release Opt Out, shall be, and hereby are,

approved and authorized in their entirety, including, but not limited to:

               a.      The Debtor Releases set forth in Article XII.B of the Modified Combined
                       Disclosure Statement and Plan;

               b.      The Third-Party Release set forth in Article XII.C of the Modified
                       Combined Disclosure Statement and Plan;

               c.      The exculpation provisions set forth in Article XII.D of the Modified
                       Combined Disclosure Statement and Plan; and

               d.      The injunction provisions set forth in Article XII.E of the Modified
                       Combined Disclosure Statement and Plan.

       92.     Approval of the Plan Administrator Agreement. The Plan Administrator

Agreement, substantially in the form of which was filed as Exhibit B to the Modified Combined

Disclosure Statement and Plan, as amended, supplemental or modified, is hereby approved, and

shall be effective as of the Effective Date.

       93.     Appointment of Plan Administrator. Thomas Pitta is appointed to serve as the

initial Plan Administrator as of the Effective Date. The Plan Administrator shall be deemed the

representative of each of the Debtors’ Estates in accordance with section 1123 of the Bankruptcy

Code and shall have all the rights and powers set forth in the Plan and Plan Administrator

Agreement, including, without limitation (and except as otherwise provided in the Plan

Administrator Agreement), the powers of a trustee under sections 704 and 1106 of the

Bankruptcy Code and Bankruptcy Rule 2004, including, without limitation, the right to (a) effect

all actions and execute all agreements, instruments and other documents necessary to implement


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the provisions of the Modified Combined Disclosure Statement and Plan and Plan Administrator

Agreement.

       94.     Plan Administrator Professionals.     The Plan Administrator may hire such

attorneys, accountants and other professionals as may be required or appropriate in connection

with its duties under the Plan Administrator Agreement. The Plan Administrator shall be entitled

to retain professionals in his sole discretion and without the necessity of Court approval,

including any professionals employed by the Debtors or the Committee in the Chapter 11 Cases.

The provision of services by a professional to the Debtors or the Committee shall not disqualify

such professional from employment by the Plan Administrator. For avoidance of doubt, the Plan

Administrator is authorized to pay the fees and expenses of any professionals employed by

him/her without further order of the Court.

       95.     Plan Administrator Compensation. From and after the Effective Date, the Plan

Administrator and any professionals engaged or retained by the Plan Administrator shall be

entitled to reasonable compensation perform services related to administration of the Modified

Combined Disclosure Statement and Plan. The Plan Administrator shall be compensated on the

Plan Administrator’s on the terms disclosed in the Plan Supplement.

       96.     Notice of Entry of Confirmation Order and Effective Date. In accordance with

Bankruptcy Rules 2002 and 3020(c), no later than seven (7) business days after the Effective

Date, Liquidating FedNat shall file with the Court and serve by email and first class mail or

overnight delivery service a notice of the entry of this Confirmation Order and occurrence of the

Effective Date (the “Confirmation Notice”), in substantially the form annexed hereto as

Exhibit 2, on all known Holders of Claims and Interests and parties who have filed requests to

receive notice in these cases under Bankruptcy Rule 2002. Notwithstanding the above, no




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Confirmation Notice or service of any kind shall be required to be mailed or made upon any

Entity to whom the Debtors mailed notice of the Combined Hearing, but received such notice

returned marked “undeliverable as addressed,” “moved, left no forwarding address,” or

“forwarding order expired,” or similar reason, unless the Debtors have been informed in writing

by such Entity, or are otherwise aware, of that Entity’s new address.             Mailing of the

Confirmation Notice in the time and manner set forth in this paragraph shall be good, adequate,

and sufficient notice under the particular circumstances and in accordance with the requirements

of Bankruptcy Rules 2002 and 3020(c). No further notice will be necessary.

       97.     Non-Severability of Plan Provisions Upon Confirmation. Each provision of the

Modified Combined Disclosure Statement and Plan is: (a) valid and enforceable in accordance

with its terms; (b) integral to the Modified Combined Disclosure Statement and Plan and may

not be deleted or modified without the Plan Proponents’ consent; and (c) non-severable and

mutually dependent.

       98.     Post-Confirmation Modifications. Without need for further order or authorization

of the Court, the Plan Proponents, or the Plan Administrator, on behalf of Liquidating FedNat, as

applicable, are authorized and empowered, to make any and all modifications to any and all

documents that are necessary to effectuate the Modified Combined Disclosure Statement and

Plan that do not materially modify the terms of such documents and are consistent with the

Modified Combined Disclosure Statement and Plan.             Subject to certain restrictions and

requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and

those restrictions on modifications set forth in the Modified Combined Disclosure Statement and

Plan, the Plan Proponents, and the Plan Administrator, on behalf of Liquidating FedNat,

expressly reserve their respective rights to initiate proceedings in the Court to remedy any defect




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or omission or reconcile any inconsistencies in the Modified Combined Disclosure Statement

and Plan, the Plan Supplement, or this Confirmation Order, relating to such matters as may be

necessary to carry out the purposes and intent of the Modified Combined Disclosure Statement

and Plan.

       99.      Waiver or Estoppel. Upon the Effective Date, each Holder of a Claim or Interest

shall be deemed to have waived any right to assert that its Claim or Interest should be Allowed in

a certain amount or in a certain priority, be secured, or not be subordinated by virtue of an

agreement made with the Debtors and/or their counsel, or any other Entity if such agreement was

not disclosed in the Modified Combined Disclosure Statement and Plan or Plan Supplement, or

papers filed with the Court.

       100.     Term of Injunctions or Stays.        Unless otherwise provided in the Modified

Combined Disclosure Statement and Plan or in this Confirmation Order, all injunctions or stays

arising under or entered during these Chapter 11 Cases under section 105 or 362 of the

Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full

force and effect until the later of the Effective Date and the date indicated in the order providing

for such injunction or stay.

       101.     Binding Effect. Pursuant to Article XI.D of the Modified Combined Disclosure

Statement and Plan, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or

otherwise, upon the occurrence of the Effective Date, the terms of the Modified Combined

Disclosure Statement and Plan, the Plan Supplement, and the Plan Administrator Agreement,

shall be immediately effective and enforceable and deemed binding upon the Debtors,

Liquidating FedNat, and any and all Holders of Claims or Interests (irrespective of whether

Holders of such Claims or Interests voted or are deemed to have accepted the Modified




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Combined Disclosure Statement and Plan, voted or are deemed to have rejected the Modified

Combined Disclosure Statement and Plan, or failed to vote to accept or reject the Combined

Disclosure Statement and Plan), all Entities that are parties to or are subject to the settlements,

compromises, releases, and injunctions described in the Modified Combined Disclosure

Statement and Plan, each Entity acquiring property under the Modified Combined Disclosure

Statement and Plan and any and all non-Debtor parties to Executory Contracts and Unexpired

Leases with the Debtors.

       102.     Reservation of Rights. Except as expressly set forth in the Modified Combined

Disclosure Statement and Plan, the Modified Combined Disclosure Statement and Plan shall

have no force or effect if the Effective Date does not occur. None of the Filing of the Modified

Combined Disclosure Statement and Plan, any statement or provision contained in the Modified

Combined Disclosure Statement and Plan, or the taking of any action by any Debtor with respect

to the Modified Combined Disclosure Statement and Plan or the Plan Supplement, shall be or

shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the

Holders unless and until the Effective Date has occurred.

       103.     Authorization to Consummate. The Plan Proponents and the Plan Administrator,

on behalf of Liquidating FedNat, are authorized to consummate the Modified Combined

Disclosure Statement and Plan at any time after the entry of this Confirmation Order, subject to

the satisfaction or waiver in accordance with Article XI.B and XI.C of the Modified Combined

Disclosure Statement and Plan.

       104.     Substantial Consummation.     On the Effective Date, the Modified Combined

Disclosure Statement and Plan shall be deemed to be substantially consummated under sections

1101 and 1127(b) of the Bankruptcy Code.




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       105.     Effect of Conflict. This Confirmation Order supersedes any Court order issued

prior to the Confirmation Date that may be inconsistent with this Confirmation Order. In the

event of an inconsistency between this Confirmation Order and the Modified Combined

Disclosure Statement and Plan or Plan Supplement, the Confirmation Order shall control.

       106.     Waiver of Stay. For good cause shown, the stay of this Confirmation Order

provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

enforceable immediately upon its entry by the Court.

       107.     Reversal/Stay/Modification/Vacatur of Order. Except as otherwise provided in

this Confirmation Order, if any or all of the provisions of this Confirmation Order are hereafter

reversed, modified, vacated, or stayed by subsequent order of the Court, or any other court, such

reversal, stay, modification, or vacatur shall not affect the validity or enforceability of any act or

obligation incurred or undertaken by the Debtors, Liquidating FedNat, the Plan Administrator, or

any other Person or Entity authorized or required to take action to implement the Modified

Combined Disclosure Statement and Plan, as applicable, prior to the effective date of such

reversal, stay, modification, or vacatur. Notwithstanding any such reversal, stay, modification, or

vacatur of this Confirmation Order, any such act or obligation incurred or undertaken pursuant

to, or in reliance on, this Confirmation Order prior to the effective date of such reversal, stay,

modification, or vacatur shall be governed in all respects by the provisions of this Confirmation

Order, the Modified Combined Disclosure Statement and Plan, the Plan Documents, or any

amendments or modifications to the foregoing.

       108.     Resolutions of Objection of DFS Receiver:

                a.     Nothing in this Confirmation Order or the Modified Combined Disclosure
                       Statement and Plan, including, without limitation, the settlement, release,
                       injunction, and exculpation provisions of Article XII of the Modified
                       Combined Disclosure Statement, shall: (i) affect the Tax Allocation



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       Agreement; (ii) affect, impair, release, or otherwise constitute or be
       deemed a waiver of, any cause of action, or claim, or defense that the DFS
       Receiver may hold concerning the Tax Allocation Agreement, the Tax Re-
       Allocation and Intercompany Settlements, the Tax Refund Dispute, or the
       Tax Refunds, if any; or (iii) constitute a judicial determination concerning
       the Tax Allocation Agreement, the Tax Re-Allocation and Intercompany
       Settlements, the Tax Refund Dispute, or the Tax Refunds, if any; or (iv)
       constitute res judicata, collateral estoppel, issue preclusion, claim
       preclusion, waiver, or estoppel (judicial, equitable or otherwise)
       concerning any aspect of the Tax Allocation Agreement, the Tax Re-
       Allocation and Intercompany Settlements, the Tax Refund Dispute, or the
       Tax Refunds, if any. Nor shall any calculations, figures, statements, or
       findings made in connection with this Confirmation Order, the Modified
       Combined Disclosure Statement and Plan, or any supplement or
       amendment to the Modified Combined Disclosure Statement constitute
       findings of facts or conclusions of law with respect to the rights, title and
       interest of the parties to the Tax Allocation Agreement, the Tax Re-
       Allocation and Intercompany Settlements, the Tax Refunds, if any, or the
       Tax Refund Dispute. For the avoidance of doubt, all disputes concerning
       the Tax Allocation Agreement, the Tax Re-Allocation and Intercompany
       Settlements, the Tax Refunds, if any, and the Tax Refund Dispute and all
       positions, claims or defenses of the parties to the Tax Allocation
       Agreement in all respects and for all purposes are expressly preserved.

  b.   Notwithstanding anything to the contrary in the Modified Combined
       Disclosure Statement and Plan or this Confirmation Order, neither the
       Modified Combined Disclosure Statement and Plan, nor this Confirmation
       Order (including, without limitation, Paragraph 109 below concerning the
       “Resolution of Objections of the D&Os”), nor the DFS Receiver’s casting
       of a Ballot in support of the Modified Combined Disclosure Statement and
       Plan shall operate to release, exculpate, waive, enjoin, or otherwise impair
       any Claim, defense, or Cause of Action that the DFS Receiver has, had, or
       may have against any D&O, party, person, or Entity.

  c.   Nothing in this Confirmation Order or the Modified Combined Disclosure
       Statement and Plan shall impair, limit or in any way enjoin the jurisdiction
       of the Circuit Court for the Second Judicial Circuit in and for Leon
       County, Florida in the matter of the liquidation of FNIC (Fla. 2nd Jud.
       Cir., Case No. 2022-CA-001688) (the “FNIC Liquidation”), provided,
       however, that nothing in this Confirmation Order or the Modified
       Combined Disclosure Statement and Plan shall impair, limit or in any way
       enjoin the jurisdiction of the Court in the FNIC Liquidation and all
       jurisdictional issues are preserved.

  d.   Notwithstanding anything to the contrary contained in the Modified
       Combined Disclosure Statement and Plan or this Confirmation Order, the
       Debtors shall be deemed to have assumed the Tax Allocation Agreement.


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109.     Resolution of Objections of the D&Os:

         a.     In accordance with the D&O Release Op Out Order, the Plan
                Modifications made the release, discharge, and injunction provisions in
                Article XII of the Modified Combined Disclosure Statement and Plan
                subject to the rights of the D&Os, including, without limitation, David
                Patterson, Bruce Simberg, Jenifer Kimbrough, Thomas Rogers, David
                Michelson, Roberta Young, Erick A. Fernandez, Brian S. Gardner, James
                Gordon Jennings, III, Douglas Raucy, and Michael H. Braun, who were
                deemed to have elected out of, not granted, and not been bound by such
                releases, discharges, and injunctions. Additionally, the Plan Modifications
                added the D&Os as Exculpated Parties. The Plan Modifications resolved
                the D&Os’ objections.

         b.     For the avoidance of doubt, nothing in this Confirmation Order or the
                Modified Combined Disclosure Statement and Plan shall (i) affect, impair,
                release, enjoin, or otherwise constitute or be deemed a waiver of, any
                cause of action, claim, crossclaim, counterclaim, third-party claim,
                defense, or affirmative defense, including, without limitation, set off,
                allocation of fault, Fabre, superseding intervening cause, reliance on the
                advice of professionals, contribution, or indemnification, that the D&Os
                may hold against, without limitation, the Debtors, the Senior Notes
                Indenture Trustees, the Committee, the Hale Related Parties, and, with
                respect to each of the foregoing Entities, such Entity’s managers,
                managing members, principals, partners, members, employees, agents,
                financial and other advisors, attorneys, accountants, investment bankers,
                consultants, representatives and other Representatives. However, nothing
                in this Confirmation Order or Modified Combined Disclosure Statement
                and Plan shall constitute or be construed as a finding by the Court, or an
                admission by any party, regarding the validity or ultimate amounts of any
                such cause of action, claim, crossclaim, counterclaim, third-party claim,
                defense, or affirmative defense, by the D&Os.

         c.     Nothing in this Confirmation Order or the Modified Combined Disclosure
                Statement and Plan shall (i) affect, impair, prejudice, or otherwise alter the
                terms and conditions of the D&O Liability Insurance Policies, any related
                agreements, and/or any related reservation(s) of rights provided by the
                D&O Insurance Carriers; (ii) affect, impair, prejudice, or otherwise alter
                the rights, obligations, and defenses of the D&O Insurance Carriers, the
                D&Os, or any of the Debtors under the D&O Liability Insurance Policies,
                any related agreements, and/or any related reservation(s) of rights
                provided by the D&O Insurance Carriers, D&Os, or any of the Debtors in
                connection therewith; (iii) relieve the Debtors and/or their estates of any of
                their obligations under any insurance policies, including but not limited to
                the D&O Liability Insurance Policies, and related agreements; or (iv)
                preclude or limit, in any way, the rights of any D&O Insurance Carriers
                including, without limitation, the D&O Insurance Carriers, to contest


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                        and/or litigate the existence, primacy, and/or scope of available coverage
                        under any allegedly applicable insurance policies, including, without
                        limitation, the D&O Liability Insurance Policies, or to otherwise assert
                        any defenses to coverage, and such D&O Insurance Carriers, and/or any
                        other parties to any such insurance policies, shall retain and reserve all
                        rights and defenses, if any, that they would otherwise have under and/or
                        with respect to such insurance policies.

                 d.     Nothing in this Confirmation Order and Modified Combined Disclosure
                        Statement and Plan shall constitute or be deemed to constitute a finding,
                        representation, admission, or determination as to the existence of coverage
                        or the applicability of any insurance policies, including, without limitation,
                        the D&O Liability Insurance Policies.

        110.     The rights of parties in interest to object to allocations for Accrued Professional

Fees (whether or not professionals retained pursuant to Section 327 of the Bankruptcy Code) or

to intercompany obligations owing between the various Debtors are expressly preserved to such

parties in interest.

        111.     Notwithstanding anything to the contrary in the Modified Combined Disclosure

Statement and Plan, the Plan Proponents shall not withdraw the Plan and shall promptly submit

the Confirmation Order.

        112.     Notwithstanding anything to the contrary in the Modified Combined Disclosure

Statement and Plan, the Debtors are not receiving a discharge pursuant to section 1141(d)(1) of

the Bankruptcy Code.

        113.     Final Order. This Confirmation Order is a Final Order, and the period in which

an appeal must be filed shall commence upon the entry hereof.

        114.     Retention of Jurisdiction. This Court may properly, and upon the Effective Date

shall, retain jurisdiction over the matters arising in, and under, and related to, the Chapter 11

Cases, as set forth in Article XIII of the Modified Combined Disclosure Statement and Plan.

                                                 ###




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COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION

Attorney Ramsey is directed to serve this order upon all non-registered users or registered
users who have yet to appear electronically in this case and file a conforming certificate of
service.




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                               Exhibit 1
Combined Disclosure Statement and Plan as Modified by Plan Modifications
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   FT. LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov

In re:                                                                  Case No.: 22-19451-PDR

FedNat Holding Company, et al1.                                         Chapter 11
                                                                        (Jointly Administered)
                  Debtors.
                                                      /


                FIRST AMENDED COMBINED DISCLOSURE STATEMENT
                      AND CHAPTER 11 PLAN OF LIQUIDATION OF
              FEDNAT HOLDING COMPANY AND ITS DEBTOR AFFILIATES
                    [AS MODIFIED FOR THE COMBINED HEARING]2




1
 The Debtors in these Chapter 11 Cases are FedNat Holding Company; FedNat Underwriters, Inc.; ClaimCor, LLC;
Century Risk Insurance Services, Inc.; and Insure-Link, Inc. The Debtors’ headquarters are located at 1 East Broward,
Suite 700 Fort Lauderdale, Florida 33301.
2
  This filing is intended to provide the Court and interested parties with a single integrated document containing the
modifications to the First Amended Combined Disclosure Statement and Chapter 11 Plan of Liquidation of FedNat
Holding Company and Its Debtor Affiliates announced in connection with the hearing held October 10, 2023, at 10:00
a.m. before the Bankruptcy Court on final approval of the Plan (“Combined Hearing”).
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                                                  Unsecured Creditors



                                  Dated: October 10, 2023




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                               DISCLAIMER

     THE DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
ARE PROVIDING THE INFORMATION IN THIS FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN TO HOLDERS OF CLAIMS FOR THE PURPOSE
OF SOLICITING VOTES TO ACCEPT OR REJECT THE FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN. NOTHING IN THIS FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN MAY BE RELIED UPON OR USED
BY ANY ENTITY FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO VOTE
ON THE PLAN. BEFORE DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN,
EACH HOLDER ENTITLED TO VOTE SHOULD CAREFULLY CONSIDER ALL OF THE
INFORMATION IN THIS FIRST AMENDED COMBINED DISCLOSURE STATEMENT
AND PLAN, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE VI HEREIN. NO
SOLICITATION OF VOTES TO ACCEPT THE PLAN MAY BE MADE EXCEPT PURSUANT
TO SECTION 1125 OF THE BANKRUPTCY CODE.

     THIS FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN
WAS COMPILED FROM INFORMATION OBTAINED FROM NUMEROUS SOURCES
BELIEVED TO BE ACCURATE TO THE BEST OF THE DEBTORS’ KNOWLEDGE,
INFORMATION AND BELIEF. NO GOVERNMENTAL AUTHORITY HAS PASSED ON,
CONFIRMED OR DETERMINED THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED HEREIN. NOTHING STATED HEREIN SHALL BE (I)
DEEMED OR CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY BY ANY
PARTY, (II) ADMISSIBLE IN ANY PROCEEDING INVOLVING THE DEBTORS OR ANY
OTHER PARTY, OR (III) DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER
LEGAL EFFECTS OF THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT
AND PLAN ON THE DEBTORS OR HOLDERS OF CLAIMS OR INTERESTS. CERTAIN
STATEMENTS CONTAINED HEREIN, BY NATURE, ARE FORWARD-LOOKING AND
CONTAIN ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT
SUCH STATEMENTS WILL REFLECT ACTUAL OUTCOMES. FORWARD-LOOKING
STATEMENTS MAY INCLUDE STATEMENTS ABOUT:

     FINANCIAL CONDITION, REVENUES, CASH FLOWS, AND EXPENSES;
     LEVELS OF INDEBTEDNESS, LIQUIDITY, AND COMPLIANCE WITH
      APPLICABLE COVENANTS;
     FINANCIAL STRATEGY, BUDGET, PROJECTIONS, AND OPERATING RESULTS;
     VARIATION FROM PROJECTED FINANCIAL DATA; AND
     AVAILABILITY AND TERMS OF CAPITAL

     THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE HEREOF,
UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THIS FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN SHALL NOT BE DEEMED OR
CONSTRUED TO CREATE ANY IMPLICATION THAT THE INFORMATION CONTAINED

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HEREIN IS CORRECT AT ANY TIME AFTER THE DATE HEREOF. HOLDERS OF CLAIMS
OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF THIS FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL OR TAX ADVICE. THEREFORE, EACH SUCH HOLDER SHOULD
CONSULT WITH ITS OWN LEGAL, BUSINESS, FINANCIAL AND TAX ADVISORS AS TO
ANY SUCH MATTERS CONCERNING THE FIRST AMENDED COMBINED DISCLOSURE
STATEMENT AND PLAN AND THE TRANSACTIONS CONTEMPLATED HEREBY.

      NO LEGAL OR TAX ADVICE IS PROVIDED TO YOU BY THIS FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN. THE DEBTORS AND THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS URGE EACH HOLDER OF A
CLAIM TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL,
FINANCIAL, SECURITIES, TAX OR BUSINESS ADVICE IN REVIEWING THIS FIRST
AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN AND EACH OF THE
PROPOSED TRANSACTIONS CONTEMPLATED THEREBY. FURTHER, THE
BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF DISCLOSURES
CONTAINED IN THIS FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND
PLAN DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF THE
MERITS OF THE PLAN OR A GUARANTEE BY THE BANKRUPTCY COURT OF THE
ACCURACY OR COMPLETENESS OF THE INFORMATION CONTAINED HEREIN.

      NELSON MULLINS RILEY & SCARBOROUGH LLP IS GENERAL COUNSEL TO
THE DEBTORS AND PACHULSKI STANG ZIEHL & JONES LLP AND BAST AMRON LLP
ARE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS.
COUNSEL HAVE RELIED UPON INFORMATION PROVIDED BY THE DEBTORS AND
THEIR OTHER PROFESSIONALS IN CONNECTION WITH PREPARATION OF THIS FIRST
AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN AND HAVE NOT
INDEPENDENTLY VERIFIED THE INFORMATION CONTAINED HEREIN.

      NO PARTY IS AUTHORIZED TO GIVE ANY INFORMATION WITH RESPECT TO
THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN OTHER
THAN THAT WHICH IS CONTAINED IN THIS FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN. NO REPRESENTATIONS CONCERNING THE
DEBTORS OR THE VALUE OF THEIR PROPERTY HAVE BEEN AUTHORIZED BY THE
DEBTORS OTHER THAN AS SET FORTH IN THIS FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN. ANY INFORMATION, REPRESENTATIONS OR
INDUCEMENTS MADE TO OBTAIN AN ACCEPTANCE OF THE FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN OTHER THAN, OR INCONSISTENT
WITH, THE INFORMATION CONTAINED HEREIN SHOULD NOT BE RELIED UPON BY
ANY HOLDER OF A CLAIM OR INTEREST. THIS FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(b) AND
NOT IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER
NON-APPLICABLE BANKRUPTCY LAWS.




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     THIS FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN HAS
NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED STATES SECURITIES AND
EXCHANGE COMMISSION, NOR HAS THE SEC PASSED UPON THE ACCURACY OR
ADEQUACY OF THE STATEMENTS CONTAINED HEREIN.

     SEE ARTICLE VI OF THIS FIRST AMENDED COMBINED DISCLOSURE
STATEMENT AND PLAN, ENTITLED “CERTAIN RISK FACTORS TO BE CONSIDERED
PRIOR TO VOTING,” FOR A DISCUSSION OF CERTAIN CONSIDERATIONS IN
CONNECTION WITH A DECISION BY A HOLDER OF AN IMPAIRED CLAIM TO
ACCEPT THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN.

     IF THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN
ARE CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS AGAINST, AND HOLDERS OF INTERESTS IN
(INCLUDING THOSE HOLDERS OF CLAIMS WHO DO NOT SUBMIT BALLOTS TO
ACCEPT OR REJECT THE PLAN, WHO VOTE TO REJECT THE PLAN, OR WHO ARE
NOT ENTITLED TO VOTE ON THE PLAN), THE DEBTORS WILL BE BOUND BY THE
TERMS OF THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN
AND THE TRANSACTIONS CONTEMPLATED THEREBY.

     THE CONFIRMATION AND EFFECTIVENESS OF THE FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN ARE SUBJECT TO CERTAIN
MATERIAL CONDITIONS PRECEDENT DESCRIBED HEREIN AND SET FORTH IN
ARTICLE XI OF THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND
PLAN. THERE IS NO ASSURANCE THAT THE FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN WILL BE CONFIRMED, OR IF CONFIRMED,
THAT THE CONDITIONS REQUIRED TO BE SATISFIED FOR THE FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN TO BECOME EFFECTIVE WILL BE
SATISFIED (OR WAIVED).

     THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN
IS PROPOSED BY THE DEBTORS AND THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS. THE DEBTORS AND THE COMMITTEE BELIEVE
THAT ACCEPTANCE OF THE PLAN INCORPORATED HEREIN IS IN THE BEST
INTERESTS OF THE DEBTORS’ ESTATES, THEIR CREDITORS, AND ALL OTHER
PARTIES IN INTEREST. ACCORDINGLY, THE DEBTORS AND THE COMMITTEE
RECOMMEND THAT YOU VOTE IN FAVOR OF THE FIRST AMENDED COMBINED
DISCLOSURE STATEMENT AND PLAN. A LETTER FROM THE DEBTORS AND
THE COMMITTEE RECOMMENDING THAT HOLDERS OF ALLOWED CLAIMS
VOTE IN FAVOR OF THE FIRST AMENDED COMBINED DISCLOSURE
STATEMENT AND PLAN IS ATTACHED HERETO AS EXHIBIT A AND IS
INCLUDED IN THE SOLICITATION PACKAGE.

     ALL EXHIBITS TO THIS FIRST AMENDED COMBINED DISCLOSURE
STATEMENT AND PLAN ARE INCORPORATED INTO AND ARE A PART OF THIS
DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.


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                                       INTRODUCTION

       The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)
together with the official committee of unsecured creditors (the “Committee,” and together with
the Debtors, the “Plan Proponents”), hereby jointly propose this First Amended Combined
Disclosure Statement and Plan (“First Amended Combined Disclosure Statement and Plan”)
pursuant to sections 1125 and 1129 of the Bankruptcy Code.

        The plan proposed by the Plan Proponents (the “Plan”) constitutes a liquidating chapter
11 plan for the Debtors that contemplates the establishment of various liquidating Debtor entities
by and through which the Plan Administrator will marshal the remaining assets of the Debtors’
estates, review the Claims, and make Distributions from the remaining assets of the estates to
Holders of Allowed Claims and Allowed Interests, as set forth herein and consistent with the
priority of claim provisions of the Bankruptcy Code. Upon the conclusion of Distributions under
the Plan, the Plan Administrator shall wind down the Debtors’ Estates, seek approval to close the
Chapter 11 Cases, and dissolve the Debtors under applicable law.

        Subject to the restrictions on modifications set forth in section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in Article XIV.B
of this First Amended Combined Disclosure Statement and Plan, the Debtors expressly reserve
the right to alter, amend, or modify the Plan, one or more times, before its substantial
consummation.

       Solicitation is being conducted at this time to obtain sufficient acceptances to enable the
Plan to be confirmed by the Bankruptcy Court. This First Amended Combined Disclosure
Statement and Plan sets forth, among other things, how Claims against, and Interests in, the
Debtors will be treated and the process for winding down the Debtors’ Estates. YOU SHOULD
READ THIS FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN
AND ALL OF THE RELATED EXHIBITS AND SCHEDULES IN THEIR ENTIRETY.

        This First Amended Combined Disclosure Statement and Plan is part of the solicitation
package (“Solicitation Package”) distributed to all Entities and persons that are entitled to vote
on the Plan and contains the following:

      a copy of the Combined Hearing Notice;

      a copy of this First Amended Combined Disclosure Statement and Plan, together with the
       exhibits thereto;

      a copy of the Solicitation Procedures Order entered by the Bankruptcy Court that
       conditionally approved this First Amended Combined Disclosure Statement and Plan,
       established the voting procedures, scheduled hearing, and set the Voting Deadline and the
       deadline for objecting to confirmation of the Plan;

      a form of Ballot with instructions on how to complete the Ballot; and


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      a letter prepared by the Plan Proponents recommending that Holders of Allowed Claims
       vote in favor of the proposed Plan.

        The Debtors may, but are not required to, distribute this Combined Disclosure Statement
and Plan and the Solicitation Procedures Order to Holders of Claims entitled to vote on the Plan
in electronic format (i.e., on a USB drive).

   A. Purpose, Limitations, and Structure of This First Amended Combined Disclosure
      Statement and Plan

       The purpose of this First Amended Combined Disclosure Statement and Plan is to provide
the Holders of Claims against the Debtors who are entitled to vote on the Plan with adequate
information to make an informed decision as to whether to accept or reject the Plan. The
information in this First Amended Combined Disclosure Statement and Plan may not be relied
upon for any other purpose, and nothing contained in this First Amended Combined Disclosure
Statement and Plan will constitute an admission of any fact or liability, or as a stipulation or
waiver by any party, or be deemed conclusive advice on the tax or other legal effects of the Plan.

        This First Amended Combined Disclosure Statement and Plan contains, among other
things, (i) a discussion of the Debtors’ history and businesses, (ii) a summary of the events leading
to these Chapter 11 Cases, (iii) the Chapter 11 Cases, (iv) risk factors, (v) a summary and analysis
of this First Amended Combined Disclosure Statement and Plan, and (vi) certain other related
matters.

      ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS ARE ENCOURAGED TO
READ THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN IN
ITS ENTIRETY, AND TO CONSULT WITH AN ATTORNEY, BEFORE VOTING TO
ACCEPT OR REJECT THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT
AND PLAN. SUBJECT TO CERTAIN RESTRICTIONS AND REQUIREMENTS SET FORTH
IN SECTION 1127 OF THE BANKRUPTCY CODE, BANKRUPTCY RULE 3019, AND IN
THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN, THE PLAN
PROPONENTS RESERVE THE RIGHT TO ALTER, AMEND, MODIFY, REVOKE OR
WITHDRAW THE FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND
PLAN, OR ANY PART THEREOF, PRIOR TO ITS SUBSTANTIAL CONSUMMATION.

       On September 1, 2023, after notice and a hearing, the Bankruptcy Court issued an order
conditionally approving this First Amended Combined Disclosure Statement and Plan as
containing adequate information of a kind and in sufficient detail to enable a hypothetical,
reasonable investor typical in each Class of Claims being solicited to make an informed judgment
whether to accept or reject the Plan. CONDITIONAL APPROVAL OF THIS FIRST AMENDED
COMBINED DISCLOSURE STATEMENT AND PLAN BY THE BANKRUPTCY COURT
DOES NOT CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT AS TO
THE FAIRNESS OR MERITS OF THE PLAN.




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       If you are eligible to vote, this First Amended Combined Disclosure Statement and Plan
and all of its schedules and exhibits should have been delivered to you. There are certain
documents and other materials identified in this First Amended Combined Disclosure Statement
and Plan that are not attached to this First Amended Combined Disclosure Statement and Plan.
Such documents and materials will be filed with the Plan Supplement. Once it is filed, the Plan
Supplement may be accessed on the docket electronically maintained by the Clerk of the
Bankruptcy Court or inspected in the office of the Clerk of the Bankruptcy Court during normal
court hours. You also may obtain a copy of the Plan Supplement once it is filed, or any of the
schedules and exhibits to this First Amended Combined Disclosure Statement and Plan, free of
charge, by accessing the Debtors’ case website, at https://cases.stretto.com/FedNat or by
contacting Stretto at the phone numbers and email below.

       If you have any questions about the packet of materials you have received, you may
contact Stretto by (i) calling 888-708-0592 (Toll-Free) or 949-861-5292 (International) or (ii)
sending e-mail correspondence to teamfednat@stretto.com.

    B. Summary of Classification and Estimated Recoveries of Claims and Interests Under the
       Plan

    The following table summarizes the classification and estimated recoveries to Holders of
Allowed Claims and Interests under the Plan3. All numbers illustrated herein represent estimates
by the Debtors and the Committee, with assistance from their respective financial and legal
advisors, as of August 25, 2023. The Debtors and the Committee reserve all rights to review,
revise, and update the estimated recoveries upon obtaining any new information relevant to the
outcomes of the estimated recoveries.




3
  These amounts represent amounts actually asserted by creditors in Proofs of Claim or otherwise. The Debtors have
not completed their analysis of Claims in the Chapter 11 Cases and objections to such Claims have not been fully
litigated. Therefore, there can be no assurances of the exact amount of the Allowed Claims at this time. At present,
the Debtors dispute claims totaling in excess of $228 million, broken down by Debtor as follows:

                                                                           Presently
                                                                          Undisputed
                                                    Filed Claims            Claims      Disputed Claims
    Century Risk Insurance Services, Inc.              2,872,346.25        2,811,750.00        60,596.25
    ClaimCor, LLC                                   173,430,675.09         2,024,362.00  171,406,313.09
    FedNat Underwriters, Inc.                          8,452,128.80        5,081,817.00     3,370,311.80
    FedNat Holding Company                          183,131,591.87       129,728,192.56    53,403,399.31
    Insure-Link, Inc.                                      4,845.06            4,845.06              -
    Total                                           367,891,587.07       139,650,966.62  228,240,620.45




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Summary of Classification and Treatment of Classified Claims and Interests of FNHC

Class Claim                               Status        Voting Rights           Estimated Claims Pool Projected Recovery4
1      FNHC Secured Claims                Unimpaired No (deemed to accept) $ -0-                          100%
2      FNHC Priority Claims               Unimpaired No (deemed to accept) $ -0-                          100%
3      Senior Notes Claims                Impaired   Yes                   $127,550,016                   8.09% - 15.58%5
4      FNHC General Unsecured             Impaired   Yes                   $ 2,178,177                    8.09% - 15.58%6
       Claims
5      FNHC Preferred Stock Interests     Impaired      No (deemed to reject) N/A                         0%
6      FNHC Common Stock Interests        Impaired      No (deemed to reject) N/A                         0%

Summary of Classification and Treatment of Classified Claims and Interests of FNU

Class Claim                              Status        Voting Rights           Estimated Claims Pool Projected Recovery

1      FNU Secured Claims           Unimpaired No (deemed to accept) $-0-                               100%
2      FNU Priority Claims          Unimpaired No (deemed to accept) $3,449                             100%
3      FNU General Unsecured Claims Impaired   Yes                   $5,081,817                         100%
4      FNU Stock Interests          Impaired   Yes                   N/A                                0%

Summary of Classification and Treatment of Classified Claims and Interests of ClaimCor

Class Claim                                   Status      Voting Rights            Estimated Claims Pool Projected Recovery7

1     ClaimCor Secured Claims           Unimpaired No (deemed to accept) $-0-                               100%
2     ClaimCor Priority Claims          Unimpaired No (deemed to accept) $6,778                             100%
3     ClaimCor General Unsecured Claims Impaired Yes                     $2,024,362                         100%8
4     ClaimCor Stock Interests          Impaired Yes                     N/A                                N/A




4
 The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
FNHC may be affected.
5
  In the event of such a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan
Proponents estimate that the projected recovery for Holders of Allowed Senior Notes Claims will be between 1.59%
- 6.19 %.


6
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed FNHC General Unsecured Claims will be between 1.59%
- 6.19 %.
7
 The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
ClaimCor may be affected.
8
 In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed ClaimCor General Unsecured Claims will be
approximately 95.58%.


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Summary of Classification and Treatment of Classified Claims and Interests of CRIS

                                                                               Estimated Claims            Projected Recovery9
Class Claim                               Status         Voting Rights
                                                                               Pool
1     CRIS Secured Claims                 Unimpaired     No (deemed to accept) $-0-                        100%
2     CRIS Priority Claims                Unimpaired     No (deemed to accept) $-0-                        100%
3     CRIS General Unsecured Claims       Impaired       Yes                   $2,811,750                  100%10
4     CRIS Stock Interests                Impaired       Yes                   N/A                         N/A


Summary of Classification and Treatment of Classified Claims and Interests of Insure-Link
                                                                            Estimated Claims Projected Recovery11
Class Claim                                     Status         Voting Rights
                                                                            Pool
1     Insure-Link Secured Claims           Unimpaired No (deemed to accept) $-0-             100%
2     Insure-Link Priority Claims          Unimpaired No (deemed to accept) $-0-             100%
3     Insure-Link General Unsecured Claims Impaired   Yes                   $4,845           74.29%12
4     Insure-Link Stock Interests          Impaired   Yes                   N/A              N/A

    Although every reasonable effort was made to be accurate, the projections of recoveries are
only estimates. The final amounts of Claims Allowed by the Bankruptcy Court may vary
materially from the estimates in this First Amended Combined Disclosure Statement and Plan. As
a result of the foregoing and other uncertainties inherent in the estimates, the estimated recoveries
in this First Amended Combined Disclosure Statement and Plan may vary materially from the
actual recoveries realized. In addition, the ability to receive Distributions under the Plan depends
upon, among other things, the ability of the Debtors to obtain confirmation of the Plan and meet
the conditions to confirmation and effectiveness of the Plan.




9
 The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
CRIS may be affected.
10
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed CRIS General Unsecured Claims will be approximately
52%.
11
  The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
Insure-Link may be affected.
12
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed Insure-Link General Unsecured Claims will be
approximately 100%.

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                                             ARTICLE I

                  DEFINED TERMS AND RULES OF INTERPRETATION

         For purposes of the First Amended Combined Disclosure Statement and Plan, except as
expressly provided or unless the context otherwise requires, (i) any capitalized term used in this First
Amended Combined Disclosure Statement and Plan that is not defined herein, but is defined in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term in the
Bankruptcy Code or the Bankruptcy Rules, as applicable, (ii) whenever the context requires, each
term stated in either the singular or the plural shall include the singular and the plural, and pronouns
stated in the masculine, feminine or neuter gender shall include the masculine, feminine and the
neuter, (iii) any reference in the First Amended Combined Disclosure Statement and Plan to a
contract, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that such document shall be substantially in such form
or substantially on such terms and conditions, (iv) any reference in the First Amended Combined
Disclosure Statement and Plan to an existing document or exhibit means such document or exhibit
as it may be amended, modified, or supplemented from time to time, (v) unless otherwise specified,
all references in the First Amended Combined Disclosure Statement and Plan to sections, articles,
schedules, and exhibits are references to sections, articles, schedules, and exhibits of or to the First
Amended Combined Disclosure Statement and Plan, (vi) the words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the First Amended Combined Disclosure
Statement and Plan in its entirety rather than to any particular paragraph, subparagraph, or clause
contained in the First Amended Combined Disclosure Statement and Plan, (vii) captions and
headings to articles and sections are inserted for convenience of reference only and shall not limit
or otherwise affect the provisions hereof or the interpretation of the First Amended Combined
Disclosure Statement and Plan, and (viii) the rules of construction set forth in section 102 of the
Bankruptcy Code and in the Bankruptcy Rules shall apply.

       As used in the First Amended Combined Disclosure Statement and Plan, the following
terms have the following meanings:

A.     Defined Terms

       1.      “2029 Senior Notes” means FNHC’s senior notes due 2029.

        2.    “2029 Senior Notes Indenture” means the indenture, dated as of March 5, 2019,
First Supplemental Indenture, dated as of March 5, 2019, and Second Supplemental Indenture,
dated as of April 19, 2021, each by and between FNHC and the 2029 Senior Notes Indenture
Trustee.

       3.      “2029 Senior Notes Indenture Trustee” means The Bank of New York Mellon, as
indenture trustee with respect to the 2029 Senior Notes.

       4.      “Accrued Professional Compensation” means, at any given moment, all fees and
expenses claimed by Professionals pursuant to Sections 328, 330, 331, or 503 of the Bankruptcy
Code, as of the Effective Date.



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       5.      “Accrued Professional Reserve” means a reserve fund established by the Plan
Administrator on or as soon as practicable after the Effective Date, to pay any accrued and unpaid
(a) Accrued Professional Compensation Claims; (b) Accrued Professional Compensation Claims
incurred by a Professional and which has not yet been approved by the Bankruptcy Court. The
amounts deposited in the Accrued Professional Reserve shall be free and clear of all liens, claims
and encumbrances of any Persons or Entities except to the extent that any excess amounts remain
in the Accrued Professional Reserve after payment of all Allowed Accrued Professional
Compensation, such excess amounts shall be distributed in accordance with the Plan.

        6.      “Administrative Claim Bar Date” means such deadline or deadlines as are
established by the Bankruptcy Court by which requests for payment of Administrative Claims in
the Chapter 11 Cases must be filed with the Bankruptcy Court. For Administrative Claims
(excluding Accrued Professional Compensation), the Administrative Claims Bar Date shall be the
date that is 45 days after the Effective Date.

         7.     “Administrative Claims” means Claims that have been timely filed before the
applicable Administrative Claim Bar Date (except as otherwise provided by a separate order of the
Bankruptcy Court), for costs and expenses of administration under sections 503(b), 507(a)(2),
507(b) or 1114(e)(2) of the Bankruptcy Code, including, without limitation: (a) the actual and
necessary costs and expenses incurred after the Petition Date of preserving the Estates and
operating the businesses of the Debtors (such as wages, salaries or commissions for services and
payments for goods and other services and leased premises); (b) Accrued Professional
Compensation; (c) the value of any goods received by any of the Debtors within 20 days before
the Petition Date in which the goods were sold to the Debtors in the ordinary course of business;
(d) all obligations designated as Allowed Administrative Claims pursuant to an order of the
Bankruptcy Court; and (e) all fees and charges assessed against the Estates under chapter 123 of
title 28 United States Code, 28 U.S.C. §§ 1911-1930.

       8.      “Affiliate” has the meaning set forth at section 101(2) of the Bankruptcy Code.

        9.       “Allowed” means, with respect to any Claim or Interest, except as otherwise
provided herein: (a) a Claim or Interest that has been scheduled by one of the Debtors in its
schedules of liabilities as other than disputed, contingent or unliquidated, unless a Proof of Claim
has been timely filed, and as to which the Debtors, the Plan Administrator or other parties-in-
interest have not Filed an objection by the Claims Objection Deadline; (b) a Claim or Interest that
has been allowed by a Final Order; (c) a Claim or Interest that is allowed: (i) in any stipulation of
the amount and nature of a Claim or Interest executed prior to the Effective Date and approved by
the Bankruptcy Court; or (ii) in any stipulation with the Plan Administrator, of the amount and
nature of a Claim or Interest executed on or after the Effective Date; (d) a Claim or Interest that is
Allowed pursuant to the terms hereof; (e) a Claim as to which a Proof of Claim has been timely
Filed and as to which no objection has been Filed by the Claims Objection Deadline; or (f) a Claim
or Interest that has been scheduled by one of the Debtors in its schedules of liabilities as other than
disputed, contingent or unliquidated, unless a Proof of Claim has been timely filed, and as to which
the Plan Administrator determines should be allowed in the amount filed or scheduled, as the case
may be.




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      10.    “Allowed HGMA Claims” means the Allowed Claims of HG Managing Agency,
LLC as follows:

       Claim Number        Debtor              Allowed Amount
       181                 FNU                            $609,771
       182                 FNU                            $500,000


       11.   “Allowed Monarch Claims” means the Allowed Claims of Monarch National
Insurance Company as follows:

         Claim Number            Debtor         Allowed Amount
              183                CRIS                    $2,705,754
              184               FNHC                      $232,766
              185              ClaimCor                   $232,766
              211                FNU                  $1,626,540.21

        12.    “Avoidance Actions” means any and all avoidance, recovery, subordination or
other actions or remedies that may be brought on behalf of the Debtors, Liquidating FedNat or its
Estate under the Bankruptcy Code or applicable non-bankruptcy law, including, without limitation,
actions or remedies under sections 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552 and 553
of the Bankruptcy Code.

       13.      “Ballot” means the applicable voting form distributed to such Holder on which the
Holder is to indicate, among other things, acceptance or rejection of this Plan in accordance with
the instructions contained therein and make any other elections or representations required
pursuant to this First Amended Combined Disclosure Statement and Plan.

       14.     “Bank of New York” means The Bank of New York Mellon.

       15.   “Bankruptcy Code” means title 11 of the United States Code, sections 101-1532
(as may be amended) and applicable portions of titles 18 and 28 of the United States Code.

        16.     “Bankruptcy Court” means the United States District Court for the Southern
District of Florida, having jurisdiction over the Chapter 11 Cases and, to the extent of any reference
made pursuant to section 157 of title 28 of the United States Code and/or the General Order of the
District Court pursuant to section 151 of title 28 of the United States Code, the United States
Bankruptcy Court for the Southern District of Florida.

        17.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure,
promulgated under 28 U.S.C. section 2075, the Local Rules of the United States Bankruptcy Court
for the Southern District of Florida, the Local Rules of the United States District Court for the
Southern District of Florida, and general orders and chambers procedures of the Bankruptcy Court,
each as applicable to the Chapter 11 Cases and as amended from time to time.




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       18.      “Bar Date” means, collectively, the Administrative Claims Bar Date, the General
Bar Date, the Governmental Unit Bar Date, the Rejection Bar Date, and any other applicable
deadline to filed Claims referenced in the Plan.

       19.     “Bar Date Order” means the means the order of the Bankruptcy Court establishing
the deadline by which proofs of Claim must be Filed, entered at [ECF No. 62].

        20.     “Benefit Plan” means the FNHC 401(k) Profit Sharing Plan, the FNHC 2018
Omnibus Incentive Compensation Plan, and any other (i) oral or written employment or consulting
agreement to or under which one or more of the Debtors is a party or has or may have any actual
or contingent liability or obligation, and (ii) employee benefit plan, program or arrangement
currently sponsored, maintained or contributed to by one or more of the Debtors, or with respect
to which one or more of the Debtors has or may have any actual or contingent liability or obligation
(including any such obligations under any terminated plan or arrangement), including but not
limited to employee pension benefit plans, as defined in Section 3(2) of the Employee Retirement
Income Security Act of 1974, as amended (“ERISA”), multi-employer plans, as defined in Section
3(37) of ERISA, employee welfare benefit plans, as defined in Section 3(1) of ERISA, deferred
compensation plans, stock option or other equity compensation plans, stock purchase plans,
phantom stock plans, bonus plans, fringe benefit plans, life, health, dental, vision, hospitalization,
disability and other insurance plans, employee assistance programs, severance or termination pay
plans and policies, and sick pay and vacation plans or arrangements, whether or not described in
Section 3(3) of ERISA.

        21.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday”
(as that term is defined in Bankruptcy Rule 9006(a)).

        22.      “Cash” means legal tender of the United States of America or the equivalent
thereof, and with respect to the Disputed Claims Reserve, including bank deposits, checks and
readily marketable securities or instruments issued by an Entity, including, without limitation,
readily marketable direct obligations of, or obligations guaranteed by, the United States of
America, commercial paper of domestic corporations carrying a Moody’s rating of “A” or better,
or equivalent rating of any other nationally-recognized rating service, or interest-bearing
certificates of deposit or other similar obligations of domestic banks or other financial institutions
having a shareholders’ equity or capital of not less than one hundred million dollars
($100,000,000) having maturities of not more than one (1) year, at the then best generally available
rates of interest for like amounts and like periods.

        23.      “Causes of Action” means all claims, actions, causes of action, choses in action,
suits, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments,
remedies, rights of set off, third-party claims, subrogation claims, contribution claims,
reimbursement claims, indemnity claims, counterclaims and crossclaims (including, without
limitation, all claims and any avoidance, recovery, subordination or other actions against insiders
and/or any other Entities under the Bankruptcy Code, including Avoidance Actions) of any kind
or character whatsoever, whether known or unknown and whether arising before, on, or after the
Petition Date.



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       24.      “Chapter 11 Cases” means the chapter 11 cases commenced when each of the
Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code on the Petition
Date, which are jointly administered under case number 22-19451 in the Bankruptcy Court.

        25.    “Chief Financial Officer” means Richard B. Gaudet, in his capacity as chief
financial officer of each of the Debtors during the Chapter 11 Cases, pursuant to the Order
Authorizing the Engagement of GGG Partners, LLC [ECF No. 59], dated December 20, 2022.

        26.    “Chief Restructuring Officer” means Katie S. Goodman, in her capacity as chief
restructuring officer of each of the Debtors during the Chapter 11 Cases, pursuant to the Order
Authorizing the Engagement of GGG Partners, LLC [ECF No. 59], dated December 20, 2022.

      27.    “Claim” means a “claim” (as that term is defined in section 101(5) of the
Bankruptcy Code) against one or more of the Debtors.

       28.    “Claims Objection Deadline” means the deadline for objecting to Claims against
the Debtors, which shall be six (6) months after the Effective Date; provided, however, that the
Plan Administrator may seek additional extensions of this date from the Bankruptcy Court for
cause shown.

       29.     “Class” means a category of Holders of Claims or Interests as set forth in Article
V of the First Amended Combined Disclosure Statement and Plan pursuant to section 1122(a) of
the Bankruptcy Code.

       30.     “Committee” means the official committee of unsecured creditors of FedNat
Holding Company, et al., appointed by the U.S. Trustee on January 9, 2023, pursuant to section
1102 of the Bankruptcy Code [ECF No. 92], and any additional members that be subsequently be
appointed by the U.S. Trustee.

       31.    “Confirmation Date” means the date on which the Confirmation Order is entered
by the Bankruptcy Court.

       32.   “Confirmation Order” means the order of the Bankruptcy Court confirming the
First Amended Combined Disclosure Statement and Plan pursuant to section 1129 of the
Bankruptcy Code.

       33.    “Convertible Senior Notes Indenture” means the Indenture, dated as of April 19,
2021, by and between FNHC and the Convertible Senior Notes Indenture Trustee.

      34.      “Convertible Senior Notes Indenture Trustee” means The Bank of New York
Mellon, as indenture trustee with respect to the Convertible Senior Notes.

       35.     “Convertible Senior Notes” means FNHC’s convertible senior notes due 2026.

       36.     “ClaimCor” means ClaimCor, LLC, a Florida limited liability company.

      37.      “ClaimCor General Unsecured Claim” means a General Unsecured Claim against
ClaimCor.


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        38.     “ClaimCor Priority Claims” means a Priority Claim against ClaimCor.

       39.      “ClaimCor Secured Claim” means a claim against Debtor ClaimCor that is
Secured.

      40.    “ClaimCor Stock Interests” means the issued and outstanding common stock of
ClaimCor, 100% of which is held by FNHC.

        41.     “CRIS” means Century Risk Insurance Services, Inc., a Florida corporation.

      42.    “CRIS Stock Interests” means the issued and outstanding common stock of CRIS,
100% of which is held by FNHC.

        43.     “CRIS General Unsecured Claim” means a General Unsecured Claim against
CRIS.

        44.     “CRIS Priority Claims” means a Priority Claim against CRIS.

        45.     “CRIS Secured Claim” means a Claim against Debtor CRIS that is Secured.

        46.    “D&O” means any current or former officer, director, member or manager of any
of the Debtors, solely in his or her capacity as such.

        47.     “D&O Insurance Carriers” means all carriers of insurance that provided coverage
for directors’ and officers’ liability pursuant to any D&O Liability Insurance Policy.

        48.      “D&O Liability Insurance Policies” means all insurance policies for directors’ and
officers’ liability maintained by the Debtors issued prior to the Effective Date, including any such
“tail” policies, in each case with any amendments, supplements or modifications including,
without limitation, the policies described in a schedule to be filed with the Plan Supplement.

        49.     “D&O Release Opt Out Order” means the Order Regarding Plan Releases, Discharges,
Injunctions, and Exculpations as to Non-Voting Present and Former Directors and Officers of Debtors
ECF 739 entered by the Bankruptcy Court on October 3, 2023.

       50.     “Debtors” or “Debtors in Possession” means FNHC, FNU, ClaimCor, CRIS, and
Insure-Link prior to the Effective Date.

       51.   “Debtor Released Claims” shall have the meaning set forth in Article XII.B of the
First Amended Combined Disclosure Statement and Plan.

     52.   “Debtor Releases” shall have the meaning set forth in Article XII.B of the First
Amended Combined Disclosure Statement and Plan.

       53.     “DFS Receiver” means the Florida Department of Financial Services, in its
capacity as receiver for FNIC, and includes FNIC and FNIC’s receivership estate.

        54.     “Disputed Claim” means any Claim that is not yet an Allowed Claim.


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       55.     “Disputed Claims Reserve” means the reserve funds created pursuant to Article
VIII.B.1 of the First Amended Combined Disclosure Statement and Plan.

       56.  “Distributions” means the distributions of Cash to be made in accordance with the
First Amended Combined Disclosure Statement and Plan and/or the Plan Administrator
Agreement.

       57.    “Distribution Record Date” means the record date for determining the entitlement
of Holders of Claims to receive Distributions under the First Amended Combined Disclosure
Statement and Plan on account of Allowed Claims. The Distribution Record Date shall be two
Business Days after the Confirmation Date.

        58.     “District Court” means the United States District Court for the Southern District
of Florida.

         59.     “Effective Date” means the date selected by the Debtors and the Committee that is
the first Business Day after the Confirmation Date on which: (a) no stay of the Confirmation Order
is in effect; and (b) all conditions specified in Article XI.A have been satisfied or waived.

      60.    “Entity” means an “entity” as that term is defined in section 101(15) of the
Bankruptcy Code.

        61.    “Estate” means the estate of each of the Debtors created on the Petition Date by
section 541 of the Bankruptcy Code.

        62.    “Exculpated Parties” means, collectively, the Debtors, the Chief Restructuring
Officer, the Chief Financial Officer, the D&Os, GGG, the Committee and the individual members
thereof, the Senior Notes Indenture Trustees, and the Professionals (each of the foregoing in its
individual capacity as such).

        63.    “Executory Contract” means any executory contract to which any of the Debtors
are a party that is subject to assumption, assumption and assignment, or rejection under section
365 of the Bankruptcy Code.

       64.     “File” or “Filed” means, with respect to any pleading, entered on the docket of the
Chapter 11 Cases and properly served in accordance with the Bankruptcy Rules or with respect to
a Claim, a Claim for which a Proof of Claim has been properly and timely filed in accordance with
the Bar Date Order.

        65.     “Final Order” means an order or judgment of the Bankruptcy Court, or other court
of competent jurisdiction with respect to the subject matter: (i) which has not been reversed, stayed,
modified or amended; (ii) as to which the time to appeal, petition for certiorari or move for
reargument or rehearing has expired and no appeal or petition for certiorari has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment was appealed or from
which certiorari was sought or has otherwise been dismissed with prejudice; and (iii) as to which
no appeal or petition for reconsideration, review, rehearing or certiorari is pending.


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        66.    “First Amended Combined Disclosure Statement and Plan” or “Plan” means this
combined disclosure statement and chapter 11 plan of liquidation including, without limitation,
the Plan Supplement, all exhibits, supplements, appendices and schedules hereto, either in their
present form or as the same may be altered, amended or modified from time to time in accordance
with the terms hereof.

        67.     “FNIC” means FedNat Insurance Company, a Florida corporation.

        68.     “FNHC” means FedNat Holding Company, a Florida corporation.

        69.    “FNHC Class Common Stock Interest” means a FNHC Stock Interest represented
by the 50,000,000 authorized shares of FNHC’s Common Stock, $0.01 par value per share,
including, without limitation, one of the 17,695,200 shares of Common Stock, $0.01 par value per
share, of FNHC issued and outstanding as of the Petition Date, or any interest or right to convert
into such a FNHC Stock Interest or acquire any FNHC Stock Interest that was in existence
immediately before or on the Petition Date.

        70.     “FNHC General Unsecured Claim” means a General Unsecured Claim against
FNHC.

        71.     “FNHC Priority Claims” means a Priority Claim against FNHC.

        72.     “FNHC Preferred Stock Interest” means a FNHC Stock Interest represented by the
1,000,000 authorized shares of FNHC’s Preferred Stock, $0.01 par value per share, of FNHC
issued and outstanding as of the Petition Date, or any interest or right to convert into such a FNHC
Stock Interest or acquire any FNHC Stock Interest that was in existence immediately before or on
the Petition Date.

        73.     “FNHC Secured Claim” means a Claim against Debtor FNHC that is Secured.

        74.     “FNHC Stock Interest” means the interest of any holder of one or more of the
equity securities of FNHC (including, without limitation, the FNHC Common Stock Interests, the
FNHC Preferred Stock Interests and voting rights, if any, related to such equity securities) that
existed immediately prior to the Petition Date, represented by issued and outstanding shares of
common or preferred stock or other instruments evidencing a present ownership interest in FNHC,
whether or not transferable, or any option, warrant, or right, contractual or otherwise, to acquire
any such interest, including, without limitation, unvested restricted stock.

        75.     “FNU” means FedNat Underwriters, Inc., a Florida corporation.

        76.     “FNU General Unsecured Claim” means a General Unsecured Claim against
FNU.

        77.     “FNU Priority Claims” means a Priority Claim against FNU.

        78.     “FNU Sale” shall have the meaning set forth in Article II.B.8.

        79.     “FNU Secured Claim” means a Claim against Debtor FNU that is Secured.


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      80.    “FNU Stock Interests” means the issued and outstanding common stock of FNU,
100% of which is held by FNHC.

         81.     “General Bar Date” means February 21, 2023, as established in the Bar Date
Order.

       82.   “General Unsecured Claim” means a Claim against a Debtor, other than a Secured
Claim, an Administrative Claim, a Priority Tax Claim, a Priority Claim, Interests, but including
Intercompany Claims.

         83.     “GGG” means GGG Partners, LLC.

      84.    “Governmental Unit” shall have the meaning set forth in section 101(27) of the
Bankruptcy Code.

       85.     “Governmental Bar Date” means June 9, 2023, which is the deadline for
Governmental Units to file proofs of claim on account of pre-petition Claims against any of the
Debtors, as established in the Bar Date Order.

       86.    "Hale Related Parties” means Monarch, HP Managing Agency, LLC, EVOLV
Claim Solutions, LLC, HG Managing Agency, LLC, HP Holding Company, LLC, Hale
Partnership Capital Management, LLC, Hale Partnership Capital Advisors, LLC, Hale Partnership
Fund, L.P., MGEN II – Hale Fund, L.P., Clark-Hale Fund L.P., Smith-Hale Fund, L.P., Dickinson
– Hale Fund, L.P., and Steven A. Hale.

        87.     “Holder” means any Entity holding a Claim against or an Interest in one or more
of the Debtors.

       88.    “Impaired” means, with respect to a Claim, Interest, or Class of Claims or Interests,
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

        89.    “Insurance Causes of Action” means, collectively, any Cause of Action which may
be asserted against any D&O or against any D&O Insurance Carriers, including without limitation,
all Causes of Action which are or may be covered by any D&O Liability Insurance Policies.

     90.   “Insurance Injunction” shall have the meaning set forth in Article XII.F of the First
Amended Combined Disclosure Statement and Plan..

         91.     “Insure-Link” means Insure-Link, Inc., a Florida corporation.

        92.    “Insure-Link General Unsecured Claim” means a General Unsecured Claim
against Insure-Link.

         93.     “Insure-Link Priority Claims” means a Priority Claim against Insure-Link.

     94.   “Insure-Link Sale” shall have the meaning set forth in Article II.B.6 of the First
Amended Combined Disclosure Statement and Plan.



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       95.      “Insure-Link Secured Claim” means a Claim against Debtor Insure-Link that is
Secured.

       96.     “Insure-Link Stock Interests” means the issued and outstanding common stock of
Insure-Link, 100% of which is held by CRIS.

        97.    “Intercompany Claim” means any Claim asserted by a Debtor against one or more
of the other Debtors.

       98.     “Interests” means, collectively, FNHC Stock Interests, FNU Stock Interests, CRIS
Stock Interests, and Insure-Link Stock Interests.

       99.     “Initial Distribution Date” means the date on which the Plan Administrator shall
make an initial Distribution, which shall be a date selected by the Plan Administrator as soon as
reasonably practicable after the Effective Date.

       100.     “Lien” shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

       101.     “Liquidating ClaimCor” means ClaimCor on or after the Effective Date.

       102.     “Liquidating CRIS” means CRIS on or after the Effective Date.

       103. “Liquidating FedNat” means Liquidating FNHC, Liquidating ClaimCor,
Liquidating CRIS, Liquidating FNU, and Liquidating Insure-Link, collectively. For the avoidance
of doubt, the term “Liquidating FedNat” shall not include FNIC, FNIC’s receivership estate, or
the DFS Receiver.

       104.     “Liquidating FNHC” means FNHC on or after the Effective Date.

       105.     “Liquidating FNU” means FNU on or after the Effective Date.

       106.     “Liquidating Insure-Link” means Insure-Link on or after the Effective Date.

       107.     “Monarch” means Monarch National Insurance Company.

        108. “Monarch Litigation” means the adversary proceeding styled Monarch National
Insurance Company, et al. v. FedNat Underwriters, Inc., Adversary No. 23-01053 (Bankr. S.D.
Fla.), and any and all counterclaims held by the Debtors that may be asserted therein.

       109. “Net Free Cash” means, the amount of Liquidating FedNat’s Cash after full
payment or satisfaction of, or appropriate reserve for: Allowed, Secured, Administrative, Priority
Tax and Priority Claims; the costs of administering and implementing the First Amended
Combined Disclosure Statement and Plan; and ordinary business expenses of the Plan
Administrator and the Wind Down, provided, however, that Net Free Cash shall be determined,
maintained and distributed on a Debtor-by-Debtor basis.

     110. “Petition Date” means December 11, 2022, the date on which the Debtors
commenced the Chapter 11 Cases.


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        111. “Plan Administrator” means the Entity or individual appointed by the Committee
and identified in the Plan Supplement, which shall be reasonably acceptable to the Debtors. To the
extent the initial Plan Administrator either resigns, or is otherwise no longer able serve in such
capacity, counsel for the Plan Administrator may file a motion with the Bankruptcy Court to
appoint a successor Plan Administrator.

        112. “Plan Administrator Agreement” means the agreement governing, among other
things, the duties of the Plan Administrator, as described in Article VII.D hereof and attached
hereto as Exhibit B.

       113.     “Plan Proponents” shall mean the Debtors and the Committee.

        114. “Plan Proponents Solicitation Letter” means that certain letter from the Plan
Proponents urging Holders of Allowed Claims to vote in favor of the First Amended Combined
Disclosure Statement and Plan. A copy of the Plan Proponents Solicitation Letter is attached to
this First Amended Combined Disclosure Statement and Plan as Exhibit A.

         115. “Plan Supplement” shall mean the compilation of documents and forms of
documents, agreements, schedules, and exhibits to this First Amended Combined Disclosure
Statement and Plan, which shall be in form and substance acceptable to the Plan Proponents, and
which shall include, among other things: (i) a list of Executory Contracts and Unexpired Leases,
if any, to be assumed; (ii) the schedule of the D&O Liability Insurance Policies; (iii) the Schedule
of Retained Causes of Action; and (iv) the identity and proposed compensation of the Plan
Administrator.

       116. “Priority Claims” means all Claims entitled to priority under sections 507(a)(3)
through (a)(7) of the Bankruptcy Code.

        117. “Priority Tax Claims” means Claims of Governmental Units of the kind specified
in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        118. “Pro Rata” means the ratio of the amount of an Allowed General Unsecured Claim
to the aggregate amount of all General Unsecured Claims that have not yet been disallowed as to
each of the Debtors individually.

        119. “Professional” means any person or Entity employed in the Chapter 11 Cases
pursuant to a Final Order in accordance with sections 327, 328 or 1103 of the Bankruptcy Code,
and to be compensated for services rendered prior to and including the Effective Date pursuant to
sections 327, 328, 329, 330 or 331 of the Bankruptcy Code.

       120.     “Proof of Claim” means a proof of Claim Filed against the Debtors in the Chapter
11 Cases.

        121. “Quarterly Distribution Date” means the first Business Day after the end of each
quarterly calendar period (i.e., March 31, June 30, September 30 and December 31 of each calendar
year) unless such other date is determined by the Debtors or the Plan Administrator in their
discretion.


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        122. “Rejection Bar Date” means the deadline to file a proof of claim for damages
relating to the rejection of an Executory Contract or Unexpired Lease, which is: (a) in respect of
an Executory Contract or Unexpired Lease previously rejected by a motion of the Debtors, the date
established in the Final Order authorizing such rejection; and (b) in respect of an Executory
Contract or Unexpired Lease rejected pursuant to the First Amended Combined Disclosure
Statement and Plan, thirty (30) days after the Effective Date.

        123. “Release Opt-Out” means the election, to be made solely through validly-submitted
Ballots, to opt-out of the release provisions.

        124. “Released Party” means, collectively, and in each case in its capacity as such,
(a) the Debtors, (b) the Senior Notes Indenture Trustees, (c) the Committee, (d) the Hale Related
Parties; and (e) with respect to each of the foregoing Entities in clauses (a) through (d), such
Entity’s managers, managing members, principals, partners, members, employees, agents,
financial and other advisors, attorneys, accountants, investment bankers, consultants,
representatives and other Representatives. For the avoidance of doubt, “Released Party” shall not
include (i) any D&O; (ii) any person or Entity that is subject to, party to, or related to any Insurance
Cause of Action; or (iii) any person or Entity that is subject to the Tax Refund Dispute in each
case regardless of whether any person or Entity subject to clauses (i) through (iii) would otherwise
fall within the definition of “Released Party; provided for the avoidance of doubt, none of the Hale
Related Parties nor their Representatives are included within or subject to any of (i) – (iii) above.

        125. “Releasing Parties” means, collectively, and in each case in its capacity as such:
(a) the Debtors, (b) the Senior Notes Indenture Trustees, (c) the Committee, (d) each Holder of a
Claim that accepts or is deemed to accept the First Amended Combined Disclosure Statement and
Plan, (e) each other Holder of a Claim that is entitled to vote on the First Amended Combined
Disclosure Statement and Plan that does not both (1) vote to reject the First Amended Combined
Disclosure Statement and Plan or abstain from voting to accept or reject the First Amended
Combined Disclosure Statement and Plan and (2) elect the Release Opt-Out on its Ballot, and (f)
with respect to each of the foregoing Entities in clauses (a) through (e), such Entity’s current or
former subsidiaries and Affiliates, and its and their managed accounts or funds, managers,
managing members, principals, partners, members, employees, agents, financial advisors,
attorneys, accountants, investment bankers, consultants, representatives and other Representatives
and predecessors and successor in interest of any such party. For the avoidance of doubt, the DFS
Receiver is not a Releasing Party irrespective of whether they are the Holder of a Claim or Interest.
For the further avoidance of doubt, the D&Os are not a Releasing Party irrespective of whether
they are the Holder of a Claim or Interest.

       126. “Representatives” means, with regard to the Debtors, an Entity or the Committee,
any and all members, employees, advisors, attorneys, accountants and agents, and their respective
professional firms.

        127. “Retained Causes of Action” means, collectively, all Causes of Action which may
be asserted by or on behalf of the Debtors or the Estates, a nonexclusive list of which is set forth
in the Plan Supplement, against any Person or Entity, including without limitation any third parties,
investors, individuals, or insiders that any of the Debtors or the Estates owns or has an interest in
or can assert in any fashion, whether prepetition or post-petition, including, without limitation,

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litigation claims, whether such causes of action arise from contract, tort theories of liability,
insurance claims (including Insurance Causes of Action), statutory claims or other claims,
objections to Claims, adversary proceedings, and Avoidance Actions against any Person or Entity,
including without limitation those identified on the Statement of Financial Affairs of any Debtor
as a recipient of a payment made or property transferred by or on behalf of such Debtor prior to
the Petition Date, in each case, that have not been expressly released, exculpated, waived, settled
or barred pursuant to Section XII of this Plan.

       128.     “Sales” mean, collectively, the FNU Sale and the Insure-Link Sale.

       129. “Schedules” mean the schedules of assets and liabilities, schedules of executory
contracts and statements of financial affairs, as may be amended from time to time, filed by the
Debtors pursuant to section 521 of the Bankruptcy Code.

        130. “Schedule of Retained Causes of Action” means the schedule of Causes of Action
to be retained by the Estates and vested in the appropriate entity comprising Liquidating FedNat,
which shall be included in the Plan Supplement.

       131.     “SEC” means the United States Securities and Exchange Commission.

        132. “Secured” means when referring to a Claim: (a) secured by a Lien on property in
which the Estate of the particular Debtor against which such Claim exists, has an interest, which
Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a Bankruptcy
Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in such Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of
the Bankruptcy Code; or (b) otherwise Allowed pursuant to the First Amended Combined
Disclosure Statement and Plan as a Secured Claim.

       133. “Senior Notes” means, collectively, the 2029 Senior Notes and the Convertible
Senior Notes.

       134.     “Senior Notes Claims” means Claims held on account of the Senior Notes.

       135. “Senior Indentures” means, collectively, the Convertible Senior Notes Indenture
and the 2029 Senior Notes Indenture.

       136. “Senior Notes Indenture Trustees” means, collectively, the Convertible Senior
Notes Indenture Trustee and the 2029 Senior Notes Indenture Trustee.

        137. “Senior Notes Indenture Trustee Charging Liens” means any Lien or encumbrance
or other priority in payment to which the Senior Notes Indenture Trustee is entitled under the terms
of the Senior Indentures.

       138. “Senior Notes Indenture Trustees Fees” means, with respect to each Senior Notes
Indenture Trustee, the fees and expenses (including reasonable fees and expenses of counsel) due
and payable to such Senior Notes Indenture Trustee in accordance with the applicable Senior
Indenture.

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        139. “Settlement Agreement” means that certain Settlement and Mutual Release
Agreement among the Debtors, the Committee, and the Hale Related Parties dated July 27, 2023
and approved by the Bankruptcy Court pursuant to the Order Granting Expedited Joint Motion of
the Debtors and the Official Committee of Unsecured Creditors to Approve Compromise Among:
(I) the Debtors; (II) the Official Committee of Unsecured Creditors; and (III) the Hale Related
Parties entered on August 11, 2023 ECF No. 537

        140. “Solicitation Procedures Order” shall mean this Court’s Order approving the Joint
Motion of the Plan Proponents (i) Approving on an Interim Basis the Adequacy of Disclosures in
the First Amended Combined Disclosure Statement and Plan, (ii) Scheduling the Confirmation
Hearing and Deadline for Filing Objections, (iii) Establishing Procedures for Solicitation and
Tabulation of Votes to Accept or Reject the First Amended Combined Disclosure Statement and
Plan, and Approving the Form Of Ballot And Solicitation Package, and (iv) Approving the Notice
Provisions entered on September 1, 2023 [ECF No. 9=4] and amended on September 8, 2023 [ECF
No. 630].

        141. “Tax Allocation Agreement” shall mean the Income Tax Allocation Agreement
originally dated February 4, 2013, as modified thereafter, including Addendum Number 2 dated
January 1, 2020.

        142. “Tax Re-Allocation and Intercompany Settlements” shall have the meaning set
forth in Article VI.J.

        143. “Tax Refund(s)” shall mean any tax refunds that any of the Debtors or Liquidating
FedNat have sought or may seek, including without limitation: (i) that certain tax refund for tax
year 2018 in the approximate amount of $12.7 million due from the IRS; and (ii) any tax refund in
respect of an employee retention tax credit.

        144. “Tax Refund Dispute” shall mean any dispute, contest or challenge between the
Debtors or Liquidating FedNat and the DFS Receiver regarding the person or Entity that is entitled
to any of the Tax Refunds.

       145.     “Third Party Released Claims” shall have the meaning set forth in Article XII.C.

        146. “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of section1124 of the Bankruptcy Code.

      145. “Unexpired Leases” means a lease to which a Debtor is a party that is subject to
assumption, assumption and assignment, or rejection under section 365 of the Bankruptcy Code.

         146. “U.S. Trustee” means the United States Trustee appointed under section 591 of
title 28 of the United States Code to serve in the Southern District of Florida.

       147.     “Voting Agent” means Stretto, Inc.

        148. “Voting Deadline” shall mean October 2, 2023 at 4:00 pm (prevailing eastern
time), the date and time by which Ballots to accept or reject the First Amended Combined


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Disclosure Statement and Plan must be received by the Voting Agent in order to be counted, as set
forth by the Solicitation Procedures Order.

        149. “Voting Record Date” means the date fixed by the Bankruptcy Court as of which
the identity of Holders of Claims is set for purposes of determining the Entities entitled to receive
Ballots and vote on the Plan.

       150. “Wind Down” means the wind down and dissolution of Liquidating FedNat
following the Effective Date as set forth in Article VII.E hereof.

B.     Rules of Interpretation

        1.      For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neutral gender shall include the masculine, feminine and the neutral gender;
(b) any reference herein to a contract, instrument, release, indenture or other agreement or
document being in a particular form or on particular terms and conditions means that the referenced
document shall be substantially in that form or substantially on those terms and conditions; (c) any
reference herein to an existing document or exhibit having been filed or to be filed shall mean that
document or exhibit, as it may thereafter be amended, modified or supplemented; (d) unless
otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(e) the words “herein,” “hereof’ and “hereto” refer to the First Amended Combined Disclosure
Statement and Plan in its entirety rather than to a particular portion of the First Amended Combined
Disclosure Statement and Plan; (f) captions and headings to Articles are inserted for convenience
of reference only and are not intended to be a part of or to affect the interpretation hereof; (g) the
rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (h) any term used
in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; and (i) any reference to an authorization given or action
taken by the Plan Administrator, on behalf of Liquidating FedNat also means an authorization
given or action taken by the Plan Administrator,.

       2.      The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of
time prescribed or Allowed hereby.

      3.        All references herein to monetary figures shall refer to currency of the United States
of America.

C.     Exhibits

        The Plan Supplement shall include, among other things: (i) a list of Executory Contracts
and Unexpired Leases, if any, to be assumed; (ii) the schedule of the D&O Liability Insurance
Policies; (iii) the Schedule of Retained Causes of Action; and (iv) the identity and proposed
compensation of the Plan Administrator. The initial Plan Supplement shall be filed with the Clerk
of the Bankruptcy Court on the earlier of seven (7) days prior to (i) the Voting Deadline or (ii) the
deadline to object to confirmation of the First Amended Combined Disclosure Statement and Plan,
or such later date as may be approved by the Bankruptcy Court, as may be amended or
supplemented by additional documents Filed in the Chapter 11 Case prior to the Effective Date as

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amendments to the Plan Supplement. Such exhibits may be inspected in the office of the Clerk of
the Bankruptcy Court during normal hours of operation of the Bankruptcy Court and shall also be
posted by the Debtors’ notice and solicitation agent, Stretto, Inc., at
https://cases.stretto.com/FedNat. Holders of Claims or Interests may also obtain a copy of such
exhibits, once filed, by calling Stretto, Inc. at 888-708-0592 (Toll-Free), by e-mail to
teamfednat@stretto.com or by a written request sent to the following addresses:



Stretto, Inc.
Attn: FedNat
410 Exchange, Ste 100
Irvine, CA 92602


                                                  ARTICLE II

                                                BACKGROUND

A.         General Background13

                 1.         The Debtors’ History and Organizational Structure and History

        FNHC is a regional insurance holding company that controls substantially all aspects of
the insurance underwriting, distribution and claims processes through subsidiaries and contractual
relationships with independent agents and general agents. FNHC, through its wholly owned
subsidiaries, are authorized to underwrite, and/or place homeowners multi-peril (“homeowners”),
federal flood and other lines of insurance in Florida and other states.

       Prior to the Petition Date, FNHC owned three insurance subsidiaries which included:
FNIC, Maison Insurance Company (“MIC”)14, and Monarch . Monarch is a Florida Property
Insurance company licensed to write homeowners property and casualty insurance in Florida. As
of the Petition Date, Monarch was owned 70% by a group of investors managed by Hale
Partnership Capital Management LLC and 30% by FNHC (as discussed below in conjunction with
the “Monarch Transaction”).

        On September 21, 2022, the Florida Office of Insurance Regulation (“OIR”) notified the
Florida Department of Financial Services of OIR’s determination that one or more grounds existed
for the initiation of receivership proceedings against FNIC. In response to OIR’s notification, on
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   Further information regarding the Debtors’ business, assets, capital structure, and the circumstances leading to the
filing of these Chapter 11 Cases is set forth in detail in the Declaration of Katie S. Goodman, Chief Restructuring
Officer of FedNat Holding Company, In Support of Debtors’ Chapter 11 Petitions and First Day Motions (the “First
Day Declaration”) [ECF No.14], which is incorporated by reference herein. Copies of the First Day Declaration and
all other filings in the Chapter 11 Cases can be obtained (and viewed) free of charge on the Debtors’ case website at:
https://cases.stretto.com/FedNat.
14
     MIC merged into FNIC on August 11, 2022, with FNIC being the surviving Entity.


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September 23, 2022, the DFS Receiver petitioned the Circuit Court of the Second Judicial Circuit
in and for Leon County, Florida (the “State Court”), for an order appointing the DFS Receiver as
receiver for FNIC, in the action styled State of Florida ex rel., Dep’t of Fin. Servs. v. FedNat
Insurance Company, Case No. 2022-CA-001688 (the “Receivership Proceedings”). On September
27, 2022, the State Court in the Receivership Proceedings entered a Consent Order Appointing the
Florida Department of Financial Services as Receiver of FedNat Insurance Company for Purposes
of Liquidation, Injunction, and Notice of Automatic Stay (the “Receivership Order”).

        Through FNHC’s wholly-owned subsidiary, FNU, FNHC served as managing general
agent for Monarch (and prior to entry of the Receivership Order, FNIC). ClaimCor, a wholly-
owned subsidiary, is a claims solutions company that, prior to entry of the Receivership Order,
processed claims for FNIC15. CRIS is a wholly-owned subsidiary that provides services and
reinsurance brokerage. In turn, CRIS wholly owns Insure-Link, an insurance agency. The Debtors’
organizational structure (after the Monarch Transaction, discussed below) is as follows:




               2.          Events Leading to Bankruptcy Filings

       As an industry, the Florida property insurance industry lost over $1.6 billion in 2020 and
over $1.5 billion in 2021, driven by catastrophe losses, higher catastrophe reinsurance costs, and
an adverse claims environment stemming in large part from litigation abuse and other forms of




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   ClaimCor, along with MIC, were purchased by FNHC on December 2, 2019, from 1347 Property Insurance
Holdings, Inc. (“PIH”). Specifically, FNHC purchased from PIH all of the outstanding equity of MIC and ClaimCor
(collectively, the “Maison Companies”). The Maison Companies provide multi-peril and wind/hail only coverage to
personal residential dwellings and manufactured/mobile homes in Louisiana, Texas and Florida. The acquisition
enabled FNHC to increase geographic diversification of its book of business outside of Florida and generate additional
business with operating synergies and general and administrative expense savings. On August 11, 2022, MIC merged
into FNIC, with FNIC being the surviving Entity.


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social inflation of claim costs16. Indeed, in 2022 alone, five other Florida insurance companies
have been put into receivership by the OIR.

        The Debtors’ financial results for 2021 reflect the impact of an elevated number of severe
weather events, including seven named storms that made landfall in the United States. During this
period, the Debtors were impacted by notable weather events impacting Florida, Texas, Louisiana,
and South Carolina, particularly losses associated with Winter Storm Uri, which caused heavy
residential damage in Texas, primarily associated with freezing temperatures causing widespread
instances of burst water pipes. The total impact of 2021 catastrophe losses on the Debtors was
over $800 million on a gross basis, which was reduced to $86 million, pre-tax, net of amounts
ceded to the Debtors’ reinsurance partners and other recoveries including related claims handling
revenues. Over 80% of these net catastrophe losses stemmed from the Debtors’ non-Florida books
of business, despite those books representing less than 40% of the Debtors’ gross written
premiums.

    Further, during the first quarter of 2022, the Debtors reported a net loss of $31.3 million, with
the Debtors’ losses and loss adjustment expenses increasing 22.4%. These net losses were
primarily driven by larger net catastrophe losses and lower gross premiums earned.

     In April 2022, the Demotech17 rating of FNIC was downgraded from an “A” rating to an “S”
rating, which adversely impacted FNHC’s ability to obtain excess-of-loss reinsurance for coverage
beginning July 1, 2022 and placed FNIC in non-compliance with the OIR.

      In order to recapitalize, on May 23, 2022, FNHC entered into an agreement with Hale
Partnership Capital Management, LLC (“HPCM”), whereby, among other things, HPCM and its
affiliates invested $15 million into Monarch, which caused HPCM to become the majority owner
of Monarch (the “Monarch Transaction”). FNHC also invested $10 million into Monarch for the
remainder of Monarch’s common stock and retains two seats on Monarch’s board of directors.

     Pursuant to the Monarch Transaction, Monarch assumed approximately 83,000 policies
insuring Florida insureds from FNIC effective June 1, 2022. FNIC’s remaining Florida policies
16
  An example is the frivolous lawsuits plaguing assignment of benefits (“AOB”) property insurance litigation and the
one-way attorney’s fees involving these suits. Under an AOB, a policyholder assigns his or her right to file a claim
under a homeowners’ policy to a third-party contractor, who begins work to repair property damage as quickly as
possible. The contractor then files a claim against the insurer, who has never had an opportunity to assess the loss or
determine if any unnecessary repairs were performed or whether repair costs were inflated. If the insurer denied the
contractor’s claim, Florida’s one-way attorney’s fee statute (which allowed courts to order the insurer to pay attorney’s
fees if the plaintiff prevailed, but would not allow the insurer to collect attorney’s fees in successfully defending
against such lawsuits) incentivized aggressive plaintiff’s lawyers to file lawsuits against insurers without the risk of
having to pay the insurer’s legal fees if they did not prevail.

Florida, which accounts for just 9% of property insurance claims, generates 79% of the nation’s homeowner lawsuits.
This entire scheme has been described as “a blizzard of ‘frivolous’ lawsuits by shady contractors who wield the threat
of attorney fee multipliers after homeowners sign over their benefits.” See https://www.floridabar.org/the-florida-bar-
news/governor-signs-property-insurance-reforms-and-condo-safety-measures/
17
   Demotech, Inc. is an American insurance rating agency headquartered in Columbus, Ohio, that focuses on
independent, regional and specialty companies in the Property and Casualty insurance industry.


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were canceled effective June 29, 2022, with unearned premiums being remitted to policyholders.
Further, FNHC cancelled the remaining policies of MIC effective June 29, 2022. Policy servicing
and claims administration with respect to policies transferred to Monarch continued to be
performed by FNU. Finally, all FNIC business written in states other than Florida (i.e., Alabama,
Mississippi, South Carolina, and Texas) was transferred to and assumed by a SageSure Insurance
Managers, LLC (“SageSure”)18 carrier partner, and with all Louisiana policies being canceled by
FNIC effective July 1, 2022, with policyholders receiving an offer of replacement coverage from
a SageSure carrier partner effective upon cancellation of the FNIC policy.

    Thus, through the Monarch Transaction, FNHC materially exited non-Florida markets19. In
doing so, the Debtors reduced their exposure to catastrophe losses and earnings volatility and re-
focused on Florida operations, where the Debtors’ approved rates have increased substantially,
and where recent legislative actions have begun to improve the claims litigation environment.

    On September 8, 2022, FNHC and HPCM entered into a Stock Purchase Agreement (the
“Stock Purchase Agreement”) and closed the sale of 30,000 shares of the common stock of
Monarch held by FNHC to HPCM and its affiliates for $2.5 million. As a result of this transaction,
HPCM and its affiliates increased their ownership of Monarch’s outstanding common stock to
70% and FNHC reduced its ownership of Monarch’s common stock to 30%.

     As discussed above, on September 27, 2022, the State Court in the Receivership Proceedings
entered the Receivership Order. Following entry of the Receivership Order, the DFS Receiver took
over control of FNIC.

     As mandated by the Receivership Order, FNIC’s insurance policies were canceled on October
27, 2022 and were rewritten on other insurance companies. The DFS Receiver will service the
“run-off” of the FNIC policies in-house and through contracts with other third-party
administrators. These services were previously rendered by FNHC.

     Thus, after the entry of the Receivership Order, FNHC’s primary business consisted of its
servicing functions for Monarch under the MGA Agreement. As a result, FNHC experienced a
significant loss of revenue, an impairment of its cash flow, and an immediate deterioration in its
enterprise value.



18
  FNHC is a party to a managing general underwriting agreement with SageSure to facilitate its FNIC homeowners
business outside of Florida. As a percentage of the total homeowners premiums, 11.7% and 24.5% of FNHC’s
premiums were underwritten by SageSure, for the three months ended March 31, 2022 and 2021, respectively. As
part of FNHC’s partnership with SageSure, previously FNHC entered into a profit share agreement, whereby FNHC
shared 50% of net profits of this line of business through June 30, 2020, as calculated per the terms of the agreement,
subject to certain limitations, which included limits on the net losses that SageSure could realize.
19
  FNHC is a party to an insurance agency master agreement with Ivantage Select Agency, Inc. (“ISA”), an affiliate
of Allstate Insurance Company (“Allstate”), pursuant to which FNHC has been authorized by ISA to appoint Allstate
agents to offer FNIC homeowners insurance products to consumers in Florida. As a percentage of the total
homeowners premiums FNHC underwrote, 17.4% and 19.6% were from Allstate’s network of Florida agents, for the
three months ended March 31, 2022 and 2021, respectively.


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    Moreover, in addition to the problems emanating from FNIC’s demise, FNHC was in default
under the terms of the Senior Notes Indentures.

     Finally, on September 23, 2022, Monarch emailed20 FNHC and FNU a Notice of Default and
Violation; Demand for Payment; Reservations of Rights letter (the “Monarch Default Notice”). In
the Monarch Default Notice, Monarch alleged that FNHC and FNU: (i) were in breach of various
provisions of the MGA Agreement; and (ii) that FNIC, FNU and FNHC owe approximately $4.1
million to Monarch for various items allegedly required to be paid to Monarch under various
provisions of the MGA Agreement. The Debtors disputed the Monarch Default Notice and further
contended that Monarch is indebted to them in the approximate amount of $2.6 million after
amounts between the companies were setoff.

     Subsequently, however, on October 31, 2022, FNHC and FNU received from Monarch a
notice of termination as to the MGA Agreement effective January 1, 2022.

B.      The Chapter 11 Cases

        Under chapter 11 of the Bankruptcy Code, a debtor is authorized to liquidate its assets for
the benefit of its creditors and estates. In addition to permitting the liquidation of a debtor, another
goal of chapter 11 is to promote the equality of treatment of similarly situated creditors and equity
interest holders with respect to the distribution of a debtor’s assets. In furtherance of these two
goals, section 362 of the Bankruptcy Code generally provides for, upon the filing of a petition for
relief under chapter 11, an automatic stay of substantially all acts and proceedings against a debtor
and its property, including all attempts to collect claims or enforce liens that arose prior to the
commencement of the debtor’s chapter 11 case.

       The commencement of a case under chapter 11 creates an estate comprising all of the
debtor’s legal and equitable interests as of the petition date. The Bankruptcy Code provides that
the debtor may continue to operate its business and remain in possession of its property as a
“debtor-in-possession.”

        The consummation of a plan is the principal objective of a chapter 11 case. A chapter 11
plan sets forth the means for satisfying claims against and interests in the debtor. Confirmation of
a plan by the bankruptcy court makes the plan binding, subject to the occurrence of an effective
date, upon the debtor, any issuer of securities under the plan, any person acquiring property under
the plan, and any creditor or equity interest holder of a debtor.

       The following is a brief description of certain material events that have occurred during
these Chapter 11 Cases.




20
  The Debtors contend that pursuant to the MGA Agreement, the Monarch Default Notice did not provide proper
notice to the Debtors, and is thus an ineffective notice. However, on October 13, 2022, counsel for Monarch confirmed
that the Monarch Default Notice was not an actual notice of termination under Article 8 of the MGA Agreement and
that Monarch did not intend that the MGA Agreement would be terminated within 30 days of the Monarch Default
Notice.

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             1.        The Debtors’ Bankruptcy Filings and First Day Motions

         On the Petition Date, each of the Debtors filed a voluntary chapter 11 bankruptcy petition.
Substantially contemporaneously with the filing the petitions, the Debtors filed a number of “first
day” motions, including (i) a motion for an order authorizing the continued use of the Debtors’ cash
management system, including authorizing the Debtors to maintain existing bank accounts and
business forms; (ii) a motion for an order authorizing the Debtors to pay all pre-petition employee
obligations; (iii) a motion for an order authorizing the Debtors to maintain their existing insurance
coverage; (iv) a motion for an order authorizing the Debtors to establish procedures for the
restriction of transfers of interest in the Debtors estates (collectively, the “First Day Motions”). On
December 16 and 20, 2022, the Court granted each of the First Day Motions on an interim basis,
and each of the First Day Motions was subsequently approved on a final basis on January 27, 2023.

             2.        Retention of Professionals

        On January 27, 2023, the Bankruptcy Court entered an order authorizing the Debtors to
retain and compensate Nelson Mullins Riley & Scarborough LLP, as bankruptcy counsel [ECF
No. 137]. On May 19, 2023, the Bankruptcy Court entered an order authorizing the Debtors to
retain and compensate Aprio, LLP for providing tax services to the Debtors in the Chapter 11
Cases [ECF No. 351].

             3.        Appointment of the Committee

       On January 9, 2023, the Office of the U.S. Trustee appointed the Committee consisting of
five members: (i) TierPoint, LLC; (ii) Lead Adjusting, LLC; (iii) Links Insurance Services; (iv)
The Bank of New York Mellon; and (v) Sawgrass Commerce Center. The Committee selected
Pachulski Stang Ziehl & Jones LLP and Bast Amron LLP as its legal counsel. To assist the
Committee in carrying out its duties, the Committee retained AlixPartners, LLP as its financial
advisor, which retentions were all approved by the Bankruptcy Court on March 1, 2023 [ECF
Nos. 205, 207, and 209]. On July 17, 2023, the Bankruptcy Court approved the employment of
MFSolomon Tax Consulting LLC as special tax counsel for the Committee effective as of May
1, 2023 [ECF No. 450].

             4.        Section 341(a) Meeting of Creditors

        On January 12, 2023, the U.S. Trustee presided over the section 341(a) meeting of creditors
in the Chapter 11 Cases.

             5.        Schedules and Statements

        On January 5, 2023, as amended on January 13, 2023 the Debtors filed their Schedules in
compliance with section 521 of the Bankruptcy Code and Bankruptcy Rule 1007. The Schedules
set forth, among other things, the Debtors’ assets and liabilities and executory contracts and
unexpired leases.




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             6.       Debtors’ Motion to Sell Substantially All of Debtor Insure-Link’s Assets
                      under Section 363 of the Bankruptcy Code

        On December 27, 2022, the Debtors filed their Motion Pursuant to 11 U.S.C. Sections
105, 363, 365, 503 and 507 and Bankruptcy Rules 2002, 6004 and 6006 for (i) Entry of an Order
(a) Establishing Bid and Auction Procedures Related to the Sale of Substantially all of Debtor
Insure-Link, Inc.'s Assets; (b) Approving Related Bid Protections; (c) Scheduling an Auction and
Sale Hearing; (d) Establishing Certain Notice Procedures for Determining Cure Amounts for
Executory Contracts and Unexpired Leases to be Assumed and Assigned; and (e) Granting
Related Relief; and (ii) Entry of an Order (a) Approving the Sale of Substantially all of Debtor
Insure-Link, Inc.'s Assets Free and Clear of all Liens, Claims, Encumbrances and Interests; and
(b) Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases Filed by Debtor FedNat Holding Company [ECF No. 79] (the “Insure-Link Sale Motion”).

       On January 27, 2023, the Bankruptcy Court entered an order approving certain bidding
procedures in connection with the Insure-Link Sale Motion [ECF No. 143].

       On February 23, 2023, the Bankruptcy Court entered an order approving Insure-Link Sale
Motion [ECF No. 191], pursuant to which the assets were sold to NSI Insurance Group, LLC for
a purchase price of $1,890,000 (the “Insure-Link Sale”).

               7.      Debtors’ Motion to Sell Excess Computer and Office Equipment

     On January 27, 2023, the Debtors filed their Motion to Authorize the Sale of Excess
Computer and Office Equipment [ECF No. 141] (the “Excess Equipment Sale Motion”).

       On March 1, 2023, the Bankruptcy Court entered an order approving the Excess Equipment
Sale Motion [ECF No. 211], and the Debtors’ excess computer and office equipment have been
sold pursuant to the Excess Equipment Sale Motion.

               8.      Debtors’ Motion to Sell Certain Assets of Debtor FNU under Section 363
                       of the Bankruptcy Code

        On February 27, 2023, the Debtors filed their Emergency Motion Pursuant to 11 U.S.C.
Sections 105, 363, 365, 503 and 507 and Bankruptcy Rules 2002, 6004 and 6006 for (i) Entry of
an Order (a) Establishing Bid and Auction Procedures Related to the Sale of Certain of Debtor
FedNat Underwriters, Inc.'s Assets; (b) Approving Related Bid Protections; (c) Scheduling an
Auction and Sale Hearing; (d) Establishing Certain Notice Procedures for Determining Cure
Amounts for Executory Contracts and Unexpired Leases to be Assumed and Assigned; and (e)
Granting Related Relief; and (ii) Entry of an Order (a) Approving the Sale of Certain of Debtor
FedNat Underwriters, Inc.'s Assets Free and Clear of all Liens, Claims, Encumbrances and
Interests; and (b) Authorizing the Assumption and Assignment of Certain Executory Contracts
and Unexpired Leases Filed by Debtor FedNat Holding Company [ECF No. 197] (the “FNU Sale
Motion”).

       On March 10, 2023, the Bankruptcy Court entered an order approving certain bidding
procedures in connection with the FNU Sale Motion [ECF No. 227].


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       On March 30, 2023, the Bankruptcy Court entered an order approving FNU Sale Motion
[ECF No. 285], pursuant to which the assets were sold to NSI Insurance Group, LLC for a
purchase price of $2,000,000 (the “FNU Sale”).

               9.      Rejection of Executory Contracts and Unexpired Leases

       To date, the Debtors have filed one motion seeking rejection of an executory contract [ECF
No. 48] which was granted by the Bankruptcy Court [ECF No. 131] and one omnibus motion
seeking rejection of unexpired leases [ECF No. 65] which was granted by the Bankruptcy Court
[ECF No. 136].

                10.    TierPoint Rejection Motion

        On February 7, 2023, TierPoint, LLC (“TierPoint”) filed a Motion to (A) Assume or Reject
Debtor’s Executory Contract with TierPoint Pursuant to 11 U.S.C. § 365, or in the Alternative, (B)
Grant TierPoint Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)(1) [ECF No. 163]
(the “TierPoint Rejection Motion”). In the Rejection Motion, TierPoint seeks to either compel the
Debtors to reject the Master Services Agreement dated July 10, 2018 between TierPoint and FNU
(“MSA”) or relief from the automatic stay to terminate the MSA.

      The Debtors and TierPoint consensually resolved the TierPoint Rejection Motion, by entry
of an agreed order on May 15, 2023 [ECF No. 350] which provided for rejection of the MSA as
of June 30, 2023.

               11.     Monarch Adversary Proceeding

      On March 15, 2023, Monarch and HP Managing Agency, LLC filed a complaint initiating
Adversary Proceeding Number 23-01053 (the “Monarch Adversary Complaint”). The Monarch
Adversary Complaint alleged various causes of action against FNU.

      On May 15, 2023, the Debtors filed their Answer, Counterclaims and Third-Party
Complaint.
           12.   CHW Adversary Proceeding

        On May 9, 2023, FNHC filed a complaint against CHW Group, Inc. initiating Adversary
Proceeding Number 23-01111 (the “CHW Complaint”). The CHW Complaint alleged breach of
contract against CHW Group, Inc. and sought judgment in the amount of $122,073.72 plus
attorney’s fees and costs.
        CHW Group, Inc. failed to answer or otherwise respond to the CHW Complaint by the
applicable deadline and, as a result, the clerk of the Bankruptcy Court entered a notice of default
on July 19, 2023. On July 31, 2023, the Debtors filed a motion for default judgment seeking a
judgment in the amount of $122,073.72 plus attorney’s fees in the amount of $8,662, and costs in
the amount of $350. A hearing on the motion for default judgment has been scheduled for August
24, 2023.




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               13.     Monarch’s Motion for Appointment of an Examiner

      On June 20, 2023, Monarch and HP Managing Agency, LLC filed a Motion for
Appointment of Examiner Pursuant to Section 104(c) of the Bankruptcy Code (the “Examiner
Motion”). es of action against FNU.

               14.     Settlement Agreement with Hale Related Parties

        On July 27, 2023, the Debtors (through the Chief Restructuring Officer), the Committee,
and the Hale Related Parties entered into the Settlement Agreement. The Settlement Agreement,
among other things, fully resolves the Monarch Adversary Complaint, the Examiner Motion,
provides for the Allowed Monarch Claims and the Allowed HGMA Claims, and provides for the
sale of FNHC’s remaining interest in Monarch for the sum of $3,000,000.00. The Settlement
Agreement was approved by the Bankruptcy Court on August 11, 2023 [ECF No. 537].

               15.      Remaining Assets to Liquidate

        As of the filing of this First Amended Combined Disclosure Statement and Plan, the
Debtors have few, if any, meaningful assets left to liquidate by way of a sale to a third-party. The
Debtors have marketed the assets of ClaimCor (which consist primarily of goodwill and
intellectual property) extensively since the Petition Date but have received no interest from
potential purchasers.

       Pursuant to the terms of this First Amended Combined Disclosure Statement and Plan, the
Plan Administrator will succeed to the rights to these assets on the Effective Date and any further
marketing of such assets will be the Plan Administrator’s determination.

       This Amended First Amended Combined Disclosure Statement and Plan is the product of
the Debtors and the Committee’s efforts with respect to a process for the Debtors to exit from
chapter 11 that maximizes the value of the Debtors’ estates.

                                          ARTICLE III

            CONFIRMATION PROCEDURES AND VOTING PROCEDURES

A.     Confirmation Procedures

        On September 1, 2023, the Court entered the Solicitation Procedures Order, as later
amended on September 8, 2023. Among other things, the Solicitation Procedures Order, approved
the adequacy of disclosures in the First Amended Combined Disclosure Statement and Plan on an
interim basis and set certain deadlines for the solicitation of the First Amended Combined
Disclosure Statement and Plan, voting on the First Amended Combined Disclosure Statement and
Plan, filing objections to the First Amended Combined Disclosure Statement and Plan and a
hearing to consider approval of the First Amended Combined Disclosure Statement and Plan. The
Solicitation Procedures Order also fixed the Voting Record Date as August 3, 2023. The
Confirmation Hearing has been scheduled for October 10, 2023 at 10:00 a.m. (prevailing eastern
time) at the Bankruptcy Court, 299 East Broward Blvd., Courtroom 301, Ft. Lauderdale, FL 33301
to consider (a) final approval of the First Amended Combined Disclosure Statement and Plan as

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providing adequate information pursuant to section 1125 of the Bankruptcy Code and (b)
Confirmation of the First Amended Combined Disclosure Statement and Plan pursuant to section
1129 of the Bankruptcy Code. The Confirmation Hearing may be adjourned from time to time by
the Debtors without further notice, except for an announcement of the adjourned date made at the
Confirmation Hearing or by Filing a notice with the Bankruptcy Court.

B.       Procedures for Objections

        Any objection to final approval of the First Amended Combined Disclosure Statement
and Plan as providing adequate information pursuant to section 1125 of the Bankruptcy Code
and/or Confirmation of the First Amended Combined Disclosure Statement and Plan must be
made in writing and Filed with the Bankruptcy Court and served on the following parties so as to
be actually received on or before September 27, 2023 at 4:00 p.m. (prevailing Eastern time)
upon (i) the Debtors’ counsel, Nelson Mullins Riley & Scarborough LLP, Shane G. Ramsey,
1222      Demonbreun       Street,    Suite    1700,    Nashville,   TN,     37203      E-Mail:
shane.ramsey@nelsonmullins.com; (ii) the Office of the United States Trustee for the Southern
District of Florida, (a) 51 SW First Avenue, Room 1204, Miami, FL 33130; and (b) J. Steven
Wilkes, 501 East Polk Street, Suite 1200, Tampa, Florida 33602, E-Mail:
Steven.Wilkes@usdoj.gov; and (iii) counsel to the Official Committee of Unsecured Creditors,
(a) Bradford J. Sandler, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
Wilmington, DE 19801, E-Mail: bsandler@pszjlaw.com, and (b) Paul Labov, Pachulski Stang
Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE 19801, E-Mail:
plabov@pszjlaw.com. Unless an objection is timely Filed and served, it may not be considered
by the Bankruptcy Court at the Confirmation Hearing.

C.       Requirements for Confirmation

        The Bankruptcy Court will confirm the First Amended Combined Disclosure Statement
and Plan only if it meets all the applicable requirements of section 1129 of the Bankruptcy Code,
as follows:

        The Plan complies with the applicable provisions of the Bankruptcy Code;

        The Debtors have complied with the applicable provisions of the Bankruptcy Code;

        The Plan has been proposed in good faith and not by any means proscribed by law;

        Any payment made or promised by the Debtors or by an Entity acquiring property under
         the Plan for services or for costs and expenses in, or in connection with, the Chapter 11
         Cases, or in connection with the Plan and incident to the Chapter 11 Cases, has been
         disclosed to the Bankruptcy Court, and any such payment made before confirmation of
         the Plan is reasonable, or if such payment is to be fixed after confirmation of the Plan,
         such payment is subject to the approval of the Bankruptcy Court as reasonable;

        The Debtors have disclosed the identity and affiliations of any individual proposed to
         serve, after confirmation of the Plan, as a successor to the Debtors under the Plan, and the


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       appointment to, or continuance in, such office of such individual is consistent with the
       interests of creditors and equity holders and with public policy;

      With respect to each Class of Claims or Interests, each Holder of an Impaired Claim or
       Impaired Interest either has accepted the Plan or will receive or retain under the Plan on
       account of such Holder’s Claim or Interest, property of a value, as of the Effective Date,
       that is not less than the amount such Holder would receive or retain if the Debtors were
       liquidated on the Effective Date under chapter 7 of the Bankruptcy Code. See discussion
       of “Best Interests Test,” below;

      Except to the extent that the Holder of a particular Claim has agreed to a different
       treatment of such Claim, the Plan provides that Administrative Claims and Priority Claims
       will be paid in full, in Cash, on or as soon as reasonably practical after the Effective Date
       and that Holders of Priority Tax Claims may receive on account of such Claims deferred
       Cash payments, over a period not exceeding five years after the Petition Date, of a value
       as of the Effective Date, equal to the Allowed amount of such Claims with interest from
       the Effective Date;

      At least one Class of Impaired Claims has accepted the Plan, determined without including
       any acceptance of the Plan by any insider holding a Claim in such Class;

      Confirmation of the Plan is not likely to be followed by the liquidation or the need for
       further financial reorganization of the Debtors or any successor of the Debtors under the
       Plan unless such liquidation or reorganization is proposed in the Plan. See discussion of
       “Feasibility,” below; and

      All Statutory Fees payable under section 1930 of title 28, as determined by the Bankruptcy
       Court at the Combined Hearing, have been paid or the Plan provides for the payment of
       all such fees on the Effective Date.

      The Debtors believe that the Plan complies, or will comply, with all such requirements.

       1.       Feasibility: Section 1129(a)(11) of the Bankruptcy Code requires that confirmation
of a plan not be likely to be followed by the liquidation, or the need for further financial
reorganization, of the debtors or any successor to the debtors (unless such liquidation or
reorganization is proposed in the First Amended Combined Disclosure Statement and Plan).
Inasmuch as the Debtors’ assets have principally been liquidated and the First Amended Combined
Disclosure Statement and Plan provides for the distribution of all of the Cash proceeds of the
Debtors’ assets to Holders of Claims that are Allowed as of the Effective Date in accordance with
the Plan, for purposes of this test, the Plan Proponents have analyzed the ability of Liquidating
FedNat to meet its obligations under the First Amended Combined Disclosure Statement and Plan.
Based on the Plan Proponents’ analysis, the Plan Administrator will have sufficient assets to
accomplish its tasks under the First Amended Combined Disclosure Statement and Plan. Therefore,
the Plan Proponents believes that the liquidation pursuant to the First Amended Combined
Disclosure Statement and Plan will meet the feasibility requirements of the Bankruptcy Code.



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        2.       Best Interests Test and Liquidation Analysis: Even if a plan is accepted by the
holders of each class of claims and interests, the Bankruptcy Code requires a court to determine that
such plan is in the best interests of all holders of claims or interests that are impaired by that plan
and that have not accepted the plan. The “best interests” test, as set forth in section 1129(a)(7) of the
Bankruptcy Code, requires a court to find either that all members of an impaired class of claims or
interests have accepted the plan or that the plan will provide a member who has not accepted the
plan with a recovery of property of a value, as of the effective date of the plan, that is not less than
the amount that such holder would recover if the debtor were liquidated under chapter 7 of the
Bankruptcy Code. To calculate the probable distribution to holders of each impaired class of claims
and interests if the debtor was liquidated under chapter 7, a court must first determine the aggregate
dollar amount that would be generated from a debtor’s assets if its chapter 11 cases were converted
to chapter 7 cases under the Bankruptcy Code. To determine if a plan is in the best interests of each
impaired class, the present value of the distributions from the proceeds of a liquidation of the debtors’
unencumbered assets and properties, after subtracting the amounts attributable to the costs, expenses
and administrative claims associated with a chapter 7 liquidation, must be compared with the value
offered to such impaired classes under the plan. If the hypothetical liquidation distribution to
holders of claims or interests in any impaired class is greater than the distributions to be received
by such parties under the plan, then such plan is not in the best interests of the holders of claims
or interests in such impaired class. See Liquidation Analysis attached as Exhibit C to this First
Amended Combined Disclosure Statement and Plan.

        Because the First Amended Combined Disclosure Statement and Plan is a liquidating
plan, the “liquidation value” in the hypothetical chapter 7 liquidation analysis for purposes of the
“best interests” test is substantially similar to the estimates of the results of the chapter 11
liquidation contemplated by the First Amended Combined Disclosure Statement and Plan.
However, the Plan Proponents believe that in a chapter 7 liquidation, there would be additional
costs and expenses that the Estates would incur as a result of liquidating the Estates in chapter 7.

        The costs of liquidation under chapter 7 of the Bankruptcy Code would include the
compensation of a trustee, as well as the costs of counsel and other professionals retained by the
trustee. The Plan Proponents believe such amount would exceed the amount of expenses that
would be incurred in implementing the First Amended Combined Disclosure Statement and Plan
and winding up the affairs of the Debtors. The Estates would also be obligated to pay all unpaid
expenses incurred by the Debtors during the Chapter 11 Cases (such as compensation for
Professionals) that are allowed in the chapter 7 case. Conversion also would likely delay the
liquidation process and ultimately distribution of whatever value remains in the Estates.

    Accordingly, the Plan Proponents believe that Holders of Allowed Claims would receive less
than anticipated under the First Amended Combined Disclosure Statement and Plan if the
Chapter 11 Cases were converted to chapter 7 cases, and therefore, the classification and
treatment of Claims and Interests in the First Amended Combined Disclosure Statement and Plan
complies with section 1129(a)(7) of the Bankruptcy Code.




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D.     Requirements of Section 1129(b) of the Bankruptcy Code: Confirmation Without Necessary
       Acceptances; Cramdown

        In the event that any impaired class of claims or interests does not accept a plan, a debtor
nevertheless may move for confirmation of the plan. A plan may be confirmed, even if it is not
accepted by all impaired classes, if the plan has been accepted by at least one impaired class of
claims, and the plan meets the “cramdown” requirements set forth in section 1129(b) of the
Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that a court find that a plan
“does not discriminate unfairly” and (b) is “fair and equitable,” with respect to each non-accepting
impaired class of claims or interests. Here, because Holders of Claims and Interests in FNHC
Classes 5 and 6 are deemed to reject the First Amended Combined Disclosure Statement and Plan,
the Plan Proponents will seek Confirmation of the First Amended Combined Disclosure Statement
and Plan from the Bankruptcy Court by satisfying the “cramdown” requirements set forth in
section 1129(b) of the Bankruptcy Code. The Plan Proponents believe that such requirements are
satisfied, as no Holder of a Claim or Interest junior to those in FNHC Classes 5 and 6, respectively,
will receive or retain any property under the First Amended Combined Disclosure Statement and
Plan.

        A plan does not “discriminate unfairly” if (a) the legal rights of a non-accepting class are
treated in a manner that is consistent with the treatment of other classes whose legal rights are
similar to those of the non-accepting class and (b) no class receives payments in excess of that
which it is legally entitled to receive for its claims or interests. The Plan Proponents believe that,
under the First Amended Combined Disclosure Statement and Plan, all Impaired Classes of
Claims or Interests are treated in a manner that is consistent with the treatment of other Classes
of Claims or Interests that are similarly situated, if any, and no Class of Claims or Interests will
receive payments or property with an aggregate value greater than the aggregate value of the
Allowed Claims or Allowed Interests in such Class. Accordingly, the Plan Proponents believe
that the First Amended Combined Disclosure Statement and Plan does not discriminate unfairly
as to any Impaired Class of Claims or Interests.

        The Bankruptcy Code provides a nonexclusive definition of the phrase “fair and equitable.”
In order to determine whether a plan is “fair and equitable,” the Bankruptcy Code establishes “cram
down” tests for secured creditors, unsecured creditors and equity holders, as follows:

        (a) Secured Creditors. Either (i) each impaired secured creditor retains its liens
        securing its secured claim and receives on account of its secured claim deferred
        Cash payments having a present value equal to the amount of its allowed secured
        claim, (ii) each impaired secured creditor realizes the “indubitable equivalent” of
        its allowed secured claim or (iii) the property securing the claim is sold free and
        clear of liens with such liens to attach to the proceeds of the sale and the treatment
        of such liens on proceeds to be as provided in clause (i) or (ii) above.

        (b)Unsecured Creditors. Either (i) each impaired unsecured creditor receives or
        retains under the plan property of a value equal to the amount of its allowed claim
        or (ii) the holders of claims and interests that are junior to the claims of the
        dissenting class will not receive any property under the plan.


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        (c)Interests. Either (i) each holder of an equity interest will receive or retain under
        the plan property of a value equal to the greatest of the fixed liquidation preference
        to which such holder is entitled, the fixed redemption price to which such holder is
        entitled or the value of the interest or (ii) the holder of an interest that is junior to the
        non-accepting class will not receive or retain any property under the plan. As
        discussed above, the Plan Proponents believe that the Distributions provided under
        the Plan satisfy the absolute priority rule, where required.

E.     Classification of Claims Interests

        Section 1122 of the Bankruptcy Code requires the First Amended Combined Disclosure
Statement and Plan to place a Claim or Interest in a particular Class only if such Claim or Interest
is substantially similar to the other Claims or Interests in such class. The First Amended
Combined Disclosure Statement and Plan creates separate Classes to deal respectively with
secured Claims, unsecured Claims and Interests. The Debtors believe that the First Amended
Combined Disclosure Statement and Plan’s classifications place substantially similar Claims or
Interests in the same Class and thus, meet the requirements of section 1122 of the Bankruptcy
Code.

F.     Impaired Claims or Interests

        Pursuant to section 1126 of the Bankruptcy Code, only the Holders of Claims in Classes
impaired by the First Amended Combined Disclosure Statement and Plan and receiving a payment
or Distribution under the First Amended Combined Disclosure Statement and Plan may vote on
the First Amended Combined Disclosure Statement and Plan. Pursuant to section 1124 of the
Bankruptcy Code, a Class of Claims may be impaired if the First Amended Combined Disclosure
Statement and Plan alters the legal, equitable or contractual rights of the Holders of such Claims
or Interests treated in such Class. The Holders of Claims in Classes not impaired by the First
Amended Combined Disclosure Statement and Plan are deemed to accept the First Amended
Combined Disclosure Statement and Plan and do not have the right to vote on the First Amended
Combined Disclosure Statement and Plan. The Holders of Claims or Interests in any Class which
will not receive any payment or Distribution or retain any property pursuant to the First Amended
Combined Disclosure Statement and Plan are deemed to reject the First Amended Combined
Disclosure Statement and Plan and do not have the right to vote. Finally, the Holders of Claims
or Interests whose Claims or Interests are not classified under the First Amended Combined
Disclosure Statement and Plan are not entitled to vote on the First Amended Combined
Disclosure Statement and Plan.

G.     Eligibility to Vote on First Amended Combined Disclosure Statement and Plan

       Unless otherwise ordered by the Bankruptcy Court, only Holders of Allowed Claims in
FNHC Classes 3 and 4, FNU Classes 3 and 4, ClaimCor Classes 3 and 4, CRIS Classes 3 and 4,
and Insure-Link Classes 3 and 4 may vote on the First Amended Combined Disclosure Statement
and Plan. Further, subject to the tabulation procedures that were approved by the Conditional
Approval and Procedures Order, only the Holders of Allowed Claims in FNHC Classes 3 and 4,
FNU Classes 3 and 4, ClaimCor Classes 3 and 4, CRIS Classes 3 and 4, and Insure-Link Classes
3 and 4 are Impaired and entitled to vote to accept or reject the First Amended Combined

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Disclosure Statement and Plan (or be the Holder of a Claim in such one of such Classes that has
been temporarily Allowed for voting purposes only under Bankruptcy Rule 3018(a).

H.     Procedure/Voting Deadlines

        In order for your Ballot to count, you must either (1) complete an electronic Ballot at
https://balloting.stretto.com/ or (2) complete, date, sign and properly mail, courier or personally
deliver a paper Ballot (please note that envelopes are not included with the Ballot) to the Voting
Agent at the following address: FedNat Ballot Processing, c/o Stretto, Inc., 410 Exchange, Ste 100,
Irvine, CA 92602.

        Ballots must be submitted electronically, or the Voting Agent must RECEIVE physically
original Ballots by mail or overnight delivery, on or before October 2, 2023 at 4:00 p.m
(prevailing Eastern time) (the “Voting Deadline”). Subject to the tabulation procedures approved
by the Conditional Approval and Procedures Order, you may not change your vote once a Ballot
is submitted electronically or the Voting Agent receives your original paper Ballot.

       Subject to the tabulation procedures approved by the Conditional Approval and Procedures
Order, any Ballot that is timely and properly submitted electronically or received physically will
be counted and will be deemed to be cast as an acceptance, rejection, or abstention, as the case
may be, of the First Amended Combined Disclosure Statement and Plan.

        Holders of Claims or Interests that wish to opt out of the release, injunction, and related
provisions contained in Article XII may do so by selecting the opt out option on the Ballot. The
election of a Holder of a Claim or Interest to opt out of the release, injunction, and related
provisions contained in Article XII of the First Amended Combined Disclosure Statement and Plan
shall not impair or otherwise affect such Holder’s claim(s), interest(s), or right or entitlement to
receive a distribution under the First Amended Combined Disclosure Statement and Plan.

I.     Acceptance of First Amended Combined Disclosure Statement and Plan

        As a Creditor, your acceptance of the First Amended Combined Disclosure Statement and
Plan is important. In order for the First Amended Combined Disclosure Statement and Plan to be
accepted by an impaired Class of Claims, a majority in number (i.e., more than half) and at least
two-thirds in dollar amount of the Claims voting (of each impaired Class of Claims) must vote to
accept the First Amended Combined Disclosure Statement and Plan. At least one impaired Class
of Creditors, excluding the votes of insiders, must actually vote to accept the First Amended
Combined Disclosure Statement and Plan. The Debtors urge that you vote to accept the First
Amended Combined Disclosure Statement and Plan. YOU ARE URGED TO COMPLETE,
DATE, SIGN AND PROMPTLY SUBMIT YOUR BALLOT. PLEASE BE SURE TO
COMPLETE THE BALLOT PROPERLY AND LEGIBLY IDENTIFY THE EXACT
AMOUNT OF YOUR CLAIM AND THE NAME OF THE CREDITOR.

J.     Elimination of Vacant Classes

      Any Class of Claims or Interests that does not contain, as of the date of commencement of
the Confirmation Hearing, a Holder of an Allowed Claim or Interest, or a Holder of a Claim


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temporarily allowed under Bankruptcy Rule 3018, shall be deemed deleted from the First
Amended Combined Disclosure Statement and Plan for all purposes, including for purposes of
determining acceptance of the First Amended Combined Disclosure Statement and Plan by such
Class under Section 1129(a)(8) of the Bankruptcy Code.

                                          ARTICLE IV

                       ADMINISTRATIVE AND PRIORITY CLAIMS

        Pursuant to section 1122 of the Bankruptcy Code, a Claim or Interest is placed in a
particular Class for purposes of voting on the Plan and receiving Distributions under the Plan only
to the extent (i) the Claim or Interest qualifies within the description of that Class; and (ii) the
Claim or Interest has not been paid, released, or otherwise compromised before the Effective Date.
In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Accrued
Professional Compensation Claims, and Priority Tax Claims are not classified under the Plan and
are excluded from the following Classes.

A.     Administrative Claims

        Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy Code, the Plan
Administrator shall pay each Holder of an Allowed Administrative Claim the full unpaid amount
of such Allowed Administrative Claim in Cash: (i) on the Effective Date or as soon as practicable
thereafter (or, if not then due, when such Allowed Administrative Claim is due or as soon as
practicable thereafter); (ii) if such Claim is Allowed after the Effective Date, on the date such
Claim is Allowed or as soon as practicable thereafter (or, if not then due, when such Allowed
Administrative Claim is due); (iii) at such later time as may be agreed upon by such Holder and
the Plan Administrator; or (iv) at such time and upon such terms as set forth in an order of the
Bankruptcy Court.

B.     Priority Tax Claims

        The Plan Administrator shall pay each Holder of an Allowed Priority Tax Claim the full
unpaid amount of such Allowed Priority Tax Claim in Cash, on or as soon as practicable after the
latest of: (i) the Effective Date; (ii) the date such Allowed Priority Tax Claim becomes Allowed;
and (iii) the date such Allowed Priority Tax Claim is payable under applicable non-bankruptcy
law.

C.     Accrued Professional Compensation Claims

             1.        Final Fee Applications

       All final requests for compensation or reimbursement of Professionals retained in these
Chapter 11 Cases for Accrued Professional Compensation, incurred on or before the Effective
Date shall be filed and served on: (a) the Plan Administrator; (b) the Debtors’ counsel, Nelson
Mullins Riley & Scarborough LLP, Shane G. Ramsey, 1222 Demonbreun Street, Suite 1700,
Nashville, TN 37203, E-Mail: shane.ramsey@nelsonmullins.com; (c) counsel to the Official
Committee of Unsecured Creditors, (i) Bradford J. Sandler, Pachulski Stang Ziehl & Jones LLP,


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919 North Market Street, 17th Floor, Wilmington, DE 19801, E-Mail: bsandler@pszjlaw.com, and
(ii) Paul Labov, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
Wilmington, DE 19801, E-Mail: plabov@pszjlaw.com, (d) the Office of the United States Trustee
for the Southern District of Florida, (i) 51 SW First Avenue, Room 1204, Miami, FL 33130; and
(ii) J. Steven Wilkes, 501 East Polk Street, Suite 1200, Tampa, Florida 33602, E-Mail:
Steven.Wilkes@usdoj.gov; and (e) such other Entities who are designated by the Bankruptcy
Rules, the Confirmation Order, or other order of the Bankruptcy Court, by no later than December
19, 2023 at 4:00 p.m. (ET), unless otherwise agreed by the he Plan Administrator. Objections to
any Accrued Professional Compensation Clams must be filed with the Bankruptcy Court and
served on the Plan Administrator and the applicable Professional no later than January 8, 2024 at
4:00 p.m. (ET), unless otherwise ordered by the Bankruptcy Court. After notice and opportunity
for a hearing in accordance with the procedures established by the Bankruptcy Code and any prior
orders of the Bankruptcy Court in the Chapter 11 Cases, the Allowed amounts of such Accrued
Professional Compensation Clams shall be determined by the Bankruptcy Court and once
approved by the Bankruptcy Court, shall be promptly paid by the Plan Administrator in Cash.
Nothing herein affects, impairs, supersedes, or excuses the Professionals’ responsibilities or
obligations under§§ 327-331 of the Bankruptcy Code, Bankruptcy Rule 2016, Local Rule 2016-1,
and the Court’s Guidelines for Fee Applications for Professionals in the Southern District of
Florida in Bankruptcy Cases.

        On the Effective Date, or as soon as practicable thereafter, the Plan Administrator shall
establish an appropriate Accrued Professional Reserve based upon estimates of anticipated fees
provided by Professionals for services rendered and expenses incurred prior to the Effective Date,
including estimated fees for services rendered, and actual and necessary costs incurred, in
connection with the filing, service and prosecution of any applications for allowance of Accrued
Professional Compensation pending on the Effective Date or filed and/or served after the Effective
Date. The Plan Administrator shall supplement the Accrued Professional Reserve if the amount
originally established is insufficient to pay Allowed Accrued Professional Compensation. Upon
approval of the fee applications by the Bankruptcy Court for all Accrued Professional
Compensation, the Plan Administrator shall pay Professionals all of their respective accrued and
Allowed fees and reimburse Allowed expenses arising prior to the Effective Date.

       Notwithstanding anything else to the contrary in this First Amended Combined Disclosure
Statement and Plan or the Confirmation Order, any party in interest may object to (i) any
application by any Professional for compensation or the reimbursement of expenses; and/or (ii)
the amount, propriety, allowability, or allocation of any professional fees or expenses of any
Professional, whether such fees or expenses were awarded on an interim basis, or sought on a final
basis by any Professional.

             2.        Post-Effective Date Fees and Expenses

       Upon the Effective Date, any requirement that Professionals comply with sections 327
through 331 of the Bankruptcy Code in seeking retention or compensation for services rendered
after such date shall terminate, and, subject to the Plan Administration Agreement, the Plan
Administrator may employ and pay any professional for services rendered or expenses incurred
after the Effective Date in the ordinary course of business without any further notice to, or action,


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order, or approval of, the Court. To the extent the Plan Administrator requests or requires the
services of any Exculpated Party after the Effective Date, the Plan Administrator shall execute a
new engagement letter with such Exculpated Party which shall govern such post-Effective Date
engagement.

                                           ARTICLE V

      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS AND
                        EXPECTED RECOVERIES

A.     Summary

      This First Amended Combined Disclosure Statement and Plan constitutes a chapter 11 plan
for each of the Debtors, FedNat Holding Company, FedNat Underwriters, Inc., ClaimCor, LLC,
Century Risk Insurance Services, Inc., and Insure-Link, Inc. Except for Administrative Claims and
Priority Tax Claims, all Claims against and Interests in each of the Debtors are placed in Classes.
In accordance with section 1123(a)(1) of the Bankruptcy Code, the First Amended Combined
Disclosure Statement and Plan does not classify Administrative Claims or Priority Tax Claims, as
described in Article IV. In addition, these Chapter 11 Cases have been consolidated for
administrative purposes only. No substantive consolidation has been sought or is otherwise proper.
The treatment for each Claim set forth below identifies the particular Estate from which such claim
is to be satisfied. The assets of each Estate shall be used to satisfy only the claims of that Estate
and shall not be used to satisfy or otherwise reduce the Claims of any other Estate.

      Each of the tables in Article V.A.1, Article V.A.2, Article V.A.3, Article V.A.4 and Article
V.A.5 classifies Claims against and Interests in each of the Debtors for all purposes, including
voting, confirmation and Distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. The First Amended Combined Disclosure Statement and Plan
deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class and shall be deemed classified in a different
Class to the extent that any remainder of such Claim or Interest qualifies within the description of
such different Class. A Claim or Interest is in a particular Class, other than for voting purposes,
only to the extent that any such Claim or Interest is Allowed in that Class and has not been paid or
otherwise settled prior to the Effective Date.

      The information in the table below is provided in summary form for illustrative purposes
only and is subject to material change based on certain contingencies, including related to the
amount of proofs of claims that are filed after the applicable Bar Date, and the amount of Claims
that exist after the claims reconciliation process, and any changes to any of the assumptions
underlying these amounts could result in material adjustments to recovery estimates provided
herein and/or the actual Distributions received by Creditors. The projected recoveries are based on
information available to the Plan Proponents as of the date hereof and reflect the Plan Proponents’
best estimates as of the date hereof only. In addition to the cautionary notes contained elsewhere
in the First Amended Combined Disclosure Statement and Plan, it is underscored that the Plan
Proponents make no representation as to the accuracy of these recovery estimates. The Plan
Proponents expressly disclaim any obligation to update any estimates or assumptions after the date
hereof on any basis (including new or different information received and/or errors discovered). A

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Claim or Interest is placed in a particular Class only to the extent that the Claim or Interest falls
within the description of that Class and is classified in other Classes to the extent that any portion
of the Claim or Interest falls within the description of such other Classes.

            1.             Summary of Classification and Treatment of Classified Claims and Interests
      of FNHC

Class Claim                               Status        Voting Rights           Estimated Claims Pool Projected Recovery21
1      FNHC Secured Claims                Unimpaired No (deemed to accept) $ -0-                          100%
2      FNHC Priority Claims               Unimpaired No (deemed to accept) $ -0-                          100%
3      Senior Notes Claims                Impaired   Yes                   $127,550,016                   8.09% - 15.58%22
4      FNHC General Unsecured             Impaired   Yes                   $ 2,178,177                    8.09% - 15.58%23
       Claims
5      FNHC Preferred Stock Interests     Impaired      No (deemed to reject) N/A                         0%
6      FNHC Common Stock Interests        Impaired      No (deemed to reject) N/A                         0%

            2.             Summary of Classification and Treatment of Classified Claims and Interests
      of FNU

Class Claim                              Status        Voting Rights           Estimated Claims Pool Projected Recovery

1      FNU Secured Claims           Unimpaired No (deemed to accept) $-0-                               100%
2      FNU Priority Claims          Unimpaired No (deemed to accept) $3,449                             100%
3      FNU General Unsecured Claims Impaired   Yes                   $5,081,817                         100%
4      FNU Stock Interests          Impaired   Yes                   N/A                                0%


             3.            Summary of Classification and Treatment of Classified Claims and Interests
      of ClaimCor

                                                                               Estimated Claims Pool Projected
Class Claim                                   Status      Voting Rights
                                                                                                     Recovery24
1     ClaimCor Secured Claims                 Unimpaired No (deemed to accept) $-0-                  100%

21
  The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
FNHC may be affected.
22
   In the event of such a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan
Proponents estimate that the projected recovery for Holders of Allowed Senior Notes Claims will be between 1.59%
- 6.19 %.


23
   In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed FNHC General Unsecured Claims will be between 1.59%
- 6.19 %.
24
  The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
ClaimCor may be affected.


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2     ClaimCor Priority Claims          Unimpaired No (deemed to accept) $6,778                             100%
3     ClaimCor General Unsecured Claims Impaired Yes                     $2,024,362                         100%25
4     ClaimCor Stock Interests          Impaired Yes                     N/A                                N/A


             4.            Summary of Classification and Treatment of Classified Claims and Interests
      of CRIS

                                                                               Estimated Claims            Projected Recovery26
Class Claim                               Status         Voting Rights
                                                                               Pool
1     CRIS Secured Claims                 Unimpaired     No (deemed to accept) $-0-                        100%
2     CRIS Priority Claims                Unimpaired     No (deemed to accept) $-0-                        100%
3     CRIS General Unsecured Claims       Impaired       Yes                   $2,811,750                  100%27
4     CRIS Stock Interests                Impaired       Yes                   N/A                         N/A



              5.           Summary of Classification and Treatment of Classified Claims and Interests
      of Insure-Link

                                                                            Estimated Claims Projected Recovery28
Class Claim                                     Status         Voting Rights
                                                                            Pool
1     Insure-Link Secured Claims           Unimpaired No (deemed to accept) $-0-             100%
2     Insure-Link Priority Claims          Unimpaired No (deemed to accept) $-0-             100%
3     Insure-Link General Unsecured Claims Impaired   Yes                   $4,845           74.29%29
4     Insure-Link Stock Interests          Impaired   Yes                   N/A              N/A



B.       Classification and Treatment of Claims and Interests of FNHC

                1.         Class 1—FNHC Secured Claims


25
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed ClaimCor General Unsecured Claims will be
approximately 95.58%.
26
  The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
CRIS may be affected.
27
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed CRIS General Unsecured Claims will be approximately
52%.
28
  The range of projected recoveries set forth herein considers the impact of the Tax Re-Allocation and Intercompany
Settlements described in Article VI.J. As discussed in such Article, the Tax Re-Allocation and Intercompany
Settlements may be challenged and, if a creditor is successful in unwinding the re-allocation, recovery for creditors of
Insure-Link may be affected.
29
  In the event of a successful challenge to the Tax Re-Allocation and Intercompany Settlements, the Plan Proponents
estimate that the projected recovery for Holders of Allowed Insure-Link General Unsecured Claims will be
approximately 100%.

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   (a)   Classification: Class 1 consists of all FNHC Secured Claims.

   (b)   Impairment and Voting: Class 1 is Unimpaired by the First Amended
         Combined Disclosure Statement and Plan. Each Holder of a FNHC Secured
         Claim is presumed to accept and therefore is not entitled to vote to accept
         or reject the First Amended Combined Disclosure Statement and Plan.

   (c)   Treatment: Except to the extent that a Holder of a FNHC Secured Claim
         agrees to a less favorable treatment for such Holder, in exchange for full
         and final satisfaction, settlement, release and discharge of each FNHC
         Secured Claim, each Holder of an Allowed FNHC Secured Claim shall, at
         the sole option of the Plan Administrator: (i) be paid in full in Cash, (ii)
         receive the collateral securing its Allowed FNHC Secured Claim, plus post-
         petition interest to the extent required under section 506(b) of the
         Bankruptcy Code, or (iii) receive other treatment rendering such FNHC
         Secured Claim Unimpaired, in each case on the later of the Effective Date
         and the date such FNHC Secured Claim becomes an Allowed FNHC
         Secured Claim, or as soon as practicable thereafter.

 2.      Class 2—FNHC Priority Claims

   (a)   Classification: Class 2 consists of all FNHC Priority Claims.

   (b)   Impairment and Voting: Class 2 is Unimpaired by the Plan. Each Holder of
         a FNHC Priority Claim is presumed to accept and therefore is not entitled
         to vote to accept or reject the Plan.

   (c)   Treatment: On or as soon as practicable after the Effective Date, the Plan
         Administrator shall pay each Holder of an Allowed FNHC Priority Claim,
         in full and final satisfaction of such Allowed FNHC Priority Claim, Cash
         equal to the full amount of its Claim, unless the Holder otherwise agrees to
         less favorable treatment, on or as soon as practicable after the latest of: (i)
         the Effective Date; (ii) the date such Allowed FNHC Priority Claim
         becomes Allowed; and (iii) the date such Allowed FNHC Priority Claim is
         payable under applicable non-bankruptcy law.

 3.      Class 3—Senior Notes Claims

   (a)   Classification: Class 3 consists of all Senior Notes Claims.

   (b)   Impairment and Voting: Class 3 is Impaired by the Plan. Each Holder of a
         Claim that, if Allowed, would constitute a Senior Notes Claim, is entitled
         to vote to accept or reject the Plan.

   (c)   Allowance: The Senior Notes Claims shall be Allowed in the aggregate
         amount of $127,145,833, comprised of: (a) $21,656,250 on account of the
         Convertible Senior Notes, and (b) $105,489,583 on account of the 2029
         Senior Notes. The Allowed Senior Notes Claims shall not be subject to any

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         reductions, setoff, recharacterization, subordination (equitable, contractual
         or otherwise), counterclaim, defense, disallowance, impairment, objection
         or any challenges under applicable law or regulation, provided, however,
         that nothing set forth in this paragraph or elsewhere in this Plan is intended
         to waive, release or otherwise compromise Avoidance Actions, if any,
         arising under chapter 5 of the Bankruptcy Code, or objections, if any, to
         Senior Notes Claims pursuant to section 502(d) of the Bankruptcy Code.

   (d)   Treatment: The Plan Administrator shall distribute to the appropriate Senior
         Notes Indenture Trustee, for the benefit of the Holders of Allowed Senior
         Notes Claims, on the Initial Distribution Date and each Quarterly
         Distribution Date thereafter, a Pro Rata Distribution of Net Free Cash as
         such Net Free Cash is available on such distribution date. The distribution
         described in this section shall be in full satisfaction, settlement, release and
         compromise of and in exchange for each Senior Notes Claim against the
         Debtors’ Estates.

 4.      Class 4—FNHC General Unsecured Claims

   (a)   Classification: Class 4 consists of all FNHC General Unsecured Claims.

   (b)   Impairment and Voting: Class 4 is Impaired by the Plan. Each Holder of a
         Claim that, if Allowed, would constitute a FNHC General Unsecured
         Claim, is entitled to vote to accept or reject the Plan.

   (c)   Treatment: The Plan Administrator shall distribute to each Holder of an
         Allowed FNHC Unsecured Claim on the Initial Distribution Date and each
         Quarterly Distribution Date thereafter a Pro Rata Distribution of Net Free
         Cash as such Net Free Cash is available on such distribution date. The
         distribution described in this section shall be in full satisfaction, settlement,
         release and compromise of and in exchange for each FNHC General
         Unsecured Claim against the Debtors’ Estates

 5.      Class 5—FNHC Preferred Stock Interests

   (a)   Classification: Class 5 consists of all FNHC Preferred Stock Interests.

   (b)   Impairment and Voting: Class 5 is Impaired by the Plan. Each Holder of a
         FNHC Preferred Stock Interest in Class 6 is conclusively presumed to reject
         the Plan and is not entitled to vote to accept or reject the Plan.

   (c)   Treatment: No Holder of FNHC Preferred Stock Interests shall receive any
         Distribution. As set forth in Article VII.F, immediately upon the Effective
         Date, the FNHC Preferred Stock Interests shall be cancelled, terminated and
         of no further force or effect.

 6.      Class 6—FNHC Common Stock Interests


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            (a)   Classification: Class 6 consists of all FNHC Common Stock Interests.

            (b)   Impairment and Voting: Class 6 is Impaired by the Plan. Each Holder of a
                  FNHC Common Stock Interest in Class 7 is conclusively presumed to reject
                  the Plan and is not entitled to vote to accept or reject the Plan.

            (c)   Treatment: No Holder of FNHC Common Stock Interests shall receive any
                  Distribution. Pursuant to Article VII.F, immediately upon the Effective Date,
                  the FNHC Common Stock Interests shall be cancelled, terminated and of no
                  further force or effect.

C.   Classification and Treatment of Claims and Interests of FNU

          1.       Class 1—FNU Secured Claims

            (a)     Classification: Class 1 consists of all FNU Secured Claims.

            (b)     Impairment and Voting: Class 1 is Unimpaired by the Plan. Each Holder
                    of a FNU Secured Claim is presumed to accept and therefore is not entitled
                    to vote to accept or reject the Plan.

            (c)     Treatment: Except to the extent that a Holder of a FNU Secured Claim
                    agrees to a less favorable treatment for such Holder, in exchange for full
                    and final satisfaction, settlement, release and discharge of each FNU
                    Secured Claim, each Holder of an Allowed FNU Secured Claim shall, at
                    the sole option of the Plan Administrator: (i) be paid in full in Cash, (ii)
                    receive the collateral securing its Allowed FNU Secured Claim, plus post-
                    petition interest to the extent required under section 506(b) of the
                    Bankruptcy Code, or (iii) receive other treatment rendering such FNU
                    Secured Claim Unimpaired, in each case on the later of the Effective Date
                    and the date such FNU Secured Claim becomes an Allowed FNU Secured
                    Claim, or as soon as practicable thereafter.

          2.        Class 2—FNU Priority Claims

            (a)     Classification: Class 2 consists of all FNU Priority Claims.

            (b)     Impairment and Voting: Class 2 is Unimpaired by the Plan. Each Holder
                    of a FNU Priority Claim is presumed to accept and therefore is not entitled
                    to vote to accept or reject the Plan.

            (c)     Treatment: On or as soon as practicable after the Effective Date, the Plan
                    Administrator shall pay each Holder of an Allowed FNU Priority Claim,
                    in full and final satisfaction of such Allowed FNU Priority Claim, Cash
                    equal to the full amount of its Claim, unless the Holder otherwise agrees
                    to less favorable treatment, on or as soon as practicable after the latest of:
                    (i) the Effective Date; (ii) the date such Allowed FNU Priority Claim


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                    becomes Allowed; and (iii) the date such Allowed FNU Priority Claim is
                    payable under applicable non-bankruptcy law.

          3.       Class 3—FNU General Unsecured Claims

            (a)    Classification: Class 3 consists of all FNU General Unsecured Claims.

            (b)    Impairment and Voting: Class 3 is Impaired by the Plan. Each Holder of a
                   Claim that, if Allowed, would constitute a FNU General Unsecured Claim,
                   is entitled to vote to accept or reject the Plan.

            (c)    Treatment: The Plan Administrator shall distribute to each Holder of an
                   Allowed FNU Unsecured Claim on the Initial Distribution Date and each
                   Quarterly Distribution Date thereafter a Pro Rata Distribution of Net Free
                   Cash as such Net Free Cash is available on such distribution date. The
                   distribution described in this section shall be in full satisfaction, settlement,
                   release and compromise of and in exchange for each FNU General
                   Unsecured Claim against the Debtors’ Estates.

          4.       Class 4—FNU Stock Interests

            (a)    Classification: Class 4 consists of all FNU Stock Interests.

            (b)    Impairment and Voting: Class 4 is Impaired by the Plan. FNHC, as sole
                   Holder of the FNU Stock Interests in Class 3, is entitled to vote to accept or
                   reject the Plan.

            (c)    Treatment: If, and only if, Net Free Cash remains in FNU after satisfaction
                   of all Allowed Claims against FNU, FNHC, as sole holder of the FNU Stock
                   Interests, shall receive a Distribution of all remaining Net Free Cash of FNU
                   and any other Assets comprising the FNU Estate. If no Net Free Cash
                   remains in FNU after satisfaction of all Allowed Claims against FNU, then,
                   on the earliest date following the Effective Date upon which a determination
                   can be made that no Net Free Cash remains in FNU, all FNU Stock Interests
                   shall be transferred to the Plan Administrator.


D.   Classification and Treatment of Claims and Interests of ClaimCor

          1.        Class 1—ClaimCor Secured Claims

            (a)    Classification: Class 1 consists of all ClaimCor Secured Claims.

            (b)    Impairment and Voting: Class 1 is Unimpaired by the Plan. Each Holder of
                   a ClaimCor Secured Claim is presumed to accept and therefore is not
                   entitled to vote to accept or reject the Plan.




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   (c)   Treatment: Except to the extent that a Holder of a ClaimCor Secured Claim
         agrees to a less favorable treatment for such Holder, in exchange for full
         and final satisfaction, settlement, release and discharge of each ClaimCor
         Secured Claim, each Holder of an Allowed ClaimCor Secured Claim shall,
         at the sole option of the Plan Administrator : (i) be paid in full in Cash, (ii)
         receive the collateral securing its Allowed ClaimCor Secured Claim, plus
         post-petition interest to the extent required under section 506(b) of the
         Bankruptcy Code, or (iii) receive other treatment rendering such ClaimCor
         Secured Claim Unimpaired, in each case on the later of the Effective Date
         and the date such ClaimCor Secured Claim becomes an Allowed ClaimCor
         Secured Claim, or as soon as practicable thereafter.

 2.      Class 2—ClaimCor Priority Claims

   (a)   Classification: Class 2 consists of all ClaimCor Priority Claims.

   (b)   Impairment and Voting: Class 2 is Unimpaired by the Plan. Each Holder of
         a ClaimCor Priority Claim is presumed to accept and therefore is not
         entitled to vote to accept or reject the Plan.

   (c)   Treatment: On or as soon as practicable after the Effective Date, the Plan
         Administrator , shall pay each Holder of an Allowed ClaimCor Priority
         Claim, in full and final satisfaction of such Allowed ClaimCor Priority
         Claim, Cash equal to the full amount of its Claim, unless the Holder
         otherwise agrees to less favorable treatment, on or as soon as practicable
         after the latest of: (i) the Effective Date; (ii) the date such Allowed
         ClaimCor Priority Claim becomes Allowed; and (iii) the date such Allowed
         ClaimCor Priority Claim is payable under applicable non-bankruptcy law.

 3.      Class 3—ClaimCor General Unsecured Claims

   (a)   Classification: Class 3 consists of all ClaimCor General Unsecured Claims.

   (b)   Impairment and Voting: Class 3 is Impaired by the Plan. Each Holder of a
         Claim that, if Allowed, would constitute a ClaimCor General Unsecured
         Claim, is entitled to vote to accept or reject the Plan.

   (c)   Treatment: The Plan Administrator shall distribute to each Holder of an
         Allowed ClaimCor Unsecured Claim on the Initial Distribution Date and
         each Quarterly Distribution Date thereafter a Pro Rata Distribution of Net
         Free Cash as such Net Free Cash is available on such distribution date. The
         distribution described in this section shall be in full satisfaction, settlement,
         release and compromise of and in exchange for each ClaimCor General
         Unsecured Claim against the Debtors’ Estates.

 4.      Class 4—ClaimCor Stock Interests

   (a)   Classification: Class 4 consists of all ClaimCor Stock Interests.

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            (b)    Impairment and Voting: Class 4 is Impaired by the Plan. FNHC, as sole
                   Holder of the ClaimCor Stock Interests in Class 4, is entitled to vote to
                   accept or reject the Plan.

            (c)    Treatment: If, and only if, Net Free Cash remains in ClaimCor after
                   satisfaction of all Allowed Claims against ClaimCor, FNHC, as sole holder
                   of the ClaimCor Stock Interests, shall receive a Distribution of all remaining
                   Net Free Cash of ClaimCor and any other Assets comprising the ClaimCor
                   Estate. If no Net Free Cash or any other Assets remain in ClaimCor after
                   satisfaction of all Allowed Claims against ClaimCor, then, on the earliest
                   date following the Effective Date upon which a determination can be made
                   that no Net Free Cash or any other Assets remain in ClaimCor, all ClaimCor
                   Stock Interests shall be transferred to the Plan Administrator.

E.   Classification and Treatment of Claims and Interests of CRIS

          1.        Class 1—CRIS Secured Claims

            (a)    Classification: Class 1 consists of all CRIS Secured Claims.

            (b)    Impairment and Voting: Class 1 is Unimpaired by the Plan. Each Holder of
                   a CRIS Secured Claim is presumed to accept and therefore is not entitled to
                   vote to accept or reject the Plan.

            (c)    Treatment: Except to the extent that a Holder of a CRIS Secured Claim
                   agrees to a less favorable treatment for such Holder, in exchange for full
                   and final satisfaction, settlement, release and discharge of each CRIS
                   Secured Claim, each Holder of an Allowed CRIS Secured Claim shall, at
                   the sole option of the Plan Administrator (i) be paid in full in Cash, (ii)
                   receive the collateral securing its Allowed CRIS Secured Claim, plus post-
                   petition interest to the extent required under section 506(b) of the
                   Bankruptcy Code, or (iii) receive other treatment rendering such CRIS
                   Secured Claim Unimpaired, in each case on the later of the Effective Date
                   and the date such CRIS Secured Claim becomes an Allowed CRIS Secured
                   Claim, or as soon as practicable thereafter.

          2.       Class 2—CRIS Priority Claims

            (a)    Classification: Class 2 consists of all CRIS Priority Claims.

            (b)    Impairment and Voting: Class 2 is Unimpaired by the Plan. Each Holder of
                   a CRIS Priority Claim is presumed to accept and therefore is not entitled to
                   vote to accept or reject the Plan.

            (c)    Treatment: On or as soon as practicable after the Effective Date, the Plan
                   Administrator shall pay each Holder of an Allowed CRIS Priority Claim, in
                   full and final satisfaction of such Allowed CRIS Priority Claim, Cash equal
                   to the full amount of its Claim, unless the Holder otherwise agrees to less

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                   favorable treatment, on or as soon as practicable after the latest of: (i) the
                   Effective Date; (ii) the date such Allowed CRIS Priority Claim becomes
                   Allowed; and (iii) the date such Allowed CRIS Priority Claim is payable
                   under applicable non-bankruptcy law.

          3.        Class 3—CRIS General Unsecured Claims

            (a)    Classification: Class 3 consists of all CRIS General Unsecured Claims.

            (b)    Impairment and Voting: Class 3 is Impaired by the Plan. Each Holder of a
                   Claim that, if Allowed, would constitute a CRIS General Unsecured Claim,
                   is entitled to vote to accept or reject the Plan.

            (c)    Treatment: The Plan Administrator shall distribute to each Holder of an
                   Allowed CRIS General Unsecured Claim on the Initial Distribution Date
                   and each Quarterly Distribution Date thereafter a Pro Rata Distribution of
                   Net Free Cash as such Net Free Cash is available on such distribution date.
                   The distribution described in this section shall be in full satisfaction,
                   settlement, release and compromise of and in exchange for each CRIS
                   General Unsecured Claim against the Debtors’ Estates.

          4.       Class 4—CRIS Stock Interests

            (a)    Classification: Class 4 consists of all CRIS Stock Interests.

            (b)    Impairment and Voting: Class 4 is Impaired by the Plan. FNHC, as sole
                   Holder of the CRIS Stock Interests in Class 4, is entitled to vote to accept
                   or reject the Plan.

            (c)    Treatment: If, and only if, Net Free Cash remains in CRIS after satisfaction
                   of all Allowed Claims against CRIS, FNHC, as sole holder of the CRIS
                   Stock Interests, shall receive a Distribution of all remaining Net Free Cash
                   of CRIS and any other Assets comprising the CRIS Estate. If no Net Free
                   Cash or any other Assets remain in CRIS after satisfaction of all Allowed
                   Claims against CRIS, then, on the earliest date following the Effective Date
                   upon which a determination can be made that no Net Free Cash or any other
                   Assets remain in CRIS, all CRIS Stock Interests shall be transferred to the
                   Plan Administrator.

F.   Classification and Treatment of Claims and Interests of Insure-Link

          1.       Class 1—Insure-Link Secured Claims

            (a)    Classification: Class 1 consists of all Insure-Link Secured Claims.

            (b)    Impairment and Voting: Class 1 is Unimpaired by the Plan. Each Holder of
                   a Insure-Link Secured Claim is presumed to accept and therefore is not
                   entitled to vote to accept or reject the Plan.

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   (c)   Treatment: Except to the extent that a Holder of a Insure-Link Secured
         Claim agrees to a less favorable treatment for such Holder, in exchange for
         full and final satisfaction, settlement, release and discharge of each Insure-
         Link Secured Claim, each Holder of an Allowed Insure-Link Secured Claim
         shall, at the sole option of the Plan Administrator e: (i) be paid in full in
         Cash, (ii) receive the collateral securing its Allowed Insure-Link Secured
         Claim, plus post-petition interest to the extent required under section 506(b)
         of the Bankruptcy Code, or (iii) receive other treatment rendering such
         Insure-Link Secured Claim Unimpaired, in each case on the later of the
         Effective Date and the date such Insure-Link Secured Claim becomes an
         Allowed Insure-Link Secured Claim, or as soon as practicable thereafter.

 2.      Class 2—Insure-Link Priority Claims

   (a)   Classification: Class 2 consists of all Insure-Link Priority Claims.

   (b)   Impairment and Voting: Class 2 is Unimpaired by the Plan. Each Holder of
         a Insure-Link Priority Claim is presumed to accept and therefore is not
         entitled to vote to accept or reject the Plan.

   (c)   Treatment: On or as soon as practicable after the Effective Date, the Plan
         Administrator, shall pay each Holder of an Allowed Insure-Link Priority
         Claim, in full and final satisfaction of such Allowed Insure-Link Priority
         Claim, Cash equal to the full amount of its Claim, unless the Holder
         otherwise agrees to less favorable treatment, on or as soon as practicable
         after the latest of: (i) the Effective Date; (ii) the date such Allowed Insure-
         Link Priority Claim becomes Allowed; and (iii) the date such Allowed
         Insure-Link Priority Claim is payable under applicable non-bankruptcy law.

 3.      Class 3—Insure-Link General Unsecured Claims

   (a)   Classification: Class 3 consists of all Insure-Link General Unsecured
         Claims.

   (b)   Impairment and Voting: Class 3 is Impaired by the Plan. Each Holder of a
         Claim that, if Allowed, would constitute a Insure-Link General Unsecured
         Claim, is entitled to vote to accept or reject the Plan.

   (c)   Treatment: The Plan Administrator shall distribute to each Holder of an
         Allowed Insure-Link General Unsecured Claim on the Initial Distribution
         Date and each Quarterly Distribution Date thereafter a Pro Rata Distribution
         of Net Free Cash as such Net Free Cash is available on such distribution
         date. The distribution described in this section shall be in full satisfaction,
         settlement, release and compromise of and in exchange for each Insure-Link
         General Unsecured Claim against the Debtors’ Estates.

 4.      Class 4—Insure-Link Stock Interests


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              (a)     Classification: Class 4 consists of all Insure-Link Stock Interests.

              (b)     Impairment and Voting: Class 4 is Impaired by the Plan. CRIS, as sole
                      Holder of the Insure-Link Stock Interests in Class 4, is entitled to vote to
                      accept or reject the Plan.

              (c)     Treatment: If, and only if, Net Free Cash remains in Insure-Link after
                      satisfaction of all Allowed Claims against Insure-Link, CRIS, as sole holder
                      of the Insure-Link Stock Interests, shall receive a Distribution of all
                      remaining Net Free Cash of Insure-Link and any other Assets comprising
                      the Insure-Link Estate. If no Net Free Cash or any other Assets remain in
                      Insure-Link after satisfaction of all Allowed Claims against Insure-Link,
                      then, on the earliest date following the Effective Date upon which a
                      determination can be made that no Net Free Cash or any other Assets remain
                      in Insure-Link, all Insure-Link Stock Interests shall be transferred to the
                      Plan Administrator.


                                         ARTICLE VI

        CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

     THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN RISKS,
INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
INFORMATION SET FORTH IN THE PLAN AND THE DOCUMENTS DELIVERED
TOGETHER HEREWITH OR REFERRED TO OR INCORPORATED BY REFERENCE
HEREIN, BEFORE DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT THE PLAN.
THESE FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN AND ITS
IMPLEMENTATION.

A.    The Plan May Not be Accepted

        The Debtors can make no assurances that the requisite acceptances to the Plan will be
received, and the Debtors may need to obtain acceptances to an alternative plan of liquidation for
the Debtors, or otherwise, that may not have the support of the Creditors and/or may be required
to liquidate the Estates under chapter 7 of the Bankruptcy Code. There can be no assurance that
the terms of any such alternative restructuring arrangement or plan would be similar to or as
favorable to Creditors as those proposed in the Plan.

B.    The Plan May Not be Confirmed

        Even if the Debtors receive the requisite acceptances, there is no assurance that the
Bankruptcy Court, which may exercise substantial discretion as a court of equity, will confirm
the Plan. Even if the Bankruptcy Court determined that the First Amended Combined Disclosure


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Statement and Plan and the balloting procedures and results were appropriate, the Bankruptcy
Court could still decline to confirm the Plan if it finds that any of the statutory requirements for
Confirmation had not been met. Moreover, there can be no assurance that modifications to the
First Amended Combined Disclosure Statement and Plan will not be required for Confirmation
or that such modifications would not necessitate the re-solicitation of votes. If the Plan is not
confirmed, it is unclear what distributions Holders of Claims or Interests ultimately would
receive with respect to their Claims or Interests in a subsequent plan of liquidation.

C.     Distributions to Holders of Allowed Claims under the Plan May be Inconsistent with
       Projections

        Projected Distributions are based upon good faith estimates of the total amount of Claims
ultimately Allowed and the funds available for distribution. There can be no assurance that the
estimated Claim amounts set forth in the Plan are correct. These estimated amounts are based on
certain assumptions with respect to a variety of factors. Both the actual amount of Allowed
Claims in a particular Class and the funds available for distribution to such Class may differ from
the Debtors’ estimates. If the total amount of Allowed Claims in a Class is higher than the
Debtors’ estimates, or the funds available for distribution to such Class are lower than the
Debtors’ estimates, the percentage recovery to Holders of Allowed Claims in such Class will be
less than projected.

D.     Objections to Classification of Claims

        Section 1122 of the Bankruptcy Code requires that the Plan classify Claims and Interests.
The Bankruptcy Code also provides that the Plan may place a Claim or Interest in a particular Class
only if such Claim or Interest is substantially similar to the other Claims or Interests of such Class.
The Debtors believe that all Claims and Interests have been appropriately classified in the Plan. To
the extent that the Bankruptcy Court finds that a different classification is required for the Plan to
be confirmed, the Debtors would seek to (i) modify the Plan to provide for whatever classification
might be required for Confirmation and (ii) use the acceptances received from any Holder of
Claims pursuant to this solicitation for the purpose of obtaining the approval of the Class or Classes
of which such Holder ultimately is deemed to be a member. Any such reclassification of Claims,
although subject to the notice and hearing requirements of the Bankruptcy Code, could adversely
affect the Class in which such Holder was initially a member, or any other Class under the Plan,
by changing the composition of such Class and the vote required for approval of the Plan. There
can be no assurance that the Bankruptcy Court, after finding that a classification was inappropriate
and requiring a reclassification, would approve the Plan based upon such reclassification. Except
to the extent that modification of classification in the Plan requires resolicitation, the Debtors will,
in accordance with the Bankruptcy Code and the Bankruptcy Rules, seek a determination by the
Bankruptcy Court that acceptance of the Plan by any Holder of Claims pursuant to this solicitation
will constitute a consent to the Plan’s treatment of such Holder, regardless of the Class as to which
such Holder is ultimately deemed to be a member. The Debtors believe that under the Bankruptcy
Rules, it would be required to resolicit votes for or against the Plan only when a modification
adversely affects the treatment of the Claim or Interest of any Holder. The Bankruptcy Code also
requires that the Plan provide the same treatment for each Claim or Interest of a particular Class
unless the Holder of a particular Claim or Interest agrees to a less favorable treatment of its Claim
or Interest. The Debtors believe that the Plan complies with the requirement of equal treatment.

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To the extent that the Bankruptcy Court finds that the Plan does not satisfy such requirement, the
Bankruptcy Court could deny Confirmation of the Plan. Issues or disputes relating to classification
and/or treatment could result in a delay in the Confirmation and Consummation of the Plan and
could increase the risk that the Plan will not be consummated.

E.      Failure to Consummate the Plan

        The Plan provides for certain conditions that must be satisfied (or waived) prior to
Confirmation and for certain other conditions that must be satisfied (or waived) prior to the
Effective Date. As of the date of the Plan, there can be no assurance that any or all of the conditions
in the Plan will be satisfied (or waived). Accordingly, there can be no assurance that the Plan will
be confirmed by the Bankruptcy Court. Further, if the Plan is confirmed, there can be no assurance
that the Plan will be consummated.

F.      Allowance of Claims May Substantially Dilute the Recovery to Holders of Claims under
        the Plan

         There can be no assurance that the estimated Claim amounts set forth in the Plan are
 correct, and the actual Allowed amounts of Claims may differ from the estimates. The estimated
 amounts are based on certain assumptions with respect to a variety of factors, including with
 respect to the Disputed Administrative Claims, Disputed Priority Tax Claims, Disputed Priority
 Non-Tax Claims, and Disputed Secured Claims. Should these underlying assumptions prove
 incorrect, the actual Allowed amounts of Claims may vary from those estimated herein, thereby
 materially reducing the recovery to the Holders of General Unsecured Claims under the Plan.

G.      The Plan Releases May Not Be Approved

         There can be no assurance that the releases, as provided in Article XII of the Plan, will
 be granted. Failure of the Bankruptcy Court to grant such relief may result in a plan of liquidation
 that differs from the Plan or the Plan not being confirmed.

H.      Delay In Liquidating Estate Causes of Action

         Distributions to Holders of Allowed Claims under the Plan are partly dependent on the
 Plan Administrator’s ability to litigate to judgment and/or settle the Estate Causes of Action. The
 Debtors cannot predict the ultimate outcome regarding the liquidation and/or settlement of the
 Estate Causes of Action. Even if the Estate Causes of Action are ultimately liquidated and/or
 settled, the Debtors cannot predict the time necessary to accomplish that result. Any delay in
 liquidating and/or the Plan Administrator’s inability to liquidate the Estate Causes of Action may
 negatively impact Distributions to Holders of Allowed Claims under the Plan.

I.      Certain Tax Considerations

        There are a number of material income tax considerations, risks and uncertainties
 associated with the plan of liquidation of the Debtors described in this First Amended Combined
 Disclosure Statement and Plan.



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             1.        Brief Overview and Disclosure

        The following is a general discussion based upon present law of certain U.S. federal
income tax considerations relevant to the implementation of the Plan to Holders of Claims
entitled to vote on the Plan. This discussion is based on the current provisions of title 26 of the
United States Code, applicable Treasury Regulations, judicial authority, and current
administrative rulings and pronouncements of the Internal Revenue Service (the “IRS”). There
can be no assurance that the IRS will not take a contrary view, no ruling from the IRS has been
or will be sought nor will any counsel provide a legal opinion as to any of the expected tax
consequences set forth below. This discussion does not address the federal income tax
consequences to Holders of Claims or Interests who are Unimpaired, or Holders who are not
entitled to vote because they are deemed to accept or reject the Plan or Holders subject to special
treatment under U.S. federal income tax laws, such as brokers or dealers in securities or
currencies, certain securities traders, tax-exempt entities, financial institutions, insurance
companies, foreign persons, partnerships and other passthrough entities, Holders that have a
“functional currency” other than the United States dollar, Holders that hold Claims as a position
in a “straddle” or as part of a “synthetic currency,” “hedging,” “conversion,” or other integrated
transaction, or Holders that have acquired Claims in connection with the performance of services.
In addition, this discussion does not address U.S. federal taxes other than income taxes.

        Legislative, judicial, or administrative changes or interpretations may be forthcoming that
could alter or modify the statements and conclusions set forth herein. Any such changes or
interpretations may or may not be retroactive and could affect the tax consequences to the
Holders of Claims or the Debtors. It cannot be predicted at this time whether any tax legislation
will be enacted or, if enacted, whether any tax law changes contained therein would affect the
tax consequences described herein.

        This summary is not a comprehensive description of all of the U.S. federal tax
consequences that may be relevant with respect to the Plan. We urge you to consult your own tax
advisor regarding your particular circumstances and the U.S. federal tax consequences to you
with respect to the Plan, as well as any tax consequences arising under the laws of any state,
local, or foreign tax jurisdiction and the possible effects of changes in U.S. federal or other tax
laws. The following summary assumes that the Claims are held by Holders as “capital assets”
within the meaning of section 1221 of the Tax Code and that all Claims denominated as
indebtedness are properly treated as debt for U.S. federal income tax purposes.

        The tax treatment of Holders of Claims and the character, amount, and timing of income,
gain, or loss recognized as a consequence of the Plan and the Distributions provided for under
the Plan may vary, depending upon, among other things: (a) whether the Claim (or portion
thereof) constitutes a Claim for principal or interest; (b) the type of consideration received by the
Holder in exchange for the Claim and whether the Holder receives Distributions hereunder in
more than one taxable year; (c) whether the Holder is a citizen or resident of the United States
for tax purposes, is otherwise subject to U.S. federal income tax on a net basis, or falls into any
special class of taxpayers, such as those that are excluded from this discussion as noted above;
(d) the manner in which the Holder acquired the Claim; (e) the length of time that the Claim has
been held; (f) whether the Claim was acquired at a discount; (g) whether the Holder has taken a
bad debt deduction with respect to the Claim (or any portion thereof) in the current or prior years;

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(h) whether the Holder has previously included in income accrued but unpaid interest with respect
to the Claim; (i) the method of tax accounting of the Holder; (j) whether the Claim is an
installment obligation for U.S. federal income tax purposes; and (k) whether the “market
discount” rules are applicable to the Holder. Therefore, each Holder should consult a tax advisor
for information that may be relevant to its particular situation and circumstances, and the
particular tax consequences to such Holder of the transactions contemplated by the Plan.

       The following discussion is intended only as a summary of certain U.S. federal tax
consequences of the Plan and is not a substitute for careful tax planning with a tax
professional. The following discussion is for informational purposes only and is not tax
advice. The tax consequences are in many cases uncertain and may vary depending on a
Holder’s particular circumstances. Accordingly, each Holder is strongly urged to consult a
tax advisor regarding the U.S. federal, state, local, and applicable non-U.S. income and
other tax consequences of the Plan.

             2.        U.S. Federal Income Tax Consequences to the Debtors

         In general, absent an exception, a debtor will realize and recognize cancellation of debt
(“COD”) income upon satisfaction of its outstanding indebtedness for total consideration less
than the amount of such indebtedness. The amount of COD incurred is generally the amount by
which the indebtedness discharged exceeds the value of any consideration given in exchange
therefor. Certain statutory or judicial exceptions may apply to limit the amount of COD incurred
for U.S. federal income tax purposes. Under section 108 of the Tax Code, subject to limited
exceptions, COD income of a debtor generally is excluded from gross income if the debtor is
under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code and the
discharge of debt occurs pursuant to that proceeding. As a consequence of such exclusion, a
debtor generally must reduce its tax attributes by the amount of COD income that it excluded
from gross income. In general, tax attributes of the debtor are reduced in the following order: (a)
net operating losses (“NOLs”); (b) general business credit carryovers; (c) alternative minimum
tax credit carryovers; (d) capital loss carryovers; (e) tax basis in assets, which includes the stock
of subsidiaries; (f) passive activity loss and credit carryovers; and (g) foreign tax credit
carryovers. In applying this attribute reduction rule to the tax basis in assets, the tax law limits
the reduction in tax basis to the amount by which the tax basis exceeds the debtor’s liabilities
after the effective date of the plan (often referred to as the “liability floor”). If advantageous, the
debtor can elect to reduce the basis of depreciable property prior to any reduction in its NOL
carryforwards or other tax attributes. If the amount of excluded COD income exceeds available
tax attributes, the excess generally is not subject to U.S. federal income tax and has no other U.S.
federal income tax impact. Where the debtor joins in the filing of a consolidated U.S. federal
income tax return, applicable Treasury regulations require, in certain circumstances, that the tax
attributes of the consolidated subsidiaries of the debtor and other members of the group must also
be reduced. Any reduction in tax attributes in respect of COD generally does not occur until after
the determination of the debtor’s net income or loss for the taxable year in which the COD is
incurred.

        Under the Plan, Holders of certain Allowed Claims are expected to receive less than full
payment on their Claims. As a result, the Debtors’ liability to Holders of such Claims in excess
of the amount satisfied by Distributions under the Plan will be canceled, and therefore will result

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in COD income to the Debtors. Certain COD income triggered under the Plan will not be
recognized as income under section 108 of the Tax Code and the Debtors must reduce their tax
attributes by the amount of such excluded income. As a result, the Debtors’ tax attributes are
expected to be substantially reduced or potentially eliminated; provided, however, such reduction
in tax attributes will not occur until the end of the Debtors’ taxable year.

        Under the Tax Code, any NOL carryforwards, disallowed interest expense carryforwards
and certain other tax attributes of a corporation (collectively, “Pre-Change Losses”) may be
subject to an annual limitation if the corporation undergoes an “ownership change” within the
meaning of section 382 of the Tax Code. These limitations apply in addition to, and not in lieu
of, the attribute reduction that may result from the COD arising in connection with the Plan.
Under section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an
“ownership change” and the corporation does not qualify for (or elects out of) the special
bankruptcy exception in section 382(l)(5) of the Tax Code, the amount of its Pre-Change Losses
that may be utilized to offset future taxable income generally are subject to an annual limitation.

       The Debtors may have up to and approximately $178 million of NOLs as of the end of
the Debtors’ 2022 taxable year. The cancellation of the Interests in the Debtors could result in
an ownership change, which would have the effect of limiting the NOLs available to offset
income from the disposition of assets.

        Following the Effective Date, the Debtors may recognize corporate entity-level income
or gain in connection with administering the Plan, winding down the Debtors, and disposing of
any Estate Assets. Although any such amounts are expected to be de minimis, such amounts may
be taxable to the Debtors and, if applicable would reduce the amount of Cash available to
distribute to Holders of Allowed Claims. Such gain or income may be offset, in whole or in part,
by expenses of the Debtors and other tax attributes available to offset gain, including any current
losses or NOLs. However, the availability of the Debtors’ tax attributes is expected to be limited
as a result of the reductions described above as well as certain other limitations under the Tax
Code that may result from the Plan and accordingly, the Debtors may be subject to tax. On final
wind down, the Debtors are not expected to recognize and be taxable on any COD income, due
to either the bankruptcy exception referenced above or a similar exception when the debtor is
insolvent, which is expected to apply following the completion of the liquidation of the Debtors.

       3.     Certain U.S. Federal Income Tax Treatment with Respect to U.S. Holders of
              Allowed Claims

      As used in discussion herein, the term “U.S. Holder” means a beneficial owner of an
Allowed Claim that is for U.S. federal income tax purposes:

      an individual who is a citizen or resident of the United States;

      a corporation, or other Entity taxable as a corporation for U.S. federal income tax
       purposes, created or organized in or under the laws of the United States, any state thereof,
       or the District of Columbia;




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      an estate the income of which is subject to U.S. federal income taxation regardless of its
       source; or

      a trust, if a court within the United States is able to exercise primary jurisdiction over its
       administration and one or more U.S. Persons have authority to control all of its substantial
       decisions, or if the trust has a valid election in effect under applicable Treasury
       Regulations to be treated as a U.S. Person.

        If a partnership or other Entity taxable as a partnership for U.S. federal income tax
purposes holds an Allowed Claim, the tax treatment of a partner generally will depend upon the
status of the partner and the activities of the partnership. Partners in a partnership holding any
such instruments are urged to consult their own tax advisors.

        A U.S. Holder of an Allowed Claim will generally recognize gain or loss equal to the
difference between the U.S. Holder’s adjusted basis in its Allowed Claim and the amount realized
by the U.S. Holder in respect of its Allowed Claim. Over time and on a cumulative basis, the
amount realized generally will equal the aggregate amount of the Cash (and the fair market value
of property, if any) distributed to the U.S. Holder by the Plan Administrator, less the amount, if
any, attributable to accrued but unpaid interest. However, in the event that a U.S. Holder of an
Allowed Claim receives Distributions over more than one tax year, the timing of such U.S.
Holder’s recognition of such gain or loss is not free from doubt. For instance, there may be
circumstances in which a U.S. Holder of an Allowed Claim (a) may recognize gain only after
Distributions have been made to the U.S. Holder in excess of such U.S. Holder’s basis in its
Allowed Claim or (b) or allocate a portion of Distributions in a given year between a return of
basis and gain or loss. Alternatively, a U.S. Holder of an Allowed Claim may be required to
recognize gain or loss on the Effective Date even if there is not complete certainty as to the full
amount of Distributions that will be received by such U.S. Holder pursuant to the Plan. In this
case, such U.S. Holder could then be required to adjust the amount of gain or loss ultimately
realized when the full amount of the Distribution has been made and the full calculation of total
gain or loss can be completed. These rules are complex and U.S. Holders of Allowed Claims are
advised to consult with their own tax advisors as to the timing rules described above in connection
with the Plan and the tax consequences to them under such rules.

       4. Certain U.S. Federal Income Tax Treatment with Respect to Non-U.S. Holders of
          Allowed Claims

       For purposes of this discussion, a “Non-U.S. Holder” means a beneficial owner of an
Allowed Claim that is not a U.S. Holder, other than any partnership (or other Entity treated as a
partnership or other pass-through Entity for U.S. federal income tax purposes) the tax treatment
of which will depend on the status of the partners and activities of the partnership. The following
discussion includes only certain U.S. federal income tax consequences of the Plan to Non-U.S.
Holders. This discussion does not include any non-U.S. tax considerations. The rules governing
the U.S. federal income tax consequences to Non-U.S. Holders are complex. Each Non-U.S.
Holder is urged to consult its own tax advisor regarding the U.S. federal, state, local, non-U.S.,
and non-income tax consequences of the consummation of the Plan to such Non-U.S. Holder.



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                      a. Gain Recognition

        Any gain realized by a Non-U.S. Holder in respect of its Allowed Claim (the excess of
the Non-U.S. Holder’s adjusted tax basis in its Allowed Claim and the amount realized by such
Non-U.S. Holder) generally will not be subject to U.S. federal income taxation unless (a) the
Non-U.S. Holder is an individual who was present in the United States for 183 days or more
during the taxable year in which the Effective Date occurs and certain other conditions are met
or (b) such gain is effectively connected with the conduct by such Non-U.S. Holder of a trade or
business in the United States (and, if an income tax treaty applies, such gain is attributable to a
permanent establishment maintained by such Non-U.S. Holder in the United States).

        If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal
income tax at a rate of 30% (or at a reduced rate or exemption from tax under an applicable
income tax treaty) on the amount by which such Non-U.S. Holder’s capital gains allocable to
U.S. sources exceed capital losses allocable to U.S. sources during such taxable year. If the
second exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income
tax with respect to any gain realized if such gain is effectively connected with the Non-U.S.
Holder’s conduct of a trade or business in the United States in the same manner as a U.S. Holder
(except that the Medicare tax would generally not apply) instead of being subject to withholding.
In order to claim an exemption from withholding, such Non-U.S. Holder will be required to
provide a properly executed IRS Form W-8ECI (or such successor form as the IRS designates).
In addition, if such Non-U.S. Holder is a corporation, it may be subject to a branch profits tax
equal to 30% (or a lower rate provided by an applicable income tax treaty) of its effectively
connected earnings and profits for the taxable year, subject to certain adjustments.

                      b. FATCA

        Under legislation commonly referred to as the Foreign Account Tax Compliance Act
(“FATCA”), foreign financial institutions and certain other foreign entities must report certain
information with respect to their U.S. account holders and investors or be subject to withholding
at a rate of 30% on the receipt of “withholdable payments.” For this purpose, “withholdable
payments” are generally U.S. source payments of fixed or determinable, annual or periodical
income, and, subject to the paragraph immediately below, also include gross proceeds from the
sale of any property of a type that can produce U.S. source interest or dividends. FATCA
withholding will apply even if the applicable payment would not otherwise be subject to U.S.
federal nonresident withholding.

        FATCA withholding rules were previously scheduled to take effect on January 1, 2019,
which would have applied to payments of gross proceeds from the sale or other disposition of
property of a type that can produce U.S. source interest or dividends. However, such withholding
has effectively been suspended under proposed Treasury Regulations that may be relied on until
final regulations become effective. Nonetheless, there can be no assurance that a similar rule will
not go into effect in the future prior to the Debtors’ final Distribution to Non-US Holders.

      Each Non-U.S. Holder should consult its own tax advisor regarding the possible impact
of FATCA withholding rules on such Non-U.S. Holder.


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       5. Withholding on Distributions and Information Reporting

        All Distributions to U.S. Holders of Allowed Claims under the Plan are subject to any
applicable tax withholding, including employment tax withholding (if applicable). In addition,
under U.S. federal income tax law, interest, dividends, and other reportable payments may be
subject to “backup withholding” at the then applicable withholding rate if a U.S. Holder (a) fails
to furnish its social security number or other taxpayer identification number, (b) furnishes an
incorrect taxpayer identification number, (c) fails properly to report interest or dividends, or (d)
under certain circumstances, fails to provide a certified statement, signed under penalty of
perjury, that the tax identification number provided is its correct number and that it is not subject
to backup withholding.

       Backup withholding is not an additional tax but merely an advance payment, which may
be refunded to the extent it results in an overpayment of tax. Certain persons are exempt from
backup withholding, including, in certain circumstances, corporations and financial institutions.
Holders of Allowed Claims are urged to consult their tax advisors regarding the Treasury
Regulations governing backup withholding and whether the transactions contemplated by the
Plan would be subject to these Treasury Regulations.

        Treasury Regulations may also require participation of certain transactions to be disclosed
by a U.S. Holder on its U.S. federal income tax return, including, among other types of
transactions, transactions that result in the U.S. Holder claiming a loss in excess of specified
thresholds. U.S. Holders subject to the Plan are urged to consult their tax advisors regarding these
regulations and whether the transactions contemplated by the Plan would be subject to these
rules. Non-U.S. Holders are urged to consult their tax advisors regarding potential withholdings
on Distributions by the Debtors.

     THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. NOTHING HEREIN SHALL CONSTITUTE TAX ADVICE. THE TAX
CONSEQUENCES ARE IN MANY CASES UNCERTAIN AND MAY VARY
DEPENDING ON A HOLDER’S PARTICULAR CIRCUMSTANCES. ACCORDINGLY,
HOLDERS ARE URGED TO CONSULT THEIR TAX ADVISORS ABOUT THE
UNITED STATES FEDERAL, STATE AND LOCAL, AND APPLICABLE FOREIGN
INCOME AND OTHER TAX CONSEQUENCES OF THE PLAN.

J.     Recoveries under the Plan are Based on a Post-Petition Tax Re-Allocation and
       Intercompany Settlements

           Commencing in February 2023, the Chief Restructuring Officer and the Chief Financial
Officer undertook a review of historical practices in connection with the tax allocation and
intercompany settlements among the Debtors as provided for under the Debtors’ books and records
and the Tax Allocation Agreement (including all amendments thereto) (the “Tax Re-Allocation
and Intercompany Settlements”). The review process included reviewing historical tax returns and
financial data to calculate the amount of tax payment that would have been due from each company
if that company had been treated as a standalone Entity for tax filing purposes. Next, pursuant to
the Tax Allocation Agreement, the amount of each company’s tax liability was determined as that
company’s pro-rata share of the consolidated tax liability. When amended returns were filed for

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tax years 2018 and 2019 allowing carry back of losses to prior years, the refund was again allocated
to each company that had been assessed a tax liability in the amount charged to that company,
effectively providing refund of all tax allocated during the 2014 thru 2021 timeframe. When the
result of this analysis was compared to the actual intercompany transfers made pursuant to the Tax
Allocation Agreement, it was discovered that prior management had improperly determined the
amounts due to or from affiliates, resulting in some companies receiving tax benefits significantly
greater than they would have received as standalone entities and other entities assessed for tax
liabilities significantly greater than would have been due if that company were a standalone Entity.
On or about April 30, 2023, adjusting entries were made to accurately reflect each Entity’s
appropriate obligation under the Tax Allocation Agreement and, where appropriate, recovering
any excess amount paid to a given Entity. Thus, on a re-allocated basis, FNIC has a current net
balance due from FNHC of approximately $17.6 million, less the $29.6 million reversal of the
FNHC payable to FNIC, leaving a net payable from FNIC to FNHC of approximately $12 million.
Additionally, the current Tax Refund, once received, will be reallocated to those entities that had
been over-assessed for tax liabilities to partially offset the historic incorrect assessments. The
Debtors and Committee believe that the Tax Re-Allocation and Intercompany Settlements as
provided for below accurately reflect the appropriate allocation as set forth in the Debtors’ books
and records and as provided for under the Tax Allocation Agreement.

Summary of Tax Re-Allocation and Intercompany Settlements:30

                     2014 - 2021 Tax                          FNIC        FNU/FNA             CRIS         ILINK        MNIC         MIC         CC         MMI           Total
Historical: Net Payable to(from) FNHC in tax allocations   (29,642,058)   63,069,187      16,467,049     (1,552,176) (1,131,342) (7,076,627)   976,415     (481,598)   40,628,850
Revised: Stand alone tax liability                                   -            -                  -          -            -             -          -         -                 -
Benefit of Corrected tax allocation to (from) FNHC         29,642,058     (63,069,187) (16,467,049)       1,552,176    1,131,342   7,076,627   (976,415)   481,598     (40,628,850)


Original balance due to (from) FNHC                        17,646,477      (1,611,490)         79,250    (1,428,227)   (266,099)           -   (203,489)               14,216,422
Corrected balance due to (from) FNHC                       11,995,581     (61,457,697) (16,546,299)       2,980,403    1,397,441   7,076,627   (772,926)   481,598     (54,845,272)


Application of pending Refund (1)                                    -     9,900,478       2,665,513           -            -              -   124,514          -      12,690,504


1) Based on pending tax refund of $12,690,504 allocated ratably by net payable to FNHC over 2014 - 2021



        Notwithstanding the foregoing, the DFS Receiver expressly disputes the above-referenced
review, accounting adjustments, and re-allocations by the Chief Restructuring Officer and the
Chief Financial Officer of the historical practices in connection with the tax allocation and
intercompany settlements among the Debtors. The DFS Receiver also expressly disputes that such
review, accounting adjustments, and re-allocations were or are at all consistent with applicable
law, the Tax Allocation Agreement, the Debtors’ accounting practices, or the Debtors’ prior
conduct or representations concerning the tax allocations and intercompany settlements among the
Debtors. Accordingly, the DFS receiver reserves all rights with respect to such review, accounting
adjustments, and re-allocations, including without limitation, the right to object to and challenge
any adjustments or re-allocations all of which are set forth by the Debtors without any presumption
that the Debtors’ proposed Tax Re-Allocation is correct, lawful or appropriate. If the DFS
Receiver prevails in the Tax Refund Dispute, recovery for creditors of all or certain Debtors
may be negatively affected.


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  As a result of the Settlement Agreement with the Hale Related Parties, the tax receivable due from Monarch (MNIC)
under the Tax Re-Allocation and Intercompany Settlements has been reduced to $0.00.

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        For the avoidance of doubt, nothing in the First Amended Combined Disclosure
Statement and Plan or the Confirmation Order, including, without limitation, the settlement,
release, injunction, and exculpation provisions of Article XII of this Plan, shall: (i) affect the
Tax Allocation Agreement; (ii) affect, impair, release, or otherwise constitute or be deemed
a waiver of, any cause of action, claim, or defense that the DFS Receiver may hold concerning
the Tax Allocation Agreement, the Tax Re-Allocation and Intercompany Settlements, the
Tax Refund Dispute, or the Tax Refunds; (iii) constitute a judicial determination concerning
the Tax Allocation Agreement, the Tax Re-Allocation and Intercompany Settlements, the
Tax Refund Dispute, or the Tax Refunds; or (iv) constitute res judicata, collateral estoppel,
issue preclusion, claim preclusion, waiver, or estoppel (judicial, equitable or otherwise)
concerning any aspect of the Tax Allocation Agreement, the Tax Re-Allocation and
Intercompany Settlements, the Tax Refund Dispute, or the Tax Refunds. Nor shall any
calculations, figures, statements, or findings made in connection with this First Amended
Combined Disclosure Statement and Plan or the Confirmation Order constitute findings of
facts or conclusions of law with respect to the rights, title and interest of the parties to the
Tax Allocation Agreement, the Tax Re-Allocation and Intercompany Settlements, the Tax
Refunds, or the Tax Refund Dispute. For the avoidance of doubt, all disputes concerning
the Tax Allocation Agreement, the Tax Re-Allocation and Intercompany Settlements, the
Tax Refunds, and the Tax Refund Dispute and all positions, claims or defenses of the parties
to the Tax Allocation Agreement in all respects and for all purposes are expressly preserved.

                                          ARTICLE VII

                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.     Appointment of a Plan Administrator

        On the Effective Date, the Plan Administrator shall be appointed without any further action.
The duties, powers and obligations of the Plan Administrator shall be set forth in the Plan
Administrator Agreement. Among other things, the Plan Administrator shall be responsible for
implementing the Plan, including, without limitation, monetizing or abandoning all of Liquidating
FedNat’s assets, pursuing or abandoning all Causes of Action, resolving all Claims, and
distributing Net Free Cash pursuant to the Plan. The Plan Administrator Agreement is attached
hereto as Exhibit B.

B.     Fees and Expenses of Plan Administrator

       Except as otherwise ordered by the Bankruptcy Court, any reasonable fees or expenses of
the Plan Administrator, (including, without limitation, the reasonable fees and expenses of
professionals retained by the Plan Administrator), shall be paid in accordance with the Plan
Administrator Agreement.

C.      Directors/Officers/Equity/Assets of the Debtors on the Effective Date

        On the Effective Date, the persons then acting as directors and officers of each of the
Debtors shall (i) be relieved and discharged from all further authority, duties, responsibilities, and
obligations relating to and arising from the Debtors or the Chapter 11 Cases; and (ii) deemed to

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have resigned or be terminated as to their positions with the applicable Debtors without any further
action. For the avoidance of doubt, nothing contained in this Article VII.C is intended to or shall
release the Debtors’ D&Os from Claims.

D.        Plan Administrator

       1.      On the Effective Date, the Plan Administrator shall succeed to such powers as
would have been applicable to the Debtors’ officers, directors and shareholders and Liquidating
FedNat shall be authorized to be (and, upon the conclusion of the Wind Down, shall be) dissolved
by the Plan Administrator. All property of the Debtors’ Estates not Distributed to the Holders of
Claims or Interests on the Effective Date shall vest in Liquidating FedNat consistent with
paragraph I below and shall be managed and Distributed by the Plan Administrator in accordance
with the provisions of this First Amended Combined Disclosure Statement and Plan.

         2.     As provided in the Plan Administrator Agreement, the Entity chosen to be the Plan
Administrator shall have such qualifications and experience to enable it to perform its obligations
under the Plan and under the Plan Administrator Agreement. Following the Effective Date and in
the event of the resignation or removal, liquidation, dissolution, death or incapacity of the Plan
Administrator, counsel for the former Plan Administrator may file a motion with the Bankruptcy
Court requesting the appointment a successor Plan Administrator and to become fully vested with
all of the rights, powers, duties and obligations of the predecessor Plan Administrator. The Plan
Administrator’s reasonable fees, costs and expenses shall be compensated and reimbursed by the
assets held by Liquidating FedNat as set forth in, and in accordance with, the Plan Administrator
Agreement.

        3.      The Plan Administrator shall be deemed the representative of each of the Debtors’
Estates in accordance with section 1123 of the Bankruptcy Code and shall have all the rights and
powers set forth in the Plan Administrator Agreement, including, without limitation (and except
as otherwise provided in the Plan Administrator Agreement), the powers of a trustee under sections
704 and 1106 of the Bankruptcy Code and Bankruptcy Rule 2004, including, without limitation,
the right to (a) effect all actions and execute all agreements, instruments and other documents
necessary to implement the provisions of the Plan and the Plan Administrator Agreement,

                (a)    Investigate, prosecute, settle, abandon or compromise any Causes of
Action,

                (b)    make Distributions contemplated hereby,

                (c)    establish and administer the Disputed Claims Reserve,

             (d)    object to Claims and prosecute, settle, compromise, withdraw or resolve in
any manner approved by the Bankruptcy Court objections to such claims,

                (e)    liquidate Liquidating FedNat’s assets,

               (f)    employ and compensate professionals and other agents, including one or
more of the Professionals in accordance with the Plan Administrator Agreement, and


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            (g)    effect all actions and execute all agreements, instruments, and other
documents necessary to implement the provisions of the Plan and the Plan Administrator
Agreement.

E.     Wind Down and Dissolution of the Debtors

         After the Effective Date, Liquidating FedNat shall remain in existence for the sole purpose
of liquidation, distribution, and dissolution. On and after the Effective Date, the Plan Administrator
shall make Distributions under the Plan and shall implement the dissolution of each of the entities
comprising Liquidating FedNat and monetization of any assets of Liquidating FedNat pursuant to
the Plan Administrator Agreement, any other provision of the Plan and any applicable orders of
the Bankruptcy Court, and the Plan Administrator shall have the power and authority to take any
action necessary to wind down and dissolve each of the entities comprising Liquidating FedNat.
As soon as practicable after the Effective Date, the Plan Administrator shall: (a) take any action
reasonably necessary to effectuate the Wind Down; (b) file for each of the entities comprising
Liquidating FedNat, a certificate of dissolution, together with all other necessary corporate and
company documents, to effect the dissolution of Liquidating FedNat under applicable non-
bankruptcy law; (c) complete and file all final or otherwise required federal, state and local tax
returns of the Debtors or Liquidating FedNat, as applicable, and pursuant to section 505(b) of the
Bankruptcy Code, request an expedited determination of any unpaid tax liability of any of the
entities comprising Liquidating FedNat, the Debtors or their Estates for any tax incurred during
the administration of the Chapter 11 Cases, as determined under applicable tax laws; (d) take such
other actions as the Plan Administrator may determine to be necessary or desirable to carry out the
purposes of the Plan; and (e) comply with any regulatory requirements imposed on Liquidating
FedNat under applicable law. The filing by the Plan Administrator of certificates of dissolution on
behalf of each of the entities comprising Liquidating FedNat shall be authorized and approved in
all respects without further action under applicable law, regulation, order or rule, including,
without limitation, any action by the stockholders or the board of directors of the Debtors or
Liquidating FedNat, as applicable.

F.     Payment of Senior Notes Indenture Trustee Fees

        The Senior Notes Indenture Trustees have asserted informally that (a) the Senior Notes
Claims can be charged against all of the Debtors and (b) the fees and expenses of the Senior Notes
Indenture Trustees for the post-petition period are entitled to administrative claim priority on
account of services provided pursuant to the Senior Indentures. Following discussions with the
Senior Notes Indenture Trustees and considering the potential impact on the creditors of Debtors
other than FNHC of the Senior Notes Claims being asserted against those Debtors, the Debtors
and the Committee have agreed to provide for the payment of the fees and expenses of the Senior
Notes Indenture Trustees on the Effective Date of the Plan.

       On the Effective Date, the Plan Administrator shall pay in Cash all reasonable and
documented unpaid Senior Notes Indenture Trustee Fees incurred after the Petition Date that are
required to be paid under the Senior Indentures, without the need for the Senior Notes Indenture
Trustees to file fee applications with the Bankruptcy Court. From and after the Effective Date, the
Plan Administrator shall pay in Cash any and all reasonable and documented Senior Notes
Indenture Trustee Fees, including, without limitation, all Senior Notes Indenture Trustee Fees

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incurred in connection with the cancellation and discharge of the Senior Indentures. Nothing
herein shall in any way affect or diminish the right of the Senior Notes Indenture Trustees to
exercise their Senior Notes Indenture Trustee Charging Liens against distributions on account of
the Senior Notes Claims with respect to any unpaid Senior Notes Indenture Trustee Fees, as
applicable.

G.     Cancellation of Existing Securities and Agreements; Claims of Subordination; Release and
       Discharge of Senior Notes Indenture Trustees

        1.      Except for the purpose of evidencing a right to a distribution under this Plan or as
otherwise provided in this Plan, the Confirmation Order or any agreement, instrument, or other
document incorporated in this Plan, the Confirmation Order, or the Plan Supplement, on the
Effective Date, (1) any certificate, security, share, note, bond, credit agreement, indenture,
purchase right, option, warrant, or other instrument or document directly or indirectly evidencing,
relating to, or creating any indebtedness or obligation of or ownership interest in the Debtors or
giving rise to any Claim or Interest or to any rights or obligations relating to any Claims against
or Interests in the Debtors (except such certificates, notes, or other instruments or documents
evidencing indebtedness or obligation of or ownership interest in the Debtors that are Reinstated
pursuant to the Plan) and any rights of any Holder in respect thereof shall be cancelled without any
need for a Holder to take further action with respect thereto, and the duties and obligations of all
parties thereto, including the Debtors or Liquidating FedNat, as applicable, thereunder or in any
way related thereto shall be deemed satisfied in full, canceled, released, discharged, and of no force
or effect; and (2) the obligations of the Debtors or Liquidating FedNat pursuant, relating, or
pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or
articles of incorporation or similar documents governing the shares, certificates, notes, bonds,
indentures, purchase rights, options, warrants, or other instruments or documents evidencing or
creating any indebtedness or obligation of or ownership interest in the Debtors (except such
agreements, certificates, notes, or other instruments evidencing indebtedness or obligation of or
ownership interest in the Debtors that are specifically Reinstated pursuant to the Plan) shall be
released and discharged.

         2.     On the Effective Date, notwithstanding anything to the contrary in the Plan, all of
the Senior Notes, the Senior Notes Indentures, and any other document, agreement, or instrument
evidencing any Claim or Interest, shall be deemed cancelled without further act or action under
any applicable agreement, law, regulation, order, or rule and the obligations of the Debtors under
the Senior Notes, the Senior Indentures, or other such documents, agreements, or instruments
evidencing such Claims and Interests, as the case may be, shall be deemed extinguished, and the
Senior Notes Indenture Trustees, and their respective agents, successors and assigns shall each be
automatically and fully released and discharged of and from all duties to the holders of Senior
Notes Claims under the relevant Senior Indentures; provided, that, the provisions of each Senior
Indenture or agreement that governs the rights of the Holder of a Claim or Interest shall continue
in full force and effect solely to the extent necessary to (i) allow holders of Senior Notes Claims
or other such Claims or Interests to receive distributions under the Plan (and all distribution
provisions in any such agreement shall terminate completely upon completion of all such
distributions); (ii) allow holders of Senior Notes Claims to retain their respective rights and
obligations vis-à-vis other holders of Senior Notes Claims; (iii) preserve all rights, protections, and
powers of the Senior Notes Indenture Trustee as against the holders of Senior Notes Claims under

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the Senior Indentures; (iv) allow the Senior Notes Indenture Trustee to enforce any obligations
owed to it individually under the Plan; (v) preserve the Senior Notes Trustee’s rights to
compensation and indemnification under the Senior Indentures, as against any money or property
distributable to holders of Senior Notes Claims, including permitting the Senior Notes Indenture
Trustee to maintain, enforce, and exercise a Senior Notes Trustee Charging Lien against such
distributions; and (vi) preserve all rights, including rights of enforcement, of the Senior Notes
Indenture Trustee against any Person other than the Debtors, the Plan Administrator, or a Released
Party, including but not limited to claims for indemnification or contribution from the holders of
Senior Notes Claims pursuant and subject to the relevant Senior Indentures.

         3.     On the Effective Date, each holder of a certificate or instrument evidencing a Claim
that is discharged by the Plan shall be deemed to have surrendered such certificate or instrument
in accordance with the applicable indenture or agreement that governs the rights of such holder of
such Claim. Such surrendered certificate or instrument shall be deemed canceled as set forth in,
and subject to the exceptions set forth in, this Article VII.

        4.      Notwithstanding Article VII.F.1, the Plan Administrator shall be deemed the
holder of all equity interests in Liquidating FedNat on and after the Effective Date solely to
effectuate the terms hereof, provided, however, that, notwithstanding any provisions to the
contrary contained in the Plan or Plan Administrator Agreement, the Plan Administrator shall not
sell, convey or otherwise transfer any equity interest in Liquidating FedNat absent: (a) the filing
of a motion with the Bankruptcy Court; (b) entry of any order by the Bankruptcy Court authorizing
any such sale, conveyance or other transfer in accordance with Article VII.D.3; (c) the filing of all
appropriate forms by the Plan Administrator, prior to any such sale, conveyance or transfer,
terminating any continuing reporting obligations under the Securities and Exchange Act of 1934,
and any regulations promulgated thereunder; (d) confirmation that such sale, conveyance or
transfer would not result in Liquidating FedNat becoming a public reporting company under the
Securities and Exchange Act of 1934, and any regulations promulgated thereunder; and (e)
compliance with federal securities laws.

H.     Committee

         As of the Effective Date, the Committee shall be deemed dissolved without any further
action, and its members shall be released and discharged from all further authority, duties,
responsibilities and obligations relating to and arising from the Chapter 11 Cases. The retention
and employment of the Professionals retained by the Committee shall terminate as of the Effective
Date, provided, however, that the Committee shall exist, and its Professionals shall be retained,
after such date solely with respect to applications Filed pursuant to sections 330 and 331 of the
Bankruptcy Code.

I.     Vesting of Assets in Liquidating FedNat

        Except as otherwise provided in this Plan or in any agreement, instrument or other
document relating thereto, on or after the Effective Date pursuant to section 1141 of the
Bankruptcy Code, all property of the Debtors’ Estates including, without limitations, all Causes of
Action, and any property acquired by the Debtors pursuant hereto shall vest in the appropriate
Entity comprising Liquidating FedNat, free and clear of all Liens, Claims, charges or other


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encumbrances. For the avoidance of doubt, all property of the Estate of Debtor FNHC shall vest
in Liquidating FNHC, all property of the Estate of Debtor FNU shall vest in Liquidating FNU, all
property of the Estate of Debtor ClaimCor shall vest in Liquidating ClaimCor, all property of the
Estate of Debtor Insure-Link shall vest in Liquidating Insure-Link and all property of the Estate of
Debtor CRIS shall vest in Liquidating CRIS, subject to the terms of this Plan. Except as may be
provided in this Plan, the Plan Administrator Agreement or the Confirmation Order, on and after
the Effective Date, Liquidating FedNat may use, acquire or dispose of property and compromise
or settle any Claims without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

         Further, all of the Debtors’ evidentiary privileges, including the attorney/client privilege,
shall be deemed transferred to Liquidating FedNat. This First Amended Combined Disclosure
Statement and Plan shall be considered a motion pursuant to sections 105, 363 and 365 of the
Bankruptcy Code for such relief. Upon such transfer, the Debtors shall have no other further rights
or obligations with respect thereto. Nothing herein shall be deemed a waiver of the Debtors’ rights
of privilege. For the avoidance of doubt, nothing herein shall create any obligation by the Debtors
or the Debtors’ or Committee’s Professionals to turnover or produce any documents, records or
communications (privileged or otherwise). To the extent the Debtors’ or Committee’s
Professionals are required to turnover any documents, records or communications (privileged or
otherwise), such professionals shall be entitled to compensation at their normal hourly rates (and
reimbursement of out-of-pocket expenses) from Liquidating FedNat for reasonable amounts of
their time they incur.

J.     Deregistration

        As soon after the Effective Date as is practicable, the Plan Administrator shall take such
action as is reasonably necessary to relieve Liquidating FedNat of any obligation to file periodic
reports with the United States Securities and Exchange Commission or to otherwise comply with
the statutory or regulatory requirements of a publicly traded company, including, but not limited
to, seeking to deregister the FNHC Stock Interests.

K.     Intercompany Claims

        Intercompany Claims shall be preserved, unless otherwise agreed or resolved between the
parties to a given Intercompany Claim or otherwise released by operation of the Plan. Any such
transaction may be effected without any further action by the stockholders of any of the Debtors.
Notwithstanding the foregoing, any proposed settlement, compromise, waiver, extinguishment, or
resolution of any Intercompany Claim shall be subject to approval of the Bankruptcy Court, and
the Plan Administrator shall not propose any compromise, waiver, extinguishment, or resolution
of any Intercompany Claim that would unfairly negatively impact, impair, reduce, or diminish in
any respect the treatment on account of the Allowed Monarch Claims and the Allowed HGMA
Claims as projected in the Chapter 11 Plan for each Debtor, nor conflict in any manner with or
violate the Settlement Agreement.




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L.     Merger/Dissolution/Consolidation

         On or as of the Effective Date or as soon as practicable thereafter, and without the need
for any consent or approval not expressly set forth herein, the Plan Administrator may, in its sole
and absolute discretion, (i) take appropriate corporate action in its capacity as the sole shareholder
of each of the entities comprising Liquidating FedNat, FNHC, FNU, CRIS, ClaimCor, and Insure-
Link, to replace or appoint officers and directors and any other appropriate actions, including, but
not limited to, dismissing the Chapter 11 Cases of any of the Liquidating FedNat subsidiaries or
converting the Chapter 11 Cases of any of the Liquidating FedNat subsidiaries to a case under
chapter 7 of the Bankruptcy Code; (ii) cause any of the Liquidating FedNat subsidiaries to be
merged, dissolved, or otherwise consolidated with each other or with Liquidating FNHC, or (iii)
engage in any other transaction with respect to the Liquidating FedNat entities in furtherance of
the Plan. Notwithstanding the foregoing, in the event that Liquidating FedNat and/or the Plan
Administrator were to seek to merge, consolidate, or effect any similar corporate action that would
have the effect of disregarding or eliminating the separateness of one or more of the entities
comprising Liquidating FedNat, that any such proposed corporate action by the Plan Administrator
is subject to approval of the Bankruptcy Court, and the Plan Administrator shall not seek to
effectuate any such merger if such transfer negatively impacts, impairs, reduces, or diminishes in
any respect the treatment on account of the Allowed Monarch Claims and the Allowed HGMA
Claims as projected in the Chapter 11 Plan for each Debtor, nor conflict in any manner with or
violate the Settlement Agreement.

        Any allocation by the Plan Administrator and/or Liquidating FedNat of fees to the
individual entities comprising Liquidating FedNat shall be subject to Bankruptcy Court approval
and shall not unfairly negatively impact, impair, reduce, or diminish in any respect the treatment
on account of the Allowed Monarch Claims and the Allowed HGMA Claims as projected in the
Chapter 11 Plan for each Debtor, nor conflict in any manner with or violate the Settlement
Agreement.

M.     Termination of Voting Agent

        At any time following the Effective Date, the Plan Administrator shall be authorized to
terminate the services of the Voting Agent by providing advance written notice to the Voting
Agent, without need for order of the Bankruptcy Court or any other party. Following termination,
the Voting Agent shall provide the Plan Administrator and the Bankruptcy Court with a copy of
the claims register and a copy of all filed Proofs of Claim. No later than thirty (30) days after its
termination, the Voting Agent shall provide the Plan Administrator with a final invoice, and unless
the Plan Administrator has any issues with respect to the Voting Agent’s fees or expenses, the Plan
Administrator will be authorized to remit payment of the final invoice within fifteen (15) days of
receipt. The Bankruptcy Court will retain jurisdiction to hear any dispute in the event that the Plan
Administrator and Voting Agent cannot agree upon the amount of fees and expenses sought by the
Voting Agent.

N.     Effectuating Documents; Further Transactions

       On and after the Effective Date, the Plan Administrator is authorized to, and may issue,
execute, deliver, file, or record, such contracts, instruments, releases, and other agreements or

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documents and take such actions as may be necessary or appropriate to effectuate, implement, and
further evidence the terms and conditions of the Plan, without the need for any approvals,
authorization, or consents, except for those expressly required pursuant to the Plan.

                                         ARTICLE VIII

                       PROVISIONS GOVERNING DISTRIBUTIONS

A.     Initial Distribution Date

      On the Initial Distribution Date or as soon thereafter as is reasonably practicable, the Plan
Administrator, shall make the Distributions required to be made under the Plan.

B.     Disputed Claims Reserve

             1.        Establishment of Disputed Claims Reserve

        On the Initial Distribution Date, and after making all Distributions required to be made on
such date under the Plan, the Plan Administrator shall establish a separate Disputed Claims
Reserve, in an amount to be determined in the sole discretion of the Plan Administrator, for
Disputed Claims, which Disputed Claims Reserve shall be administered by the Plan Administrator.
On each Initial or Quarterly Distribution Date after the Effective Date in which the Plan
Administrator makes Distributions to Holders of Allowed Claims, the Plan Administrator shall
retain on account of Disputed Claims an amount the Plan Administrator estimates would be
necessary to fund the Pro Rata Share of such Distributions to Holders of Disputed Claims if such
Claims were Allowed, with any Disputed Claims that are unliquidated or contingent being reserved
in an amount reasonably determined by the Plan Administrator (or such other amount as may be
estimated by the Bankruptcy Court in accordance with Article IX.D hereof).

             2.        Maintenance of Disputed Claims Reserve

        To the extent that the property placed in the Disputed Claims Reserve consists of Cash,
that Cash shall be deposited in an interest-bearing account, the Plan Administrator, shall hold Cash
in the Disputed Claims Reserve in trust for the benefit of the Holders of Claims ultimately
determined to be Allowed. The Plan Administrator shall, in its sole discretion, distribute such
amounts (net of any expenses, including any taxes relating thereto), as provided herein and in the
Plan Administrator Agreement, as such Disputed Claims are resolved by a Final Order, and such
amounts will be distributable in respect of such Disputed Claims as such amounts would have been
distributable had the Disputed Claims been Allowed Claims as of the Effective Date. Each
Disputed Claims Reserve shall be closed (or deemed closed) by the Plan Administrator when all
distributions have been made pursuant to the Plan. Upon closure of a Disputed Claim Reserve, all
Cash and other property held therein shall revest in the appropriate Liquidating FedNat Debtor and
shall be distributed in accordance with the Plan and Plan Administrator Agreement.

C.     Quarterly Distributions

       On each Quarterly Distribution Date or as soon thereafter as is reasonably practicable (or
such other date that may be selected by the Plan Administrator, in his or her discretion), the Plan

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Administrator shall make the Distributions required to be made under the Plan on such date. Any
Distribution that is not made on the Initial Distribution Date or on any other date specified herein
because the Claim that would have been entitled to receive that Distribution is not an Allowed
Claim on such date, shall be held by Liquidating FedNat as applicable, in the Disputed Claims
Reserve pursuant to Article VIII.B.2 and Distributed on the first Quarterly Distribution Date after
such Claim is Allowed. No interest shall accrue or be paid on the unpaid amount of any
Distribution paid on a Quarterly Distribution Date in accordance with this Article VIII.C.

D.     Record Date for Distributions

        Except as otherwise provided in a Final Order of the Bankruptcy Court, the transferees of
Claims that are transferred pursuant to Bankruptcy Rule 3001 on or prior to the Distribution Record
Date will be treated as the Holders of those Claims for all purposes, notwithstanding that any
period provided by Bankruptcy Rule 3001 for objecting to the transfer may not have expired by
the Distribution Record Date The Plan Administrator shall have no obligation to recognize any
transfer of any Claim occurring after the Distribution Record Date. In making any Distribution
with respect to any Claim, the Plan Administrator shall be entitled instead to recognize and deal
with, for all purposes hereunder, only the Entity that is listed on the Proof of Claim Filed with
respect thereto or on the Schedules as the Holder thereof as of the close of business on the
Distribution Record Date and upon such other evidence or record of transfer or assignment that is
known to the Plan Administrator, as of the Distribution Record Date.

E.     Delivery of Distributions

             1.        General Provisions; Undeliverable Distributions

         Subject to Bankruptcy Rule 9010 and except as otherwise provided herein, Distributions
to the Holders of Allowed Claims shall be made by the Plan Administrator at (i) the address of
each Holder as set forth in the Schedules, unless superseded by the address set forth on Proofs of
Claim Filed by such Holder or (ii) the last known address of such Holder if no Proof of Claim is
Filed or if the Plan Administrator, has been notified in writing of a change of address; provided,
however, that Distributions paid by the Plan Administrator for the benefit of Holders of Senior
Notes Claims shall be made to the appropriate Senior Notes Indenture Trustee under the respective
Senior Notes Indenture documents for such obligations. If any Distribution is returned as
undeliverable, the Plan Administrator may, in his or her discretion, make reasonable efforts to
determine the current address of the Holder of the Claim with respect to which the Distribution
was made as the Plan Administrator deems appropriate, but no Distribution to any such Holder
shall be made unless and until the Plan Administrator has determined the then-current address of
such Holder, at which time the Distribution to such Holder shall be made without interest.
Amounts in respect of any undeliverable Distributions shall be returned to, and held in trust by,
the Plan Administrator until the Distributions are claimed or are deemed to be unclaimed property
under Section 347(b) of the Bankruptcy Code, as set forth in Article VIII.E.2 of the Plan. The
Plan Administrator shall have the discretion to determine how to make Distributions in the most
efficient and cost-effective manner possible; provided, however, that its discretion may not be
exercised in a manner inconsistent with any express requirements of the Plan or Plan Administrator
Agreement.



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             2.        Unclaimed Property

         Except with respect to property not distributed because it is being held in the Disputed
Claim Reserve, Distributions that are not claimed by the later of the expiration of six (6) months
from the Effective Date or thirty (30) days after the date on which a check is voided pursuant to
Article VIII.G of the Plan, shall be deemed to be unclaimed property under Section 347(b) of the
Bankruptcy Code and shall vest or revest in the applicable Liquidating FedNat Debtor, and the
Claims with respect to which those Distributions are made shall be automatically cancelled. After
the expiration of that period, the claim of any Entity to those Distributions shall be disallowed and
forever barred. Nothing contained in the Plan shall require the Plan Administrator to attempt to
locate any holder of an Allowed Claim. All funds or other property that vest or revest in the
Liquidating FedNat Debtor pursuant to this Article shall be distributed by the Plan Administrator
to the other holders of Allowed Claims or Interests in accordance with the provisions of the Plan
or the Plan Administrator Agreement.

F.     Manner of Cash Payments Under the Plan or the Plan Administrator Agreement

        Cash payments made pursuant to the Plan or the Plan Administrator Agreement shall be
in United States dollars by checks drawn on a domestic bank selected by the Plan Administrator
or by wire transfer from a domestic bank, at the option of the Plan Administrator.

G.     Time Bar to Cash Payments by Check

         Checks issued by Liquidating FedNat on account of Allowed Claims shall be null and void
if not negotiated within 90 days after the date of issuance thereof. Requests for the reissuance of
any check that becomes null and void pursuant to this Article VIII.G shall be made directly to the
Plan Administrator by the Holder of the Allowed Claim to whom the check was originally issued.
Any claim in respect of such voided check shall be made in writing on or before the later of six
months after the Effective Date or 60 days after the date on which such check was issued. After
that date, all Claims in respect of void checks shall be discharged and forever barred and the
proceeds of those checks shall revest in and become the property of Liquidating FedNat as
unclaimed property in accordance with section 347(b) of the Bankruptcy Code and be distributed
as provided in Article VIII.E.2.

H.     No Payments of Fractional Dollars

         Notwithstanding any other provision of the Plan to the contrary, no payment of fractional
dollars shall be made pursuant to the Plan. Whenever any payment of a fraction of a dollar under
the Plan would otherwise be required, the actual Distribution made shall reflect a rounding down
of such fraction to the nearest whole dollar.

I.     No Cash Payments Less Than $50 on Account of Allowed Claims

         Notwithstanding anything herein to the contrary, except with respect to Administrative,
Priority Tax Claims and Priority Claims, if a Distribution to be made to a Holder of an Allowed
Claim on the Initial Distribution Date or any Quarterly Distribution Date would be $50 or less in
the aggregate, no such Distribution will be made to that Holder unless a request therefor is made
in writing to the Plan Administrator. If such request is made, such Cash shall be held for such

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Holder until the earlier of (i) the next time a Quarterly Distribution is made to the Holders of
Allowed Claims (unless the Distribution would still be less than $50, in which case this Section
shall again apply), or (ii) subject to Section J] below, the date on which final Distributions are
made to the Holders of Allowed Claims.

J.     Withholding Taxes

         In connection with making Distributions under this Plan, to the extent applicable, the Plan
Administrator shall comply with all tax withholding and reporting requirements imposed on it by
any Governmental Unit, and all Distributions pursuant to this Plan shall be subject to such
withholding and reporting requirements. The Plan Administrator may withhold the entire
Distribution to any Holder of an Allowed Claim until such time as such Holder provides the
necessary information to comply with any withholding requirements of any Governmental Unit.
Any property so withheld will then be paid by the Plan Administrator to the appropriate authority.
If the Holder of an Allowed Claim fails to provide the information necessary to comply with any
withholding requirements of any Governmental Unit within six months after the date of first
notification to the Holder of the need for such information or for the Cash necessary to comply
with any applicable withholding requirements, then such Holder’s Distribution shall be treated in
accordance with Article VIII.E.2of the Plan.

K.     Interest on Claims

        To the extent all Allowed General Unsecured Claims are fully and indefeasibly paid, such
claims shall be entitled to post-petition interest from the Petition Date at the applicable federal
judgment rate and prior to any distributions made to any Interest Holders.

L.     No Distribution in Excess of Allowed Amount of Claim

        Except to the extent required under the Plan, no Holder of an Allowed Claim shall receive
in respect of that Claim any Distribution in excess of the Allowed amount of that Claim.

M.     Setoff and Recoupment

        The Plan Administrator may, but shall not be required to, set off against, or recoup from,
any Claim and the Distributions to be made pursuant to the Plan in respect thereof, any Claims or
defenses of any nature whatsoever that applicable Debtor, the Estate or Liquidating FedNat may
have against the Holder of such Claim, but neither the failure to do so nor the allowance of any
Claim under the Plan shall constitute a waiver or release by the Debtor, the Estate, or Liquidating
FedNat of any right of setoff or recoupment that any of them may have against the Holder of any
Claim.




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                                         ARTICLE IX

                                     DISPUTED CLAIMS

A.     No Distribution Pending Allowance

       Notwithstanding any other provision of the Plan, the Plan Administrator shall not
Distribute any Cash or other property on account of any Disputed Claim unless and until such
Claim becomes Allowed.

B.     Resolution of Disputed Claims

        Unless otherwise ordered by the Bankruptcy Court after notice and a hearing, the Plan
Administrator shall have the right to the exclusion of all others (except as to the Professionals’
applications for allowances of compensation and reimbursement of expenses under sections 330
and 503 of the Bankruptcy Code) to make, File, prosecute, settle, compromise, withdraw or resolve
in any manner approved by the Bankruptcy Court, objections to Claims. The costs of pursuing the
objections to Claims incurred by the Plan Administrator shall be paid from the assets of
Liquidating FedNat.

C.     Objection Deadline

       All objections to Disputed Claims shall be Filed and served upon the Holders of each such
Claim on or before the Claims Objection Deadline, as such deadline may be extended by order of
the Bankruptcy Court, unless otherwise ordered by the Bankruptcy Court after notice and a
hearing.

D.     Estimation of Claims

        At any time, subsequent to the Effective Date, the Plan Administrator may request that the
Bankruptcy Court estimate any contingent or unliquidated Claim to the extent permitted by section
502(c) of the Bankruptcy Code regardless of whether the Debtors (prior to the Effective Date) or,
the Plan Administrator has previously objected to such Claim or whether the Bankruptcy Court
has ruled on any such objection, and the Bankruptcy Court shall have jurisdiction to estimate any
Claim at any time during litigation concerning any objection to such Claim, including during the
pendency of any appeal relating to any such objection.

E.     Disallowance of Claims

        Except as otherwise agreed, any and all Proofs of Claim Filed after the applicable Bar Date
shall be deemed disallowed and expunged as of the Effective Date without any further notice or
action, order or approval of the Bankruptcy Court, and Holders of such Claims may not receive
any Distributions on account of such Claims, unless on or before the Confirmation Date the
Bankruptcy Court has entered an order deeming such Claim to be timely filed.




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                                             ARTICLE X

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

              1.        All Executory Contracts and Unexpired Leases listed in the Plan
Supplement as Executory Contracts or Unexpired Leases to be assumed or are to be assumed
pursuant to the terms hereof, shall be deemed assumed by the applicable Debtor as of immediately
prior to the Effective Date, and the entry of the Confirmation Order by the Bankruptcy Court shall
constitute approval of any such assumptions pursuant to sections 365(a) and 1123 of the
Bankruptcy Code.

               2.        The Plan shall constitute a motion to reject all Executory Contracts and
Unexpired Leases not listed as assumed Executory Contracts or Unexpired Leases in the Plan
Supplement, and neither the Debtors nor Liquidating FedNat shall have no further liability
thereunder except with respect to Claims created by the rejection as set forth in Article X.B. The
entry of the Confirmation Order by the Bankruptcy Court shall constitute approval of any such
rejections pursuant to sections 365(a) and 1123 of the Bankruptcy Code and that the rejection
thereof is in the best interests of the Debtors, their Estates, and all parties in interest in the Chapter
11 Cases.


B.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any and all Claims for damages created by or arising from the rejection of an Executory
Contract or Unexpired Lease pursuant to Article X.B of the Plan, or the expiration or termination
of any Executory Contract or Unexpired Lease prior to the Effective Date, other than Claims, if
any, held by a D&O related to an indemnification obligation of a Debtor, must be filed against the
applicable Debtor or Debtors with the Bankruptcy Court and served on the Plan Administrator no
later than thirty (30) days after the Effective Date. Other than Claims, if any, held by a D&O related
to an indemnification obligation of a Debtor, any Claim arising from the rejection of an Executory
Contract or Unexpired Lease pursuant to Article X.A for which a Proof of Claim is not timely filed
within that time period will be forever barred from assertion against the Debtors, Liquidating
FedNat, the Debtors’ Estates, their successors and assigns, and their assets and properties, unless
otherwise ordered by the Bankruptcy Court or as otherwise provided herein. All such Claims, other
than Claims, if any, held by a D&O related to an indemnification obligation of a Debtor, shall, as
of the Rejection Bar Date, be subject to the permanent injunction set forth in Article XII.F. Unless
otherwise ordered by the Bankruptcy Court, all such Claims that are timely filed as provided herein
shall be treated under the Plan as General Unsecured Claims against the applicable Debtor or
Debtors against whom the Claim is filed and shall be subject to the provisions of Article V of the
Plan. For avoidance of doubt, nothing in this Plan shall be deemed to extend the period to file any
Rejection Damage Claims for all Executory Contracts or Unexpired Leases previously rejected
pursuant to any prior orders entered by the Bankruptcy Court authorizing such rejections. For the
further avoidance of doubt, the Claims, if any, held by a D&O related to an indemnification
obligation of a Debtor must be filed against the applicable Debtor or Debtors with the Bankruptcy
Court and served on the Plan Administrator no later than thirty (30) days after any civil action or

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proceeding seeking to recover on Causes of Action against the D&O has been properly served on
the D&O.

                                         ARTICLE XI

     CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATE

A.      Conditions to Confirmation:

        The following are conditions precedent to entry of the Confirmation Order that must be
satisfied or waived in accordance with Article XI.C:

              1.      The Bankruptcy Court shall have approved the Disclosure Statement as
      containing adequate information with respect to the Plan within the meaning of section 1125
      of the Bankruptcy Code in form reasonably acceptable to the Committee.

             2.       All objections to confirmation of the Plan are either withdrawn, resolved or
      overruled.

            3.        The most current version of the Plan Supplement and all of the schedules,
      documents, and exhibits contained therein shall have been filed.

            4.       The Confirmation Order to be presented to the Bankruptcy Court at the
      Confirmation Hearing shall be acceptable to the Committee.

B.      Conditions Precedent to the Effective Date

      The following are conditions precedent to the Effective Date that must be satisfied or
waived in accordance with Article XI.C:

                1.    The Confirmation Order shall not be stayed and shall be in full force and
      effect.

                2.    The Benefit Plans shall have been terminated in accordance with applicable
      law.

             3.        The Plan Administrator shall have been appointed in accordance with the
      terms of the Plan and the Plan Administrator Agreement.

              4.       The Confirmation Order in form reasonably acceptable to the Committee
      shall have been entered.

C.      Waiver of Conditions Precedent

        The Committee may waive the occurrence of or modify any condition precedent in this
Article XI. Any such written waiver of a condition precedent set forth in this Article XI may be
effected at any time, without notice, without leave or order of the Bankruptcy Court, and without
any formal action other than proceeding to consummate the Plan. The failure of the Committee to


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exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
such right shall be deemed an ongoing right, which may be asserted at any time. Any actions
required to be taken on the Effective Date shall take place and shall be deemed to have occurred
simultaneously, and no such action shall be deemed to have occurred prior to the taking of any
other such action.

D.     Binding Effect of Plan

        The provisions of the confirmed Plan shall bind each of the Debtors, the Plan
Administrator, any Entity acquiring property under the Plan, any Beneficiary, and any Creditor or
Interest Holder, whether or not such Creditor or Interest Holder has filed a Proof of Claim or
Interest in these Chapter 11 Cases, whether or not the Claim of such Creditor or the Interest of
such Interest Holder is impaired under the Plan, and whether or not such Creditor or Interest Holder
has accepted or rejected the Plan. All Claims and Debts shall be fixed and adjusted pursuant to this
Plan. This Plan shall also bind any taxing authority, recorder of deeds, or similar official for any
county, state, or Governmental Unit or parish in which any instrument related to under this Plan
or related to any transaction contemplated under this Plan is to be recorded with respect to any
taxes of the kind specified in Bankruptcy Code Section 1146(a).



                                           ARTICLE XII

        SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.     Compromise and Settlement of Claims, Interests, and Controversies

         Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the distributions and other benefits provided pursuant to the Plan, the provisions
of the Plan shall constitute a good faith compromise of all Claims, Interests and controversies
relating to the contractual, legal and subordination rights that a Holder of a Claim or Interest may
have with respect to any Allowed Claim or Allowed Interest, or any distribution to be made on
account of such Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
Interests, and controversies, as well as a finding by the Bankruptcy Court that such compromise
or settlement is in the best interests of the Debtors, their Estates and Holders of Claims and Interests
and is fair, equitable and reasonable. In accordance with the provisions of the Plan and except as
otherwise provided herein, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice to or action, order or approval of the Bankruptcy Court, after
the Effective Date, the Plan Administrator may compromise and settle Claims against the Debtors
or their Estates and Causes of Action against other Entities.

B.     Releases by the Debtors

       Subject to the exceptions established by the D&O Release Opt Out Order and other
provisions of this Plan protecting the rights of the D&Os who were deemed to have elected
out of, not granted, and not been bound by the releases, discharges, injunctions, and


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exculpation provisions proposed in the First Amended Combined Disclosure Statement and
Plan, but are now included as Exculpated Parties in the exculpation provisions in the Plan,
to the fullest extent permitted by applicable law and approved by the Bankruptcy Court,
pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration,
effective on and after the Effective Date, the Released Parties shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever been released and
discharged by the Debtors and the Estates from any and all past or present Claims, Interests,
indebtedness and obligations, rights, suits, losses, damages, injuries, costs, expenses, Causes
of Action, remedies, and liabilities whatsoever, including any derivative Claims, asserted on
behalf of the Debtors, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, suspected or unsuspected, accrued or unaccrued, fixed, contingent, pending or
threatened, existing or hereinafter arising, in law, equity, or otherwise, whether for tort,
fraud, contract violations of federal or state laws or otherwise, those Causes of Action based
on veil piercing or alter-ego theories of liability, contribution, indemnification, joint liability
or otherwise that the Debtors, the Estates, or their Affiliates would have been legally entitled
to assert in their own right (whether individually or collectively) or on behalf of the Holder
of any Claim or Interest or other Entity, based on or relating to any act, omission,
transaction, event, or other occurrence taking place on or prior to the Effective Date
(collectively, “Debtor Released Claims”) based on or relating to, or in any manner arising
from, in whole or in part, the Debtors, the Debtors’ restructuring efforts, the Chapter 11
Cases, the subject matter of, or the transactions or events giving rise to, any Claim or Interest
that is treated in the First Amended Combined Disclosure Statement and Plan, the business
or contractual arrangements between any Debtor and any Released Party, the restructuring
of Claims and Interests prior to or during the Chapter 11 Cases, the negotiation, formulation,
or preparation of the First Amended Combined Disclosure Statement and Plan, the Plan
Supplement, the Plan Administrator Agreement or any related agreements, instruments, or
other documents, the pursuit of Confirmation, any action or actions taken in furtherance of
or consistent with the administration or implementation of the First Amended Combined
Disclosure Statement and Plan or the Distributions and related documents or other property
under the First Amended Combined Disclosure Statement and Plan, upon any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date arising from or relating to any of the foregoing. For the avoidance of doubt,
nothing in the foregoing “Debtor Releases” or the First Amended Combined Disclosure
Statement and Plan shall operate to waive or release (i) any Causes of Action of any Debtor
arising from any act or omission of a Released Party that constitutes fraud, gross negligence,
or willful misconduct, (ii) any post-Effective Date obligations of any party under the First
Amended Combined Disclosure Statement and Plan or any document, instrument, or
agreement executed in connection with the First Amended Combined Disclosure Statement
and Plan; (iii) any Causes of Action against any insurer arising out of or relating to matters
for which the Debtors would otherwise be liable or suffer an insurable loss, including without
limitation, any Causes of Action against any D&O Insurance Carrier; or (iv) any claims of
the Debtors, FNIC or the DFS Receiver against any D&O; (v) any Insurance Causes of
Action; (vi) any claims or Causes of Action that the DFS Receiver may hold concerning the
Tax Allocation Agreement, the Tax Refund Dispute, or the Tax Refund(s); or (vii) any
Retained Causes of Action and any claims, rights, suits, damages, Causes of Action or
remedies with respect to the Retained Causes of Action.


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C.     Releases by Holders of Claims and Interests

        Notwithstanding anything contained herein to the contrary, subject to the exceptions
established by the D&O Release Opt Out Order and other provisions of this Plan protecting
the rights of the D&Os who were deemed to have elected out of, not granted, and not been
bound by the releases, discharges, injunctions, and exculpation provisions proposed in the
First Amended Combined Disclosure Statement and Plan, but are now included as
Exculpated Parties in the exculpation provisions in the Plan, to the fullest extent permitted
by applicable law and approved by the Bankruptcy Court, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, effective on and after the Effective
Date, each Releasing Party shall be deemed to have conclusively, absolutely, unconditionally,
irrevocably, and forever released and discharged the Debtors and the other Released Parties
from any and all past or present Claims, Interests, indebtedness and obligations, rights, suits,
losses, damages, injuries, costs, expenses, Causes of Action, remedies, and liabilities
whatsoever, including any derivative Claims, asserted on behalf of a Debtor, whether known
or unknown, foreseen or unforeseen, asserted or unasserted, suspected or unsuspected,
accrued or unaccrued, fixed, contingent, pending or threatened, existing or hereafter arising,
in law, equity, or otherwise, whether for tort, fraud, contract violations of federal or state
laws or otherwise, those Causes of Action based on veil piercing or alter-ego theories of
liability, contribution, indemnification, joint liability or otherwise that such Releasing Party
would have been legally entitled to assert (whether individually or collectively), based on or
relating to any act, omission, transaction, event, or other occurrence taking place on or prior
to the Effective Date (collectively “Third Party Released Claims”) based on or relating to, or
in any manner arising from, in whole or in part, the Debtors, the Debtors’ restructuring
efforts, the Chapter 11 Cases, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the First Amended Combined Disclosure
Statement and Plan, the business or contractual arrangements between any Debtor or any
other Released Party, on one hand, and any Releasing Party, on the other hand, the
restructuring of Claims and Interests prior to or during the Chapter 11 Cases, the
negotiation, formulation, or preparation of the First Amended Combined Disclosure
Statement and Plan, the Plan Supplement, the Plan Administrator Agreement or any related
agreements, instruments, or other documents, the pursuit of Confirmation, any action or
actions taken in furtherance of or consistent with the administration or implementation of
the First Amended Combined Disclosure Statement and Plan or the Distributions and
related documents or other property under the First Amended Combined Disclosure
Statement and Plan, upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date arising from or relating to any of the
foregoing (the “Third Party Releases”). For the avoidance of doubt, nothing in the Third
Party Releases or the First Amended Combined Disclosure Statement and Plan shall operate
to waive or release (i) any Causes of Action of any Releasing Party arising from any act or
omission of a Released Party that constitutes fraud, gross negligence, or willful misconduct,
(ii) any post-Effective Date obligations of any party under the First Amended Combined
Disclosure Statement and Plan or any document, instrument, or agreement executed in
connection with the First Amended Combined Disclosure Statement and Plan; (iii) any
Causes of Action against any insurer arising out of or relating to matters for which the
Debtors would otherwise be liable or suffer an insurable loss, including without limitation,
any Causes of Action against any D&O Insurance Carrier; (iv) any claims of the Debtors,

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FNIC, or the DFS Receiver against any D&O; (iv) any Insurance Causes of Action; (vi) any
claims or Causes of Action that the Receiver may hold concerning the Tax Allocation
Agreement, the Tax Refund Dispute, or the Tax Refund(s); or (vii) any Retained Causes of
Action and any claims, rights, damages, or remedies with respect to any such Retained
Causes of Action.

        For the avoidance of doubt, nothing in this Article XII.C is intended to, shall or does
alter the exceptions established by the D&O Release Opt Out Order and other provisions of
this Plan protecting the rights of the D&Os who were deemed to have elected out of, not
granted, and not been bound by the releases, discharges, injunctions, and exculpation
provisions proposed in the First Amended Combined Disclosure Statement and Plan.

       Notwithstanding any language to the contrary contained in the First Amended
Combined Disclosure Statement and Plan or Confirmation Order, no provision shall (i)
preclude the SEC from enforcing its police or regulatory powers; or (ii) enjoin, limit, impair
or delay the SEC from commencing or continuing any claims, causes of action, proceedings
or investigations against any non-Debtor person or non-Debtor Entity in any forum.

D.     Exculpation

        Notwithstanding anything contained in this First Amended Combined Disclosure
Statement and Plan to the contrary, an Exculpated Party, and any property of an Exculpated
Party, shall not have or incur any liability to any Entity for (a) any prepetition act taken or
omitted to be taken in connection with, related to or arising from the Debtors’ authorizing,
preparing for or filing the Chapter 11 Cases , or (b) any post-petition act arising prior to or
on the Effective Date taken or omitted to be taken in connection with, related to or arising
from the formulation, negotiation, preparation, dissemination, implementation, or
administration of this First Amended Combined Disclosure Statement and Plan, the Plan
Supplement, or any contract, instrument, or other agreement or document created or
entered into in connection with this First Amended Combined Disclosure Statement and Plan
or the Chapter 11 Cases, or any other post-petition act taken or omitted to be taken in
connection with or in contemplation of the restructuring of the Debtors, the Chapter 11
Cases, or the confirmation or consummation of this Plan, including but not limited to (i) the
Sales; (ii) formulating, preparing, disseminating, implementing, confirming, consummating
or administrating this First Amended Combined Disclosure Statement and Plan (including
soliciting acceptances or rejections thereof if necessary), or any contract, instrument, release
or other agreement or document entered into or any action taken or not taken in connection
with this First Amended Combined Disclosure Statement and Plan; or (iii) any Distribution
made pursuant to this First Amended Combined Disclosure Statement and Plan, except for
acts determined by a Final Order to constitute willful misconduct or gross negligence, and
in all respects such parties shall be entitled to rely upon the advice of counsel with respect to
their duties and responsibilities under this First Amended Combined Disclosure Statement
and Plan. Notwithstanding the foregoing, or anything contrary in this First Amended
Combined Disclosure Statement and Plan, and for the avoidance of doubt, this section of the
First Amended Combined Disclosure Statement and Plan shall not (i) exculpate or release
any Exculpated Party from anything other than as expressly identified in the preceding
sentence, (ii) prevent or limit the ability of the Debtors or the Plan Administrator to object

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to a Claim of an Exculpated Party on any basis other than matters exculpated or released in
this section, (iii) exculpate or release any Exculpated Party, Person, or Entity from any
Insurance Causes of Action; (iv) exculpate or release any Exculpated Party, Person, or Entity
from any claims or Causes of Action that the Receiver may hold concerning the Tax
Allocation Agreement, the Tax Refund Dispute, or the Tax Refund(s); (v) exculpate or
release any Exculpated Party from any Retained Causes of Action and any claims, rights,
damages, or remedies with respect to any such Retained Causes of Action; or (vi) prevent or
limit the ability of the Debtors or the Plan Administrator to object to, or defend against, on
any basis, or any Administrative Claim of an Exculpated Party for substantial contribution.
For the avoidance of doubt, nothing herein is intended to, shall or does release any Person
or Entity, including an Exculpated Party, from (i) any Insurance Cause of Action or (ii) any
prepetition conduct other than any act taken or omitted to be taken in connection with,
related to or arising from the Debtors’ authorizing, preparing for or filing the Chapter 11
Cases, all of which claims are expressly reserved and preserved for the Debtors’ estates.

E.     Injunction

        Subject to the exceptions established by the D&O Release Opt Out Order and other
provisions of this Plan protecting the rights of the D&Os who were deemed to have elected
out of, not granted, and not been bound by the releases, discharges, injunctions, and
exculpation provisions proposed in the First Amended Combined Disclosure Statement and
Plan, but are now included as Exculpated Parties in the exculpation provisions in the Plan,
and except as otherwise expressly provided in the First Amended Combined Disclosure
Statement and Plan or in the Confirmation Order, (including the limitations on the release
and exculpation provisions set forth in Article XII(B), (C), and (E) above), or for obligations
issued pursuant to the First Amended Combined Disclosure Statement and Plan, from and
after the Effective Date, all Entities who hold or may hold Claims or Interests and all Entities
acting on behalf of such Holders and the Releasing Parties are permanently enjoined from
taking any of the following actions against the Debtors, Liquidating FedNat, the Released
Parties, and Plan Administrator: (1) commencing or continuing in any manner any action
or other proceeding of any kind on account of or in connection with or with respect to any
Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order against such Entities on account of or in
connection with or with respect to any Claims or Interests; (3) creating, perfecting, or
enforcing any encumbrance of any kind against such Entities or the property or Estates of
such Entities on account of or in connection with or with respect to any Claims or Interests;
(4) asserting any right of setoff, subrogation, or recoupment of any kind against any
obligation due from such Entities or against the property or Estates of such Entities on
account of or in connection with or with respect to any Claims or Interests unless such Holder
has Filed a motion requesting the right to perform such setoff on or before the Confirmation
Date; (5) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any Claims, Interests and Causes
of Action released, exculpated, waived, settled or barred pursuant to this First Amended
Combined Disclosure Statement and Plan, which for the avoidance of doubt include the
Third Party Releases, Debtor Releases and Exculpated Claims set forth herein, (6)
commencing or continuing in any manner any action or other proceeding of any kind against
any Released Party on account of or in connection with or with respect to any Insurance

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Cause of Action (the injunction set forth in this clause (6), the “Insurance Injunction”).
Nothing in the First Amended Combined Disclosure Statement and Plan or the Confirmation
Order shall: (A) preclude any Entity from pursuing an action against one or more of the
Debtors in a nominal capacity to recover insurance proceeds so long as the Plan
Administrator and any such Entity agree in writing that such Entity will: (a) waive all
Claims against the Debtors and the Estates related to such action and (b) enforce any
judgment on account of such Claim solely against applicable insurance proceeds, if any; or
(B) enjoin, preclude, or otherwise restrict (i) any claim or Cause of Action concerning the
Tax Allocation Agreement, the Tax Refund Dispute, the Tax Refund(s); (ii) any Insurance
Causes of Action; (iii) any Retained Causes of Action; or (iv) any claims or Causes of Action
against or in any way involving any D&O, who is subject to the exceptions established by the
D&O Release Opt Out Order and other provisions of this Plan protecting the rights of those
D&Os who were deemed to have elected out of, not granted, and not been bound by the
releases, discharges, injunctions, and exculpation provisions proposed in the First Amended
Combined Disclosure Statement and Plan, but is now included as an Exculpated Party
subject to the exculpation provisions of the Plan. Notwithstanding the foregoing, the
Injunctions in this paragraph shall apply only to claims expressly released or exculpated
under the First Amended Combined Disclosure Statement and Plan.

F.     No Release of Co-Obligor or Joint Tortfeasor

       No provision of this First Amended Combined Disclosure Statement and Plan,
including without limitation, any release or exculpation provision, shall modify, release, or
otherwise limit the liability of any Entity other than the Released Parties and the Exculpated
Parties, including without limitation, any Entity that is a co-obligor, guarantor or joint
tortfeasor of a Released Party or an Exculpated Party or that otherwise is liable under
theories of vicarious or other derivative liability.

G.     Preservation of Insurance

       Notwithstanding anything to the contrary under the First Amended Combined Disclosure
Statement and Plan, the First Amended Combined Disclosure Statement and Plan shall not
diminish or impair the enforceability of the D&O Liability Insurance Policies. The Plan
Administrator shall keep the D&O Liability Insurance Policies in full force and effect for the
benefit of such directors and officers covered thereunder, and in no event shall the Plan
Administrator, directly or indirectly, unwind, transfer, monetize or tender any of the D&O Liability
Insurance Policies for cancellation, or otherwise limit the coverage available thereunder.

H.     Preservation of Rights of Action

             1.        Vesting of Retained Causes of Action

               (a)     Except as otherwise provided in the First Amended Combined Disclosure
Statement and Plan or Confirmation Order, in accordance with section 1123(b)(3) of the
Bankruptcy Code, any Retained Causes of Action that the Debtors may hold against any Entity
shall vest upon the Effective Date in Liquidating FedNat.



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                (b)    Except as otherwise provided in the First Amended Combined Disclosure
Statement and Plan or Confirmation Order, after the Effective Date, the Plan Administrator shall
have the exclusive right to institute, prosecute, abandon, settle or compromise any Retained Causes
of Action, in accordance with the terms of the Plan Administrator Agreement and without further
order of the Bankruptcy Court (provided however that this authorization shall not preclude the
Plan Administrator from seeking, in his or her sole discretion, Bankruptcy Court approval of any
such settlement or compromise), in any court or other tribunal, including, without limitation, in an
adversary proceeding filed in any of the Chapter 11 Cases. Without limiting the generality of the
foregoing, upon the Effective Date, the Plan Administrator, on behalf of the applicable Debtor
shall be deemed substituted for the relevant Debtor (or the Committee) in any pending adversary
proceedings to which one or more of the Debtors (or the Committee) were a party, and any appeals
arising out of such adversary proceedings.

               (c)     Retained Causes of Action and any recoveries therefrom shall remain the
sole property of Liquidating FedNat (for the sole benefit of Entities entitled to Distributions under
the First Amended Combined Disclosure Statement and Plan), as the case may be, and Holders of
Claims shall have no right to any such recovery.


            2.         Preservation of All Retained Causes of Action Not Expressly Settled or
     Released

                (a)    Confirmation of this First Amended Combined Disclosure Statement and
Plan effects no settlement, compromise, waiver or release of any Retained Cause of Action unless
this First Amended Combined Disclosure Statement and Plan or the Confirmation Order
specifically and unambiguously so provides. The non-disclosure or nondiscussion of any particular
Retained Cause of Action is not and shall not be construed as a settlement, compromise, waiver,
or release of any such Retained Cause of Action.

               (b)    Unless a Retained Cause of Action against a Holder or other Entity is
expressly waived, relinquished, released, compromised or settled in the Plan or any Final
Order (including the Confirmation Order), the Plan Administrator, on behalf of Liquidating
FedNat, expressly reserves all Retained Causes of Action for later adjudication (including,
without limitation, Retained Causes of Action not specifically identified or described in the
First Amended Combined Disclosure Statement and Plan or elsewhere or of which the
Debtors, or the Plan Administrator may presently be unaware or which may arise or exist
by reason of additional facts or circumstances unknown to the Debtors or the Plan
Administrator at this time or facts or circumstances which may change or be different from
those the Debtors, or the Plan Administrator now believe to exist) and, therefore, no
preclusion doctrine, including, without limitation, the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable or
otherwise) or laches shall apply to such Retained Causes of Action upon or after the entry of
the Confirmation Order or occurrence of the Effective Date based on the First Amended
Combined Disclosure Statement and Plan or Confirmation Order, except where such
Retained Causes of Action have been released in the First Amended Combined Disclosure
Statement and Plan or any other Final Order (including the Confirmation Order). In
addition, the Plan Administrator expressly reserves the right to pursue or adopt any claims

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alleged in any lawsuit in which one or more of the Debtors is a defendant or an interested
party, against any Entity, including, without limitation, the plaintiffs or co-defendants in
such lawsuits.

                (c)    Subject to the immediately preceding paragraph, any Entity to whom the
Debtors have incurred an obligation (whether on account of services, purchase or sale of goods or
otherwise), or who has received services from the Debtors or a transfer of money or property of
the Debtors, or who has transacted business with the Debtors, or leased equipment or property
from the Debtors, should assume that any such obligation, transfer, or transaction may be reviewed
by the Plan Administrator subsequent to the Effective Date and may be the subject of an action
after the Effective Date, regardless of whether: (i) such Entity has filed a Proof of Claim against
the Debtors in their Chapter 11 Cases; (ii) the Debtors (prior to the Effective Date) or the Plan
Administrator have objected to any such Entity’s Proof of Claim; (iii) any such Entity’s Claim was
included in the Schedules; (iv) the Debtors (prior to the Effective Date) or the Plan Administrator
have objected to any such Entity’s scheduled Claim; or (v) any such Entity’s scheduled Claim has
been identified by the Debtors or the Plan Administrator as disputed, contingent or unliquidated.

I.     Release and Injunction

        The rights afforded in the First Amended Combined Disclosure Statement and Plan and
the treatment of all Claims and Interests in the First Amended Combined Disclosure Statement
and Plan shall be in exchange for and in complete satisfaction of Claims and Interests of any nature
whatsoever, including any interest accrued on Claims from and after the Petition Date, against any
of the Debtors’ Estates, or any of the assets or properties of Liquidating FedNat or the Debtors’
Estates. On the Effective Date, all such Claims against, and Interests in, the Debtors’ Estates shall
be satisfied and released in full. Notwithstanding the foregoing, the FNHC Stock Interests are not
subject to this paragraph.

J.     Releases of Liens

        Except as otherwise provided in the First Amended Combined Disclosure Statement and
Plan or in any contract, instrument, release or other agreement or document created pursuant to the
First Amended Combined Disclosure Statement and Plan, on the Effective Date, all mortgages,
deeds of trust, Liens, pledges or other security interests against property of the Estate shall be fully
released and discharged (except for the charging Liens of the Senior Notes Indenture Trustees to
the extent any fees owed to the Senior Notes Indenture Trustees under the Indentures are not paid
pursuant to the First Amended Combined Disclosure Statement and Plan) and all of the right, title
and interest of any Holder of such mortgages, deeds of trust, Liens, pledges or other security
interest shall revert to Liquidating FedNat and administered by the Plan Administrator.

K.     No Discharge for the Debtors

       In accordance with the First Amended Combined Disclosure Statement and Plan, the
Debtors are not obtaining a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code, and
nothing in this First Amended Combined Disclosure Statement and Plan shall be interpreted as
giving or providing the Debtors with such a discharge.



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                                         ARTICLE XIII

                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain such jurisdiction over the Chapter
11 Cases and all Entities with respect to all matters related to the Chapter 11 Cases, the Debtors,
Liquidating FedNat, the Plan Administrator and the First Amended Combined Disclosure
Statement and Plan as is legally permissible, including, without limitation, jurisdiction to:

             1.        allow, disallow, determine, liquidate, classify, estimate or establish the
     priority or secured or unsecured status of any Claim or Interest, including the resolution of
     any request for payment of any Administrative Claim and the resolution of any and all
     objections to the allowance or priority of Claims or Interests;

            2.       grant or deny any applications for allowance of compensation or
     reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for
     periods ending on or before the Effective Date;

             3.       resolve any matters related to the assumption, assignment or rejection of
     any Executory Contract or Unexpired Lease to which they are a party or with respect to
     which the Debtors or Liquidating FedNat, as applicable, may be liable and to hear, determine
     and, if necessary, liquidate, any Claims arising therefrom, including those matters related to
     any amendment to the Plan after the Effective Date pursuant to Article XIV.B adding
     Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired
     Leases to be assumed;

            4.        ensure that Distributions to Holders of Allowed Claims are accomplished
     pursuant to the provisions of the Plan;

             5.      decide or resolve any motions, adversary proceedings, contested or litigated
     matters and any other matters and grant or deny any applications involving the Debtors that
     may be pending on the Effective Date or instituted by the Plan Administrator after the
     Effective Date, provided, however, that the Plan Administrator shall reserve the right to
     commence actions in all appropriate jurisdictions;

          6. adjudicate, decide, or resolve any and all matters related to Retained Causes of
     Action and the Tax Refund Dispute;

            7.        enter such orders as may be necessary or appropriate to implement or
     consummate the provisions of the Plan and all other contracts, instruments, releases,
     indentures and other agreements or documents adopted in connection with the First Amended
     Combined Disclosure Statement and Plan or the Plan Supplement;

            8.        resolve any cases, controversies, suits or disputes that may arise in
     connection with the Effective Date, interpretation or enforcement of the First Amended
     Combined Disclosure Statement and Plan or any Entity’s obligations incurred in connection
     with the First Amended Combined Disclosure Statement and Plan;

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            9.        issue injunctions, enforce them, enter and implement other orders or take
     such other actions as may be necessary or appropriate to restrain interference by any Entity
     with the Effective Date or enforcement of the First Amended Combined Disclosure
     Statement and Plan, except as otherwise provided in the First Amended Combined
     Disclosure Statement and Plan;

             10.       enforce Article XII.A and Article XII.B;

             11.       enforce the injunction set forth in Article XII.F;

            12.       resolve any cases, controversies, suits or disputes with respect to the
     provisions contained in Article XII, and enter such orders as may be necessary or appropriate
     to implement or enforce all such provisions;

           13.      enter and implement such orders as necessary or appropriate if the
     Confirmation Order is modified, stayed, reversed, revoked or vacated;

            14.      resolve any other matters that may arise in connection with or relate to the
     Plan Administrator Agreement, First Amended Combined Disclosure Statement and Plan,
     the Confirmation Order or any contract, instrument, release, indenture or other agreement or
     document adopted in connection with the First Amended Combined Disclosure Statement
     and Plan; and

           15.     enter an order and/or the decree contemplated in section 350 of the
     Bankruptcy Code and Bankruptcy Rule 3022 concluding the Chapter 11 Cases.

                                           ARTICLE XIV

                               MISCELLANEOUS PROVISIONS

A.     Payment of Statutory Fees

         Notwithstanding any other provision of this First Amended Combined Disclosure
Statement and Plan, the Plan Administrator, shall, on behalf of Liquidating FedNat, timely pay all
fees incurred and required under 28 U.S.C. § 1930(a)(6) attributable to the Debtors for the period
ending on the Effective Date. For the period commencing on the Effective Date through the earlier
of (a) the closing of the Chapter 11 Cases by the issuance of a final decree by the Bankruptcy Court
and (b) entry of an order dismissing or converting the Chapter 11 Cases to cases under chapter 7
of the Bankruptcy Code, the Plan Administrator shall (x) file with the Bankruptcy Court the
required quarterly operating reports regarding Liquidating FedNat for the post-confirmation period
and (y) pay all required fees incurred under 28 U.S.C. § 1930(a)(6) based on the disbursements
made pursuant to the First Amended Combined Disclosure Statement and Plan.

B.     Modification of First Amended Combined Disclosure Statement and Plan

       Subject to the limitations contained in the First Amended Combined Disclosure Statement
and Plan: (1) the Plan Proponents reserve the right, in accordance with the Bankruptcy Code and
the Bankruptcy Rules, to amend or modify the First Amended Combined Disclosure Statement

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and Plan prior to the entry of the Confirmation Order, including amendments or modifications to
satisfy section 1129(b) of the Bankruptcy Code; and (2) after the entry of the Confirmation Order,
the Committee, or the Plan Administrator, as the case may be, may, upon order of the Bankruptcy
Court, amend or modify the First Amended Combined Disclosure Statement and Plan, in
accordance with section 1127(b) of the Bankruptcy Code, or remedy any defect or omission or
reconcile any inconsistency in the First Amended Combined Disclosure Statement and Plan in
such manner as may be necessary to carry out the purpose and intent of the First Amended
Combined Disclosure Statement and Plan.

C.     Votes Solicited in Good Faith

Upon entry of the Confirmation Order, the Plan Proponents will be deemed to have solicited votes
on the First Amended Combined Disclosure Statement and Plan in good faith and in compliance
with the Bankruptcy Code and any applicable non- bankruptcy law, and pursuant to section
1125(e), the Plan Proponents and their respective Affiliates, agents, representatives, members,
principals, shareholders, officers, directors, employees, advisors and attorneys will be deemed to
have participated in good faith and in compliance with the Bankruptcy Code, including, if
applicable, in the offer, issuance, sale and purchase of any First Amended Combined Disclosure
Statement and Plan securities (if any) provided under the First Amended Combined Disclosure
Statement and Plan, and, therefore, will have no liability for the violation of any applicable law,
rule or regulation governing the solicitation of votes on the First Amended Combined Disclosure
Statement and Plan.

D.     Revocation of First Amended Combined Disclosure Statement and Plan

         The Plan Proponents reserve the right to withdraw the First Amended Combined Disclosure
Statement and Plan prior to the entry of the Confirmation Order, and to file subsequent chapter 11
plans. If the Plan Proponents withdraw the First Amended Combined Disclosure Statement and
Plan, then: (1) the First Amended Combined Disclosure Statement and Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan, assumption or rejection of
Executory Contracts or Unexpired Leases effected by the First Amended Combined Disclosure
Statement and Plan, and any document or agreement executed pursuant hereto shall be deemed
null and void; and (3) nothing contained in the First Amended Combined Disclosure Statement
and Plan shall: (a) constitute a waiver or release of any claims by or against, or any Interests in,
the Debtors or any other Entity; (b) prejudice in any manner the rights of the Committee, the
Debtors or any other Entity; or (c) constitute an admission of any sort by the Committee, the
Debtors or any other Entity.

E.     Successors and Assigns

       The rights, benefits and obligations of any Entity named or referred to herein shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign
of such Entity.




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F.     Governing Law

        Except to the extent that the Bankruptcy Code or Bankruptcy Rules apply, and subject to
the provisions of any contract, instrument, release, indenture or other agreement or document
entered into in connection herewith, the rights and obligations arising hereunder shall be governed
by, and construed and enforced in accordance with, the laws of the State of Florida, without giving
effect to the principles of conflict of laws thereof.

G.     Reservation of Rights

        Except as expressly set forth herein, the First Amended Combined Disclosure Statement
and Plan shall have no force or effect unless and until the Bankruptcy Court enters the
Confirmation Order and the Effective Date occurs. Neither the filing of the First Amended
Combined Disclosure Statement and Plan, any statement or provision contained herein, nor the
taking of any action by the Plan Proponents or any Entity with respect to the First Amended
Combined Disclosure Statement and Plan shall be or shall be deemed to be an admission or waiver
of any rights of: (i) the Committee; (ii) the Debtors with respect to the Holders of Claims or
Interests or other parties-in-interest; or (iii) any Holder of a Claim or other party-in-interest prior
to the Effective Date.

H.     Section 1146 Exemption

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant
hereto shall not be subject to any stamp tax or other similar tax or governmental assessment in the
United States, and the Confirmation Order shall direct the appropriate state or local governmental
officials or agents to forego the collection of any such tax or governmental assessment and to
accept for filing and recordation instruments or other documents pursuant to such transfers of
property without the payment of any such tax or governmental assessment.

I.     Further Assurances

       The Plan Administrator shall, be authorized to prepare, execute and deliver any agreements
or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan or the Confirmation Order.

J.     Venue of Proceedings.

        Without limiting in any way the effect of Article XII hereof, should any Holder of a Claim
or Interest or other party in interest file an action against any of the Debtors, any officer or
employee of the Debtors during the Chapter 11 Cases, the Committee and the individual members
thereof, Liquidating FedNat, the Plan Administrator or (or any professional retained or employed
by any of the Plan Administrator) in connection with any Claim or Cause of Action arising after
the Petition Date from or related to the Chapter 11 Cases, including this First Amended Combined
Disclosure Statement and Plan, venue of any such action shall lie only in the Bankruptcy Court.




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K.     Service of Documents

        Any pleading, notice or other document required by the First Amended Combined
Disclosure Statement and Plan to be served on or delivered to the Debtors or the Committee shall
be sent by first class U.S. mail, postage prepaid as follows:

       To the Debtors:

       FedNat Holding Company
       c/o GGG Partners
       1 East Broward
       Suite 700
       Fort Lauderdale, FL 33301
       Attention: Katie S. Goodman, Chief Restructuring Officer
       E-Mail: kgoodman@gggmgt.com

       with a copy to:

       Nelson Mullins Riley & Scarborough LLP
       1222 Demonbreun Street, Suite 1700
       Nashville, TN 37203
       Attn: Shane G. Ramsey
       E-Mail: shane.ramsey@nelsonmullins.com

       -and-

       Nelson Mullins Riley & Scarborough LLP
       1320 Main Street, 17th Floor
       Post Office Box 11070 (29211-1070)
       Columbia, SC 29201
       Attn: Frank B.B. Knowlton
       E-mail: frank.knowlton@nelsonmullins.com

       To the Committee:

       PACHULSKI STANG ZIEHL & JONES LLP
       780 Third Avenue, 34th Floor
       New York, NY 10017-2024
       Attn: Bradford J. Sandler
       Attn: Paul Labov
       Attn: Cia H. Mackle
       Email: bsandler@pszjlaw.com
       Email: plabov@pszjlaw.com
       Email: cmackle@pszjlaw.com

           -and-



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       BAST AMRON LLP
       One Southeast Third Avenue
       Suite 2410
       Miami, Florida 33131
       Attn: Jeffrey P. Blast
       Attn: Hayley G. Harrison
       Facsimile: 786.206.8740
       Email: jbast@bastamron.com
       Email: hharrison@bastamron.com

       To the Plan Administrator:

       Thomas A. Pitta, Esq.
       c/o Emmet, Marvin & Martin, LLP
       120 Broadway, 32nd Floor
       New York, NY 10271
       Email: tpitta@emmetmarvin.com
       Telephone: (212)-238-3148

L.     Filing of Additional Documents

        On or before the Effective Date, the Committee or the Debtors may file with the
Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
effectuate and further evidence the terms and conditions hereof.

M.     Aid and Recognition

        The Plan Administrator shall, as needed to effect the terms hereof, be authorized to request
the aid and recognition of any court or judicial, regulatory or administrative body in any nation,
province or state.

N.     Document Retention

        From and after the Effective Date, the Plan Administrator, and any transferee of the
Debtors’ Documents, as the case may be, shall preserve and maintain all of the Documents,
whether retained by the Debtors or any successor to the Debtors, or transferred Plan Administrator,
on behalf of Liquidating FedNat, pursuant to the Plan Administrator Agreement, or such other
transferee pursuant to the First Amended Combined Disclosure Statement and Plan; and any
successors to the Debtors, Liquidating FedNat, the Plan Administrator and/or such other transferee
shall not destroy or otherwise abandon any such Documents absent further order of this Court or
a court of competent jurisdiction after a hearing upon notice to parties in interest with an
opportunity to be heard.




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Fort Lauderdale, Florida

Dated: October 10, 2023



                                    Respectfully Submitted,

                                    FEDNAT HOLDING COMPANY, et al.

                                    -AND-

                                    THE OFFICIAL COMMITTEE OF UNSECURED
                                    CREDITORS      OF FEDNAT    HOLDING
                                    COMPANY, et al.




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                                                EXHIBIT A

                                   (Plan Proponents Solicitation Letter)



                      JOINT LETTER TO UNSECURED
                  CREDITORS RECOMMENDING THAT THEY
         VOTE TO ACCEPT THE FIRST AMENDED COMBINED DISCLOSURE
                          STATEMENT AND PLAN

Re: In re FedNat Holding Company, et al. (the “Debtors”),31 Case No.: 22-19451-PDR
(Bankr. S.D. Fla.)
Dear Unsecured Creditors:
       For the reasons set forth below, the Debtors and the Official Committee of Unsecured
Creditors (the “Committee” and together with the Debtors, the “Plan Proponents”) jointly
recommend that the unsecured creditors in FNHC Classes 3 and 4, FNU Classes 3 and 4, ClaimCor
Classes 3 and 4, CRIS Classes 3 and 4, and Insure-Link Classes 3 and 4 (collectively the “Voting
Classes”) vote to ACCEPT the First Amended Combined Disclosure Statement and Chapter 11
Plan of Liquidation of FedNat Holding Company and its Debtor Affiliates (the “First Amended
Combined Disclosure Statement and Plan”).

        The Plan Proponents believe that the First Amended Combined Disclosure Statement and
Plan represents the best possible outcome for creditors in the Voting Classes to receive a recovery
in these cases. Moreover, the Plan Proponents believe that any alternative other than Confirmation
of the First Amended Combined Disclosure Statement and Plan could result in extensive delays
and increased administrative expenses, which, in tum, likely would result in smaller distributions
(or no distributions) on account of Claims asserted in these chapter 11 cases. Accordingly, the Plan
Proponents urge you to vote to accept the First Amended Combined Disclosure Statement and
Plan.

        In addition to this cover letter, the enclosed materials comprise your Solicitation Package,
and were approved by the Court for distribution to holders of Claims in connection with the
solicitation of votes to accept the First Amended Combined Disclosure Statement and Plan. The
Solicitation Package consists of the following:

        a) the First Amended Combined Disclosure Statement and Plan and all other exhibits
           annexed thereto, which documents the Plan Proponents propose to distribute via USB
           drive instead of printed copies;

31
   The Debtors in these Chapter 11 Cases, along with the last four digits of each of the Debtors’ federal tax
identification numbers are: FedNat Holding Company (8866); FedNat Underwriters, Inc. (8533); ClaimCor, LLC
(7581); Century Risk Insurance Services, Inc. (1854); and Insure-Link, Inc. (6769). The Debtors’ headquarters are
located at 1 East Broward, Suite 700, Fort Lauderdale, FL 33301.

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       b) the Conditional Approval and Procedures Order, excluding the exhibits annexed
          thereto;
       c) a notice of the Combined Hearing;
       d) a Ballot to accept or reject the First Amended Combined Disclosure Statement and Plan
          along with a pre-addressed, postage prepaid return envelope; and
       e) such other materials as the Court may direct or approve.

        Before voting, all creditors are strongly urged to carefully read and review in their entirety
the First Amended Combined Disclosure Statement and Plan, including the discussion of the risk
factors related to the First Amended Combined Disclosure Statement and Plan, and all other
documents submitted to you as part of the Solicitation Package.

        Based on the favorable distribution to general unsecured creditors provided for in the
Plan, the Plan Proponents recommend that you vote to ACCEPT THE PLAN by the voting
deadline of 4:00 p.m., prevailing Eastern Time, on October 2, 2023, and timely return your
executed ballot as directed on the ballot.

       Please direct any questions or inquiries on this letter to counsel for Debtors, Nelson
Mullins Riley & Scarborough LLP, and/or counsel for the Committee, Pachulski Stang Ziehl &
Jones LLP, or Bast Amron LLP whose contact information is listed below.


Sincerely,

FedNat Holding Company, on its own behalf and for each of the Debtor Affiliates and the
Official Committee of Unsecured Creditors

NELSON MULLINS RILEY & SCARBOROUGH LLP, counsel for the Debtors
Shane G. Ramsey (shane.ramsey@nelsonmullins.com)

PACHULSKI STANG ZIEHL & JONES LLP, counsel for the Committee
Bradford J. Sandler (bsandler@pszjlaw.com) and
Paul Labov (plabov@pszjlaw.com )

BAST AMRON LLP, local counsel for the Committee
Jeffrey Bast (jbast@bastamron.com) and
Hunter Grasso (hgrasso@bastamron.com)




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                                                   EXHIBIT B

                                       (Plan Administrator Agreement)



                               PLAN ADMINISTRATOR AGREEMENT

       This Agreement (this “Plan Administrator Agreement”) is made this ___ day of
________________, 2023, by and among (a) Thomas A. Pitta, not in his individual capacity but
solely as Plan Administrator,); and (b) FedNat Holding Company, FedNat Underwriters, Inc.,
ClaimCor, LLC, Century Risk Insurance Services, Inc., and Insure-Link, Inc., after the Effective
Date (defined below) (collectively, “Liquidating FedNat,” and together with the Plan
Administrator, the “Parties”). This Plan Administrator Agreement is entered into in accordance
with The First Amended Combined Disclosure Statement and Chapter 11 Plan of Liquidation for
FedNat Holding Company and its Debtor Affiliates, filed by the Debtors (as defined below) and
the Official Committee of Unsecured Creditors of FedNat Holding Company, et al. (the
“Committee”) confirmed on ____, 2023 (the “Plan”), which became effective on
__________________, 2023 (the “Effective Date”).

                                                       RECITALS:

        A.       WHEREAS, on December 11, 2023, FedNat Holding Company, FedNat
Underwriters, Inc., ClaimCor, LLC, Century Risk Insurance Services, Inc., and Insure-Link, Inc.
(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11, United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
District of Florida (the “Bankruptcy Court”) and commenced their chapter 11 cases;

      B.       WHEREAS, the Plan provides for, among other things, the appointment of a Plan
Administrator;

       C.      WHEREAS, the Plan Administrator Agreement is created pursuant to the Plan to
govern the liquidation of Liquidating FedNat and its Assets,1 as contemplated under the Plan;

      D.      WHEREAS, the powers, authority, responsibilities and duties of the Plan
Administrator shall be governed by this Plan Administrator Agreement;




1
  As used herein, “Assets” means all property that is property of the Debtors and the Debtors’ estates under Section
541 of the Bankruptcy Code, and all property of Liquidating FedNat, whether such property is now existing or
hereafter arising or acquired and wherever located including, without limitation, all Causes of Action and all proceeds
of and recoveries on Causes of Action, all accounts, contract rights, chattel paper, general intangibles, instruments,
securities, furniture, fixtures, machinery, equipment, inventory, intellectual property, domain names, and interests in
real estate provided, however, that such property shall not include any property that does not vest in Liquidating
FedNat under the Plan.

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      E.      WHEREAS, pursuant to the terms and conditions of the Plan, the Plan
Administrator shall administer all Assets after the Effective Date; and

        F.     WHEREAS, the Parties desire this Plan Administrator Agreement to become
effective upon the Effective Date.

      NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements contained herein and in the Plan, the Parties agree as follows:

        1.      General Duties and Responsibilities of Plan Administrator. The Plan Administrator
shall be responsible for implementing the Plan, including monetizing or abandoning all Assets,
pursuing, settling, or abandoning all Causes of Action, resolving all Claims, and distributing Net
Free Cash2 pursuant to the Plan. The Plan Administrator shall have the powers, duties, rights, and
obligations set forth herein and in the Plan.

       2.      Duties, Powers and Responsibilities of Plan Administrator. In addition to the
various powers, obligations and duties of the Plan Administrator described in the Plan, the Plan
Administrator shall have the following specific duties, obligations and powers, subject to any
applicable approvals provided herein and in the Plan:

                         (a) To liquidate, abandon, or otherwise provide for the disposition of the
               Assets;

                     (b) To distribute the proceeds of liquidation of the Assets to the Holders of
               Allowed Claims in accordance with the provisions of the Plan;

                      (c) To take any action required of Liquidating FedNat or authorized to be taken
               by Liquidating FedNat under this Plan Administrator Agreement or the Plan;

                      (d) To investigate, prosecute and, if necessary, litigate, any Cause of Action
               vesting in Liquidating FedNat under the Plan on behalf of the Debtors or Liquidating
               FedNat;

                       (e) To take such action as is necessary with respect to any Claim that remains
               unresolved on the Effective Date, including to prepare and file objections thereto, to
               compromise and otherwise settle and, if necessary, to seek an extension of the deadline
               to object to such Claims as established by the Plan or otherwise applicable law;

                       (f) To assert standing as a representative of the Debtors to pursue any such
               Causes of Action and Claims objections, whether initially filed by the Debtors, the
               Committee, or the Plan Administrator and, in the Plan Administrator’s discretion, to
               assert any claims or defenses that may otherwise have been asserted by the Debtors, the
               Committee or Plan Administrator, on behalf of Liquidating FedNat, as applicable;

                      (g) To exercise all the rights, powers and duties of a “trustee” under Section
               1106(a) of the Bankruptcy Code, including, but not limited to, the right to waive the

2
    Capitalized terms used but not defined herein shall have the respective meanings assigned to such terms in the Plan.

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          attorney-client privilege or any other privileges on behalf of the Debtors or Liquidating
          FedNat;

                 (h) To prepare and file corporate tax returns, including the right to request a
          determination of tax liability as set forth in Section 505 of the Bankruptcy Code;

                  (i) To pay post-confirmation fees due to the Office of the U.S. Trustee;

                  (j) To file status reports with the Bankruptcy Court or other parties in interest;

                  (k) To file a motion for final decree closing the Chapter 11 Case;

                (l) To approve or disapprove any corporate action, including any action that
          would otherwise require shareholder or board of director action under applicable state
          law;

                  (m) To ensure and otherwise cause Liquidating FedNat to undertake such
          actions as are necessary to comply with applicable regulatory requirements;

                  (n) To respond to inquiries of Holders of Claims;

                 (o) To respond to subpoenas or information requests from any governmental
          body; and

                  (p) To abide by and otherwise observe such general duties as are imposed by
          the Plan, including the duty of care, duty of loyalty and any other applicable duty.

        3.      Representative of the Estate. The Plan Administrator shall be deemed to be for all
purposes the “representative” of the Estate as set forth in Section 1123(b) of the Bankruptcy Code
to retain, enforce, settle and prosecute all Causes of Actions;

        4.      Liability of the Plan Administrator. The Plan Administrator shall not be liable for
any act or omission in connection with the Plan or this Plan Administrator Agreement, except to
the extent that such liability is due to an act or omission that is determined, in a Final Order, to be
solely due to the Plan Administrator’s gross negligence or willful misconduct. The Plan
Administrator shall be entitled to rely upon any validly given opinion of counsel or other
professional employed by the Plan Administrator in connection with its duties herein, and the Plan
Administrator shall not be liable for any action taken or omitted in good faith reliance upon such
validly given opinion.

         5.      Indemnification of the Plan Administrator. The Estate and Liquidating FedNat shall
indemnify and hold harmless the Plan Administrator from and against any and all liabilities,
expenses, claims, damages or losses incurred by the Plan Administrator as a direct result of acts
or omissions taken by him in his capacity as the Plan Administrator, except to the extent such
liabilities, expenses, claims, damages or losses are determined, in a Final Order, to be solely due
to the gross negligence or willful misconduct of the Plan Administrator.




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       6.      Agents. The Plan Administrator may hire such attorneys, accountants and other
professionals as may be required or appropriate in connection with its duties herein. The Plan
Administrator shall be entitled to retain professionals in his sole discretion and without the
necessity of Bankruptcy Court approval, including any professionals employed by the Debtors or
the Committee in the Chapter 11 Case. The provision of services by a professional to the Debtors
or the Committee shall not disqualify such professional from employment by the Plan
Administrator. For avoidance of doubt, the Plan Administrator is authorized to pay the fees and
expenses of any professionals employed without further order of the Bankruptcy Court.

        7.     Compensation of Plan Administrator and Agents. From and after the Effective
Date, the Plan Administrator and any professionals engaged or retained by the Plan Administrator
shall be entitled to reasonable compensation from the Assets to perform services related to
administration of the Plan. The Plan Administrator shall be paid $25,000 per month plus 3% of all
gross amounts distributed to holders of Allowed General Unsecured Claims.

       8.      Service of Plan Administrator. The Plan Administrator shall serve until (a)
termination of this Plan Administrator Agreement by its terms, (b) the Plan Administrator resigns;
provided, however, that if the Plan Administrator resigns, he shall continue to serve until a new
Plan Administrator begins to serve.

        9.     Liquidation of the Assets. The Plan Administrator may liquidate the Assets
(including without limitation Causes of Action) or resolve Claims under the following conditions:

                  (a) Liquidation of Assets. The Plan Administrator shall be empowered, subject
          to the Plan, to take all steps necessary to liquidate all of the Assets, pursue all Causes of
          Action, and distribute the proceeds in accordance with the Plan. Except as otherwise
          expressly provided herein, the Plan Administrator shall be empowered to sell, lease or
          otherwise liquidate and reduce to money, or abandon, the Assets on such terms and for
          such consideration as he deems reasonable and in the best interest of Holders of Allowed
          Claims, without further application to or order of the Bankruptcy Court under any
          provision of the Bankruptcy Code (including, without limitation, Section 363 thereof)
          or otherwise, and the injunction imposed pursuant to the terms of the Plan is hereby
          modified and relieved to this extent.

                  (b) Causes of Action and Claims Objections. From and after the Effective Date,
          the Plan Administrator shall be authorized, pursuant to Bankruptcy Rule 9019(b) and
          Section 105(a) of the Bankruptcy Code, to compromise and/or settle any Cause of
          Action and/or any objection to a Claim (each, a “Settlement”) without further order of
          the Bankruptcy Court, provided however, that the Plan Administrator, may in his or
          discretion, file a motion requesting Bankruptcy Court approval of any proposed
          Settlement.

                 (c) Appointment of Successor Plan Administrator To the extent the initial Plan
          Administrator either resigns or is no longer able serve in such capacity, counsel for the
          Plan Administrator may file a motion with the Bankruptcy Court to appoint a successor
          Plan Administrator.



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        10.     Effect on Third Parties. As of the Effective Date, the Plan Administrator shall have
sole signatory power and authority to act on behalf of Liquidating FedNat without further action
or authority by or from officers, directors, or shareholders of Liquidating FedNat, as may otherwise
have been required under applicable state law, and all third parties dealing with the Plan
Administrator may rely upon such signature without further certification.

      11.    Termination. The Plan Administrator Agreement shall terminate, when the
Bankruptcy Court enters a final decree contemplated by section 350 of the Bankruptcy Code and
Bankruptcy Rule 3022 concluding the Chapter 11 Case.

        12.      Governing Law. This Plan Administrator Agreement is governed by and shall be
construed in accordance with the laws of the State of Florida, without giving effect to the principles
of conflict of laws thereof.

      13.     Dispute Resolution. Any dispute regarding the interpretation or enforcement of this
Plan Administrator Agreement shall be heard and determined in the Bankruptcy Court.

      14.      Amendment; Waiver. Any substantive provision of this Plan Administrator
Agreement may be amended or waived only with the prior written approval of the Plan
Administrator.

      15.     Conflict with Plan. In the event of any conflict between the terms of this Plan
Administrator Agreement and the Plan, the terms of the Plan shall govern.

        16.     Preservation of Privilege. In connection with the rights, claims and Causes of
Action that constitute the Assets, any privilege or immunity, including but not limited to the
attorney-client privilege and work-product privilege (collectively, the “Privileges”), attaching to
any documents or communications (whether written or oral) shall survive the Effective Date and
remain vested in Liquidating FedNat. The Plan Administrator is authorized to take any and all
actions necessary to effectuate, enforce or waive any of the Privileges.

       17.     Severability. If any provision of this Plan Administrator Agreement or the
application thereof to any person or circumstance shall be determined by a Final Order to be invalid
or unenforceable to any extent, the remainder of this Plan Administrator Agreement, or the
application of such provision to Entities or circumstances other than those as to which it is held
invalid or unenforceable, shall not be affected thereby, and such provision of this Plan
Administrator Agreement shall be valid and enforced to the fullest extent permitted by law.

        18.      Notices. Any notice or other communication hereunder shall be in writing and shall
be deemed to have been sufficiently given, for all purposes, if deposited, postage prepaid, in a post
office or letter box addressed to the person (or their successors or replacements) for whom such
notice is intended at such address as set forth below, or such other addresses as provided to the
other Parties hereto:

If to the Company or the Plan Administrator:

Thomas A. Pitta
c/o Emmet, Marvin & Martin, LLP

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120 Broadway, 32nd Floor
New York, NY 10271
Email: tpitta@emmetmarvin.com
Telephone: (212)-238-3148

        19.     Headings. The section headings contained in this Plan Administrator Agreement
are solely for convenience of reference and shall not affect the meaning or interpretation of this
Plan Administrator Agreement or of any term or provision hereof

       20.     Counterparts. This Plan Administrator Agreement may be executed in two or more
counterparts, each of which shall be an original, but all such counterparts shall together constitute
one and the same agreement.

        IN WITNESS WHEREOF, the parties hereto have either executed and acknowledged this
Plan Administration Agreement, or caused it to be executed and acknowledged on their behalf by
their duly authorized officers.


                                                                                             ,
                                              Thomas A. Pitta
                                              Not individually, but solely in his capacity
                                              as Plan Administrator
Acknowledged and agreed to by:

LIQUIDATING FEDNAT


By:

Name:

Title:

Date: ___________________, 2023




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                        EXHIBIT C

                    (Liquidation Analysis)




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      FedNat Holding Company and Affiliates
      Best Interest of Creditors Test
                                                      4-Aug-23                                                                         Recovery Proceeds assuming intercompany tax allocations remain as corrected
                                                                                                                     Best Case                                                                                               Worst Case
                                                                                                                      Debtor                                                                                                  Debtor


                                                                          FedNat Holding      FedNat                                                                             FedNat Holding      FedNat
                     Recovery Sources/Expenses                               Company        Underwriters      Insure-Link    Century Risk      Claimcor          Total              Company        Underwriters      Insure-Link     Century Risk    Claimcor      Total
      Recovery Proceeds
       Cash                                                                      407,822        5,971,575       1,769,196          422,919      2,450,861       11,022,373              407,822        5,971,575       1,769,196         422,919     2,450,861     11,022,373
       Accounts Receivable                                                           -                -               -          1,164,127            -          1,164,127                  -                -               -         1,164,127           -        1,164,127
       D&O Coverage                                                            5,000,000              -               -                -              -          5,000,000                  -                -               -               -             -              -
       Tax Refunds/Credits                                                     5,022,106        9,941,044             -          2,595,557        153,903       17,712,610                  -          9,941,044             -         2,595,557       153,903     12,690,504
       Sale of 30% Interest in Monarch                                         3,000,000              -               -                -              -          3,000,000            3,000,000              -               -               -             -        3,000,000
       Other Causes of Action                                                  3,000,000              -               -                -              -          3,000,000                  -                -               -               -             -              -
       Other Asset liquidation                                                     5,000              -               -                -            2,000            7,000                1,000              -               -               -           1,000          2,000
      Total Liquidation Proceeds                                              16,434,928       15,912,619       1,769,196        4,182,603      2,606,764       40,906,110            3,408,822       15,912,619       1,769,196       4,182,603     2,605,764     27,879,004


      Liquidation Expenses
        Wind down Overhead                                                       267,666          143,732           1,201            1,042        250,000          663,641              267,666          143,732            1,201           1,042      250,000        663,641
                                                                                                                                                                                                                                                                                   Case 22-19451-PDR




        Document Retention                                          (1)          123,400              -               -                -              -            123,400              123,400              -                -               -            -          123,400
        Professional Fees - Chapter 11                              (2)        2,524,625          891,250          96,375           96,375        246,375        3,855,000            1,767,238          623,875           67,463          67,463      172,463      2,698,500
        UST Fees - Chapter 11                                                    131,439          127,301          14,154           33,461         20,838          327,193               27,263          127,301           14,154          33,461       20,838        223,016
      Total Liquidation Expenses                                               3,047,131        1,162,282         111,730          130,878        517,213        4,969,234            2,185,566          894,907           82,817         101,965      443,301      3,708,557

      Cash Available for Distribution                                         13,387,797       14,750,337       1,657,466        4,051,725      2,089,550       35,936,876            1,223,256       15,017,712       1,686,379       4,080,638     2,162,463     24,170,447
                                                                                                                                                                                                                                                                                   Doc 817




      Estimated Intercompany repayment and distributions




100
       Intercompany to/from Affiliates (net)                        (5)       (2,567,334)       4,062,877      (1,655,062)          890,402      (730,884)               -            1,469,944          877,220       (1,655,062)         38,782     (730,884)            -
       Distributions from Solvent Subsidiaries                      (6)       15,924,962      (13,731,397)            -          (2,130,377)      (63,188)                   0       11,887,684      (10,545,739)             -        (1,278,757)     (63,188)                0
      Cash Available after Intercompany and Distributions -
      Chapter 11                                                              26,745,426        5,081,817           2,405        2,811,750      1,295,478       35,936,876           14,580,884        5,349,192           31,317      2,840,663     1,368,391     24,170,447

       Trustee Fees Chapter 7                                       (3)          825,613          175,704             601          107,602         62,114        1,171,635              460,676           183,726           3,882         108,470        64,302       821,055
       Additional Professional Fees - Chapter 7                     (4)          757,388          267,375          28,913           28,913         73,913        1,156,500              530,171           187,163          20,239          20,239        51,739       809,550
       Credit for Chapter 11 UST Fees                               (7)         (131,439)        (127,301)        (14,154)         (33,461)       (20,838)        (327,193)             (27,263)         (127,301)        (14,154)        (33,461)      (20,838)     (223,016)
      Cash Available after Intercompany and Distributions -
      Chapter 7                                                               25,293,865        4,766,039         (12,955)       2,708,696      1,180,290       33,935,934           13,617,299        5,105,605           21,350      2,745,415     1,273,188     22,762,857
                                                                                                                                                                                                                                                                                   Filed 10/17/23




      Additional Cost of Conversion to Chapter 7                               1,451,561          315,779          15,360          103,054        115,189        2,000,942              963,585          243,587            9,967          95,248       95,202      1,407,589




      1) Assumes 12 months of litigation for claim objections and Tax Refund allocation
      2) Assumes 30% reduction in professional fees if recovery litigation is deemed economically infeasible
      3) Assumes no Trustee Fees on intercompany payments and Distributions - Fees are assessed against intercompany payments when distributed by the receiving entity.
      4) Chapter 7 Professional fees assume additional 30% to allow for familiarization with outstanding matters
      5) Intercompany distributions are calculated at the lower of i) the amount required to pay 100% of all non-insider claims or ii) the entities expected pro-rata distribution as an unsecured creditor of the Debtor estate.
      6) Distributions from solvent subsidiaries are calculated as remaining proceeds of any subsidiary after payment of all liquidation expenses and 100% of Approved Claims
      7) Chapter 11 UST fees are calculated on total disbursements of each Debtor including intercompany distributions
                                                                                                                                                                                                                                                                                   Page 164 of 170
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                         Exhibit 2
                    Confirmation Notice
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   FT. LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov

In re:                                                                   Case No.: 22-19451-PDR

FedNat Holding Company, et al1.                                          Chapter 11
                                                                         (Jointly Administered)

                  Debtors.
                                                       /

                        NOTICE OF ENTRY OF CONFIRMATION ORDER

        PLEASE TAKE NOTICE that on _________, 2023 the Court entered the Order (I)
Approving the First Amended Combined Disclosure Statement and Chapter 11 Plan on a Final Basis
and (II) Confirming the Modified First Amended Combined Disclosure Statement and Chapter 11
Plan [ECF No. ___] (the “Confirmation Order”).

        A copy of the Confirmation Order is available on the court docket at
https://cases.stretto.com/FedNat/ or by contacting the undersigned.

Date: October 13, 2023                                        Respectfully submitted,

                                                              /s/ Shane G. Ramsey
                                                              Shane G. Ramsey
                                                              Florida Bar No.: 0026842
                                                              shane.ramsey@nelsonmullins.com
                                                              NELSON MULLINS RILEY & SCARBOROUGH LLP
                                                              1222 Demonbreun Street, Suite 1700
                                                              Nashville, TN 37203
                                                              Phone: (615) 664-5300
                                                              Facsimile: (615) 664-5399

                                                              and

                                                              Scott D. Knapp
                                                              Florida Bar No. 016688
                                                              Scott.Knapp@NelsonMullins.com
                                                              NELSON MULLINS RILEY & SCARBOROUGH LLP


1 The Debtors in these Chapter 11 Cases are FedNat Holding Company; FedNat Underwriters, Inc.; ClaimCor, LLC;
Century Risk Insurance Services, Inc.; and Insure-Link, Inc (collectively, the “Debtors”). The Debtors’ headquarters are
located at 1 East Broward, Suite 700, Fort Lauderdale, FL 33301.
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                                                   100 S.E. 3rd Avenue, Suite 2700
                                                   Ft. Lauderdale, FL 33394
                                                   Telephone: (954) 764-7060
                                                   Facsimile: (954) 761-8135

                                                   and

                                                   Frank B. B. Knowlton
                                                   Admitted Pro Hac Vice
                                                   frank.knowlton@nelsonmullins.com
                                                   NELSON MULLINS RILEY & SCARBOROUGH LLP
                                                   1320 Main Street, 17th Floor
                                                   Post Office Box 11070 (29211-1070)
                                                   Columbia, SC 29201
                                                   Telephone: (803) 799-2000
                                                   Facsimile: (803) 256-7500


                                                   Counsel for the Debtors and Debtors-in-
                                                   Possession




                                               2



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                         Exhibit 3
                     Opt-Out Elections
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In re: FedNat Holding Company, et al.
Case #22-19451 (PDR)

                                     Exhibit 3
                        FEDNAT HOLDING CORPORATION, et al.
                                 Opt-Out Elections



        Opt-Out                                                           Date Opt-Out
      Form/Ballot #                            Name                           Filed
          35          Bruce F. Simberg                                     10/02/2023


            4         Cary Russ                                            09/18/2023


           12         D Parker & J Parker                                  09/25/2023


           56         David Patterson                                      10/02/2023


           36         David W. Michelson                                   10/02/2023


            9         Diana Lee Parker                                     09/25/2023


           13         Drew Brackett                                        09/26/2023


           63         EZ Claim Solutions Inc                               10/02/2023


           25         Florida Department of Financial Services as          10/02/2023
                      Receiver of FedNat Insurance Company
           26         Florida Department of Financial Services as          10/02/2023
                      Receiver of FedNat Insurance Company
           27         Florida Department of Financial Services as          10/02/2023
                      Receiver of FedNat Insurance Company
           28         Florida Department of Financial Services as          10/02/2023
                      Receiver of FedNat Insurance Company

           29         Florida Department of Financial Services as          10/02/2023
                      Receiver of FedNat Insurance Company

           18         Glen H. Heidlebaugh, Jr.                             09/27/2023


            1         Israel Y Bibi                                        09/15/2023


           11         James Robert Parker                                  09/25/2023


           37         Jennifer G. Kimbrough                                10/02/2023
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In re: FedNat Holding Company, et al.
Case #22-19451 (PDR)

                                        Exhibit 3
                       FEDNAT HOLDING CORPORATION, et al.
                                    Opt-Out Elections
            7         Norman Lanier                                    09/22/2023


            8         Otto Claims Services LLC                         09/25/2023


           38         Roberta N. Young                                 10/02/2023


           30         Southeast Catastrophe Consulting Company, LLC    10/02/2023


           31         Southeast Catastrophe Consulting Company, LLC    10/02/2023


           N/A        State Street Bank And Trust Company              10/2/2023


           34         Thomas A. Rogers                                 10/02/2023


           N/A        U.S. Bank N.A.                                   10/2/2023


            5         Zak, Charlita L. and Jeffrey D.                  09/19/2023
